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                                                        IN THE CIRCUIT COURT OF THE
                                                        EIGHTEENTH JUDICIAL CIRCUIT IN AND FOR
                                                        SEMINOLE COUNTY, FLORIDA
                                                        Case No.: 2022cAoooos9


        MYAPPS CORP.,
                        Plaintiff,
        vs.
        TELECURE TECHNOLOGIES, INC.

        -----------------
             Defendant.

                                                   COMPLAINT

                Plaintiff, MYAPPS CORP. ("MyApps"), by and through its undersigned counsel, files this

        Complaint against Defendant, TELECURE TECHNOLOGIES, INC. ("Telecure"), and alleges as

        follows:

                                     PARTIES. JURJSDICITON AND VENUE

                I.      MyApps is a Florida corporation authorized to do business in Florida having its

        principal place of business in Seminole County, Florida.

                2.      Telecure is a BC Canada corporation having its principal place of business in

        Seminole County, Florida.

                3.      In addition to maintaining its principal place of business in Seminole County,

        Florida, Telecure also routinely conducts its business operations in Seminole County, Florida,

        leases commercial space in Seminole County, Florida, and houses many of its employees and some

        of its executive officers and directors in Florida.

               4.      Telecure (a) conducts substantial and not isolated activities in the State of Florida

        through continuous and systematic general business contact, (b) operates, conducts, engages in



                                      COMPOSITE EXHIBIT "A-1"
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   and carries out business in the State of Florida, and (c) has committed the wrongdoing set forth

  herein (at least in pan) in Florida.

          5.      Venue and jurisdiction are proper in Seminole County, Florida.

                                       COMMON ALLEGATIONS

                                A. The Origin and Business of MyApps

          6.      MyApps was founded in or about December 2015 by Adnan Malik ("Mr. Malik")

  and Muhammad Kashif Akram ("Mr. Akram").

          7.      In or about March 2016, l'vlr. Malik and Mr. Akram added Dr. Muhammed Shaukat

  ("Dr. Shaukat") as a shareholder in MyApps.

          8.      From approximately March 2016 forward, Mr. Malik, Mr. Akram and Dr. Shaukat

  have been the three (3) Directors ofMyApps.

          9.      From approximately March 2016 through and including the completion of the

  arrangement transaction described below, Mr. Malik, Mr. Akram and Dr. Shaukat each held one-

  third (1/3) of the voting shares in MyApps.

          JO.     MyApps offers software-based health technology solutions and services through a

  subscription-based model for medical practices, clinics, and care homes primarily (but not

  exclusively) in the United States.

          11.     Since its inception, MyApps has invested heavily in research and development

  activities to develop a robust and stable infrastructure and to expand upon the functionality and

  utility of its services and complementary hardware.

          12.    In 2019, MyApps began to issue non-voting shares and SAFEs (simple agreements

  for future equity) in order to obtain public financing in connection with bringing its initial products

  to market.



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            13.   Between November 2019 and September 2020, MyApps generated more than $1

  million in investments through crowdfunding and by issuing non-voting shares and SAFEs to the

  public.

            14.   These funds were raised in order to pem1it My Apps to invest more in research and

  development of its products and services, and future products and services.

                               B. Telecure Seeks to Acquire MyApps

            15.   After MyApps' first round of crowdfunding, it began receiving inquiries from

  various companies wanting to license or to "white label" MyApps' products.

            16.   MyApps was only interested in entertaining offers that would allow MyApps to

  grow, would enable MyApps to invest more in research and development of new product offerings

  and to improve existing services, and would allow Mr. Malik, Mr. Akram and Dr. Shaukat to retain

  control over MyApps' business operations.

            17.   ln June 2020, MyApps was approached by Zia Hirji, a broker with Mackie Research

  Capital, and Amandeep Pamiar ("A. Pamrnr") on behalf ofTelecure.

            18.   At the time, Telecure was not actively engaged in business; rather, Telecure was a

  shell corporation that had been established with the goal of acquiring assets and businesses in the

  telemedicine industry.

            19.   A. Parmar, on behalf of Telecure, informed MyApps, Mr. Malik, Mr. Akram and

  Dr. Shaukat that he and his brother, H. Pam1ar, could take My Apps public by causing Telecure to

  acquire MyApps. MyApps, Mr. Malik, Mr. Akram and Dr. Shaukat were informed that in doing

  so Telecure could likely raise between $8-9 million (Canadian) through an initial public offering

  ("!PO"), which funds could then be used to fund the growth ofMyApps' business.




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           20.    In its then current form, due to restrictions under United States securities laws,

   MyApps was limited to raising a maximum ofUS$ l million through public offerings per calendar

   year.

           21.    The potential for public trading resulting from a deal with Telecure was enticing to

   MyApps, Mr. Malik, Mr. Akram and Dr. Shaukat because it offered significant growth potential

   for MyApps in alignment with its goal for increased capital to fund research and development.

           22.    The Telecure proposal would allow Mr. Malik, Mr. Akram and Dr. Shaukat to retain

   the desired control over the MyApps business operations by (a) enabling Mr. Malik to serve as the

   Chief Executive Officer (CEO) of both MyApps and Telecure and Mr. Akram to serve as Chief

   Technology Officer (CTO) of both MyApps and Telecure, (b) providing MyApps' existing

   shareholders a significant minority interest in Telecure, and (c) providing the MyApps' board

   members (Mr. Malik, Mr. Akram and Dr. Shaukat) with a 3:2 majority on the initial board of

   directors ofTelecure.

           23.   Discussions between the principals of MyApps and Telecure continued through

  early December 2020, when A. Pamrnr and Telecure introduced Mr. Malik, Mr. Akram Dr.

  Shaukat, and My Apps to Joshua Rosenberg ("Mr. Rosenberg") and to Eli Dusenbury ("Mr.

  Dusenbury"), whom Telecure would appoint as key persons to lead the efforts to take the MyApps

  business public through the contemplated transaction with Telecure.

           24.   Telecure informed MyApps, Mr. Malik, Mr. Akram and Dr. Shaukat that Mr.

  Rosenberg would be the Chief Operating Officer (COO) and that Mr. Dusenbury would be the

  Chief Financial Officer (CFO) ofTelecure, and that they would devote a majority of their time to

  Telecure if and when the proposed deal between MyApps and Telecure came to fruition.




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           25.    Telecure convinced MyApps, Mr. Malik, Mr. Akram and Dr. Shaukat that Mr.

   Rosenberg and Mr. Dusenbury were qualified to and capable of taking MyApps public in large

   part based upon Mr. Rosenberg's and Mr. Dusenbury's experience with Chemesis International, a

   company that invests in technology and was traded on the OTCQB market; however, Telecure at

   all times assured MyApps that MyApps would (a) remain in control of the Telecure Board upon

   the completion of the Arrangement Transaction because Mr. Malik, Mr. Akram and Dr. Shaukat

   would have three (3) of five (5) seats on the Telecure board, and (b) control the clay-to-day affairs

   ofTelecure through Mr. Malik's service as Telecure's CEO and Mr. Akram's service as Telecure's

   CTO.

          26.     After further discussions, Telecure persuaded MyApps, Mr. Malik, Mr. Akram and

   Dr. Shaukat that the deal proposed by Telecure was in the best interest ofMyApps, Mr. Malik, Mr.

  Akram and Dr. Shaukat.

          27.     Accordingly, on December 15, 2020, MyApps, Telecure and a wholly owned

  subsidiary of Telecure, named AcquireCo, entered into an arrangement agreement (the "Original

  Arrangement Agreement").

          28.     A true and correct copy of the Original Arrangement Agreement is attached hereto

  as Exhibit A.

          29.     After executing of the Original Arrangement Agreement, MyApps and Telecure

  entered into four (4) amendments thereto.

          30.     A copy of the first, third and fourth amendments to the Original Arrangement

  Agreement are attached hereto as Exhibit B, Exhibit C, and Exhibit D respectively. MyApps

  does not currently a copy of the second amendment, but a copy is within Telecure's possession

  and is therefore readily available to Telecure. MyApps will file a copy of the second amendment



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   to the Original Arrangement Agreement upon obtaining a copy through discovery. The Original

   Arrangement Agreement, together with the four (4) amendments, are hereinafter collectively

   referred to as the "Arrangement Agreement".

           31.   Pursuant to the Arrangement Agreement, Telecure would acquire all of the shares

   of MyApps, and the shareholders of MyApps would receive 32 million common shares of

   Telecure, representing approximately 38% ofTelecure's 84 million common shares that would be

   issued after going public (the "Arrangement Transaction").

          32.    The shareholders ofMyApps unanimously approved and adopted the Arrangement

  Transaction upon the terms and conditions set forth in the Arrangement Agreement.

          33.    As was represented and promised during proposal negotiations, the Arrangement

  Agreement provided that Mr. Malik would be the CEO ofTelecure and that Mr. Akram would be

  the CTO ofTelecure after the closing on the Arrangement Transaction so that they would continue

  to control the day-to-day operations of the MyApps business being acquired by Telecure.

          34.    As was also represented and promised during proposal negotiations, the

  Arrangement Agreement (as amended on February 9, 2021) provided that there would be five (5)

  directors ofTelecure after the closing on the Arrangement Transaction: Mr. Malik, Mr. Akram, Dr.

  Shaukaut, H. Pannar and Mr. Rosenberg.

                          C. Preparing for the Arrangement Transaction

          35.    In order to generate interest for the initial public offering, Mr. Rosenberg and Mr.

  Malik gave a series of eight (8) presentations to four (4) brokers regarding and promoting the

  Arrangement Transaction, the anticipated listing, and the MyApps business and its growth

  potential.




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          36.      As a result of the presentations, MyApps and Telecure were able to complete a

   brokered private placement raising gross proceeds of $8,831,956.

          37.      Additionally, in anticipation of the completion of the Arrangement Transaction and

   Telecure being publicly listed for trading on the Canadian Stock Exchange, and at the urging of

   Telecure, MyApps began expanding its operations, including hiring additional employees to

   support research and development and client services.

          38.      MyApps did not have sufficient funds to support the expansion, so Telecure agreed

   to advance $150,000 to MyApps on the mutual understanding and agreement that these advances

   would be written off once the Arrangement Transaction completed.

          39.     MyApps also allowed Mr. Dusenbury to serve at MyApps' CFO in order to onboard

  the necessary financial and accounting expertise needed to facilitate the work necessary for the

  contemplated public listing.

          40.     In so doing, Telecure, through Mr. Dusenbury, gained full access to MyApps'

  financials in approximately Febrnary 2021.

         41.      However, neither MyApps, nor Mr. Malik, Mr. Akram, or Dr. Shaukaut, were

  permitted full access to Telecure's financials until after the completion of the Arrangement

  Transaction.

                 D. Teiecure's Requested Changes to the Arrangement Transaction

         42.      In or around June 2021, Telecure began pressuring MyApps to make changes to the

  essential terms of the Arrangement Transaction.

         43.      Around that time, the British Columbia Securities Commission (the "Commission")

  took issue with the price at which the existing shareholders of Telecure (the "Initial Telecure

  Shareholders") were to obtain shares. The Commission required the purchase price to be increased



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   such that the Initial Telecure Shareholders would need to triple their investment to maintain the

   collective shareholding they intended to hold.

          44.     As a result, the Initial Telecure Shareholders objected to Mr. Malik, Mr. Akram and

   Dr. Shaukat obtaining effective control of the initial Telecure board by way of the Arrangement

   Transaction, even though this effective control was always a pillar upon which the Arrangement

   Agreement and MyApps' consent thereto was founded.

          45.     Nevertheless, Telecure insisted on the addition of a sixth board member and

   threatened to withdraw from the Arrangement Transaction ifMyApps did not agree.

          46.    Because MyApps and Telecure had already generated significant investment

   interest for the business which depended on the Arrangement Transaction and !PO, and because if

   the Arrangement Transaction failed MyApps would have been left with significant debt to

  Telecure ($150,000) due to the money MyApps had spent at Telecure's insistence to expand its

  operations in preparation for the !PO, MyApps was under financial pressure to consider Telecure's

  eleventh hour mandate with appropriate contingencies to be put in place.

          47.    MyApps indicated that it would agree to the addition of a sixth Telecure board

  member to represent the additional investment pool only under certain express conditions.

         48.     The express conditions were that Telecure would agree that: (i) the contemplated

  sixth board member would be independent from Telecure, and (ii) A. Pamrnr (as a major

  shareholder ofTelecure), H. Parmar and the other initial directors ofTelecure agree that a seventh

  (independent) director would be appointed immediately after the closing on the Arrangement

  Transaction, and (iii) the seventh independent director would be nominated by Mr. Malik, Mr.

  Akram and Dr. Shaukat at an annual general meeting to be held within a few months of the

  completion of the Arrangement Transaction and their nominee would be supported by Telecure.



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          49.     Telecure infonned MyApps that it would abide by the conditions required by

   MyApps for the addition of a sixth Telecure director, but the parties thereafter never ultimately

   amended the Arrangement Agreement to provide for the addition of a sixth Telecure director (on

   these conditions or otherwise), nor was anything passed by the MyApps board of directors agreeing

   to this change to the Arrangement Agreement.

          50.     The Arrangement Transaction closed and was consummated on August 11, 2021

   and Telecure was listed on or about that same day.

          51.    Upon the closing of the Arrangement Transaction, MyApps became the operating

   business ofTelecure, and MyApps' business has at all times remained the sole operating business

   ofTelecure.

          52.    Immediately upon the closing of the Arrangement Transaction, Telecure appointed

   Faizaan Lalani ("Mr. Lalani") as a sixth director of Telecure in violation of the terms of the

   Arrangement Agreement and with regards to the conditions imposed by MyApps ifMyApps were

   to have agreed to amend the Arrangement Agreement to allow for the addition of a sixth director

  (which did not occur).

          53.    Moreover, Telecure has at all times smce the closing on the Arrangement

  Transaction refused to appoint a seventh (independent) director.

                             E. Discovery ofTelecure's True Intention

          54.    MyApps has since learned that, notwithstanding Telecure's representations to

  MyApps, Mr. Malik, Mr.Akram and Dr. Shaukat to the contrary, from the inception ofnegotiations

  concerning the Arrangement Transaction and through and including the closing on the

  Arrangement Transaction, Telecure had been surreptitiously planning to gain control over the

  MyApps business.



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             55.   By way of example, and not of limitation, on or about May 6, 2021, Mr. Dusenbury

    delivered an email to H. Pannar, with a copy to A. Parmar, in which Mr. Dusenbury expressed that

   "a pathway to getting control exists" and that "potentially we could have 3 BOD seats".

             56.   It is now apparent that notwithstanding its repeated representations to My Apps, Mr.

   Malik, Mr. Akram and Dr. Shaukat to the contrary throughout the discussions regarding the

   Arrangement Transaction (including, without limitation, those communications specific to the

   potential adding of a sixth and then seventh director to the Telecure board), Telecure always

   intended to obtain control over the business upon closing on the Arrangement Transaction and that

   it never intended to fulfill its commitment to MyApps, Mr. Malik, Mr. Akram and Dr. Shaukat that

   they would retain control of the post-Arrangement Transaction business.

                      F. Additional Facts Evidencing Telecure's True Intention

          57.      On September 2021, Telecure held its first Board of Director's meeting after the

   closing of the Arrangement Transaction. Mr. Lalani insisted, without proper authority, that he was

   the Chair of the Board and acted as such. At the conclusion of the meeting Mr. Lalani "resigned"

   as Chair, but also expressed a desire to act as the Chairman for all meetings that may occur between

   then and the next annual general meeting.

          58.      In early October 2021, Mr. Lalani again unilaterally and without proper authority

   attempted to claim the position of Chaim1an. MyApps, Mr. Malik, Mr. Akram and Dr. Shaukat

   objected because Mr. Lalani was not a proper member of the Board by way of the Arrangement

   Agreement and it was becoming apparent that Telecure was not going to support the appointment

   of a seventh board member as it had previously committed to do upon the addition of a sixth board

   member.




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           59.     There had already been signs of significant fracture in the management ofTelecure

    arising, in part, from Mr. Malik 's criticism of plans for investor relations activity that were

    inconsistent with and contrary   to   Telecure's public disclosures.

           60.    As such, MyApps sought         to   enforce the Arrangement Agreement requirement that

   only those five (5) persons identified therein serve on the Board of Telecure or, alternatively, if

   Telecure refused that no Chair be appointed while the issue of the number of directors could be

   resolved and that the Board work on building consensus in its decision making.

           61.    Nevertheless, it became clear that H. Parmar and Mr. Lalani would continue to stall

   productive discussions at Board meetings until a Chair among what they believed to be the six (6)

   Directors was appointed.

           62.    As a result, Mr. Rosenberg suggested that because of his positive connections with

   the majority of the individual directors he would be the better Chair candidate.

           63.    While not agreeing that the sixth board member was appropriate or should be

   recognized, and based upon on the understanding and agreement that Mr. Rosenberg would not

   use his casting vote as chair to push through business and would instead use his position as Chair

   to build consensus among directors with the goal of having the Board pass business by consensus

   or with clear majority, MyApps, Mr. Malik, Mr. Akram and Dr. Shaukat ultimately supported the

   appointment of Mr. Rosenberg as Chair so that the Telecure Board could move forward until such

   time as the issue concerning the appropriate number ofTelecure directors could be resolved.

          64.     Despite an agreement to the contrary, since his appointment as Chair of the Telecure

   Board, all (or nearly all) business of the Board that has been passed has been approved by way of

   a 3-3 vote, with Mr. Rosenberg using his tie-breaking vote for approval contrary to the votes of

   Mr. Malik, Mr. Akram and Dr. Shaukat.



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            65.    The effect has been that Mr. Malik, Mr. Akram and Dr. Shaukat have been

    effectively pushed out in their capacities as directors ofTelecure, MyApps has no meaningful voice

    on the Telecure Board, and MyApps thus bas no control whatsoever over Telecure's business

    (which consists entirely of MyApps' business) in breach of the Arrangement Agreement and the

   representations made by Telecure to induce MyApps into entering into the Arrangement

   Agreement.

            66.   Additionally, even though Mr. Malik was Telecure's CEO in title, Telecure removed

   all power and authority that Mr. Malik should have to act on behalf ofTelecure.

            67.   In early December Mr. Malik discovered that, while the Board was engaging in

   discussions about whether Telecure should approve an advisory contract, Mr. Rosenberg had

   already signed that contract, purportedly on behalf ofTelecure even though he had no such signing

   authority.

            68.   On discovering Mr. Rosenberg's unauthorized signing of the advisory contract, and

   in light of numerous prior incidents involving Mr. Rosenberg, Mr. Malik, in his capacity as CEO

   (and as the sole and direct report of Mr. Rosenberg), tenninated Mr. Rosenberg's employment as

   COO on a without cause basis, effective December 6, 2021.

            69.   Upon his termination as COO, Mr. Rosenberg also lost his seat on the Telecure

   Board.

            70.   However, the very next day (December 7, 2021 ), H. Parmar, Mr. Lalani and Mr.

   Rosenberg (even though Mr. Rosenberg was no longer a director and had a conflict of interest)

   called and held an emergency Board meeting on behalf ofTelecure during which they purported

   to reinstate Mr. Rosenberg's employment as COO (relying on their three votes and Mr.

   Rosenberg's tiebreaking vote allegedly as chair).



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           71.    When MyApps, Mr. Malik, Mr. Akram and Dr. Shaukat raised concerns about Mr.

    Rosenberg's participation and vote in the matter due to (a) his proper termination as a Telecure

   employee, (b) his no longer being a board member, and (c) his conflict of interest in the matter at

   hand, H. Parmar, Mr. Lalani and Mr. Rosenberg proceeded undeterred and voted in favor the result

   they wanted (i.e. reinstating Mr. Rosenberg and thus regaining control over Telecure and its

   business operations).

           72.    No decisions made at the December 7, 2021 meeting were valid (even assuming

   any prior decisions made by a Board that is inconsistent with the Arrangement Agreement and the

   representations by Telecure to MyApps regarding the Arrangement Transaction were valid), and

   all decisions made thereafter by the Telecure "Board" are also invalid.

          73.     Also on December 7, 2021, Telecure (by way ofa purported act ofH. Parmar, Mr.

   Lalani and Mr. Rosenberg as controlling Board members) notified Mr. Malik that he was

   suspended from his position as CEO ofTelecure.

          74.     Telecure suspended Mr. Malik (a) because of his objections into improper Board

   action, (b) in retaliation against Mr. Malik for inquiring regarding Telecure's improper investor

   relation spending, refusing to authorize particular contracts or payments that were not in the best

   interest ofTelecure or supported by real value to Telecure, and taking necessary action against Mr.

   Rosenberg, and, ultimately, (c) to ensure that Telecure had what it had all along sought-full and

   unfettered control ofTelecure post-acquisition of the MyApps business.

          75.     Moreover, Telecure is also scheming to take full and unfettered control ofMyApps,

   which, even after the Arrangement Transaction, remains an independent company (though

   admittedly a wholly owned subsidiary of Telecure) with its own officers and directors (those

   directors currently consisting of Mr. Malik, Mr. Mr. Akram and Dr. Shaukat).



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            76.       In this regard, by at least December 2021           the Telecure "Board" began

   contemplating removing the entire currently sitting MyApps board, and to replace the entirety of

   the MyApps board with Mr. Dusenbury (who has no or limited experience in with technology

   businesses in the United States similar to MyApps) as to sole member of the MyApps Board.

            77.       The Telecure "Board" has also taken action to cause Mr. Malik to resign as the CEO

   of Telecure and attempting to take action to remove Mr. Akram as CTO despite the fact that

   Telecure had committed to allow these individuals to serve in these capacities for a minimum of

   three (3) years.

           78.        Further, without authority or pem1ission to do so and in violation of the letter and

   spirit of the Arrangement Agreement and Telecure's representations in connection with the

   Arrangement Agreement, Telecure also interfered with MyApps by removing or freezing Mr.

   Malik's access to MyApps' bank accounts at PNC Bank. This was potentially incredibly ham1ful

   to My Apps because matters such as payroll, rent and costs for the underlying technology

   supporting the operating business are all paid through the MyApps' bank accounts.

           79.      Fortunately, PNC Bank has appropriately removed any freezes or holds from the

   MyApps accounts and reinstated Mr. Malik's assess thereto.

                                 COUNT I - SPECIFIC PERFORMANCE

           80.      This is an action for specific performance of the Arrangement Agreement and, more

   specifically, the Board of Director requirements therein.

           81.      MyApps realleges and incorporates by reference paragraphs I through 78 above as

   if fully set forth herein.

           82.      MyApps and Telecure entered into the Arrangement Agreement.




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           83.     The tem1s of the Arrangement Agreement are certain and mutua11y binding, and

    were not the result of fraud, overreaching or the like by MyApps.

           84.     Pursuant to the Arrangement Agreement, the Telecure Board of Directors upon the

   closing of the Arrangement Transaction was required to consist of only the fo11owing persons: Mr.

   Malik, Mr. Akram, Dr. Shaukaut, H. Parmar and Mr. Rosenberg.

           85.     Telecure breached the Arrangement Agreement by failing and refusing to install the

   Board of Directors required by the plain and unambiguous terms of the Arrangement Agreement

   after the closing on the Arrangement Transaction.

           86.     Through MyApps and Telecure discussed an amendment to the Arrangement

   Agreement that would a11ow for a change in the make-up of the Board of Directors required

   therein, they did not amend the Arrangement Agreement to change the make-up of the Board of

   Directors required thereby.
                      0




           87.     To the extent that there was an enforceable amendment to the Arrangement

   Agreement regarding the make-up of the Telecure Board (which MyApps does not concede), the

   amendment required the addition of a seventh director to be appointed by MyApps (vis-a-vis Mr.

   Malik, Mr. Akram, and Dr. Shaukaut) immediately upon the closing of the Arrangement

   Transaction.

           88.    MyApps has fulfilled its obligations under the Arrangement Agreement.

           89.    MyApps has no adequate remedy at law stemming from Telecure's breach of the

   Arrangement Agreement. In fact, MyApps and Telecure agreed in writing within the Arrangement

   Agreement itself that "money damages would not be an adequate remedy at Law if any of the

   provision of the [Arrangement Agreement] were not performed in accordance with their specific

   tem1s or were otheiwise breached" and that the parties should be entitled to "equitable relief. .. to



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    enforce compliance with the tenns of the [Arrangement Agreement] .... "           See Arrangement

    Agreement, at §8.05.

             90.    Equity and justice require that Telecure specifically perform its obligations under

    the Arrangement Ab>reement, including establishing the Board of Directors required thereby.

             9 I.   MyApps is entitled to specific performance.

             WHEREFORE, Plaintiff, MYAPPS CORP., respectfully requests that the Court (a) order

   Defendant, TELECURE TECHNOLOGIES, INC., to (i) specifically perfom1 under the

   Arrangement Agreement by appointing and recognizing a Board of Directors that consists of only

   Mr. Malik, Mr. Akram, Dr. Shaukaut, H. Pannar and Mr. Rosenberg, or, (ii) in the alternative, if

   the Court finds there to have been an agreement to amend the initial board of directors under the

   Arrangement Agreement, require Telecure to allow MyApps (vis-a-vis Mr. Malik, Mr. Akram, and

   Dr. Shaukaut) to appoint a seventh Director which shall be recognized by Telecure, (b) award costs

   to and in favor of MyApps, and (c) grant such other and further relief as the Court deems just and

   proper.

                                  COUNT II - INJUNCTIVE RELIEF

             92.    This is an action to enjoin Telecure from continuing to allow the Board of Directors

   to operate and to conduct business in violation of the Arrangement Agreement.

             93.    MyApps realleges and incorporates by reference paragraphs I through 78 above as

   if fully set forth herein.

             94.    Pursuant to the Arrangement Agreement, the Telecure Board of Directors, upon the

   closing of the Arrangement Transaction, was required to consist of only the following persons:

   Mr. Malik, Mr. Akram, Dr. Shaukm,t, H. Pannar and Mr. Rosenberg.




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           95.     The Arrangement Agreement and Arrangement Transaction closed upon the

    understanding and agreement that Mr. Malik, Mr. Akram, and Dr. Shaukaut would maintain a

    voting majority of the initial post-closing Board of Directors ofTelecure.

           96.     After closing on the Arrangement Agreement, and over objections by MyApps, Mr.

   Malik, Mr. Akram, and Dr. Shaukaut, Telecure has impem1issibly allowed an illegitimate Board

   that is inconsistent with, and in breach of, the Arrangement Agreement and the understanding and

   intent of the parties to control Telecure.

           97.     As a result, all actions taken by the illegitimate Telecure Board (at least to the extent

   that those actions did not pass by a majority vote of Mr. Malik, Mr. Akram, Dr. Shaukaut, H.

   Parmar and Mr. Rosenberg (i.e. the five authorized Board members)) are improper, null and void.

           98.     Further, all future actions taken by the illegitimate Board of Directors including,

   without limitation, the removal of Mr. Malik, Mr. Akram, and/or Dr. Shaukaut from the Telecure

   Board of Directors or the MyApps Board of Directors, would also be impermissible, null and void.

           99.     Despite demand, Telecure has failed and refused to recognize the appropriate Board

   of Directors or to otherwise act in accordance with the majority vote of the appropriate Board of

   Directors.

           I 00.   Telecure is now using the directives of its illegitimate Board of Directors to cause

   harm to the brand, business and reputation ofMyApps.

           I 01.   In the absence of an injunction, MyApps will suffer irreparable harm.

           I 02.   MyApps lacks an adequate remedy at law. In fact, MyApps and Telecure agreed

   within the Arrangement Agreement itself that "money damages would not be an adequate remedy

   at Law if any of the provision of the [Arrangement Agreement] were not perfom1ed in accordance

   with their specific terms or were otherwise breached" and "that the Parties shall be entitled to



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   injunctive and other equitable relief to prevent breaches or threatened breaches of this Agreement

   and to enforce compliance with the terms of this Agreement. ... " See Arrangement Agreement, at

   §8.05.

             I 03.   MyApps has a substantial likelihood of success on the merits, and will succeed on

   the merits of this claim.

            104.     MyApps will continue to suffer and incur irreparable harm in the absence of the

   entry of an injunction.

            I 05.    Considerations of the public interest support the entry of the requested injunctive

   relief

            WHEREFORE, Plaintiff, MYAPPS CORP.s, respectfully request that the Court (a) enter

   judgment against Defendant, TELECURE TECHNOLOGIES, INC., for temporary and permanent

   injunctive relief (i) requiring Telecure to recognize as its legitimate Board of Directors those five

   (5) (and only those five (5)) individuals identified in the Arrangement Agreement, (ii) prohibiting

   Telecure from accepting and/or acting on the direction of any illegitimate Board of Directors that

   is not made up solely of those five individuals identified in the Arrangement Agreement (unless

   and Lmtil such time as the shareholders ofTelecure elects a different Board), and (iii) prohibiting

   Telecure or an illegitimate Board of Directors ofTelecure from interfering with MyApps, altering

   the Board ofDirectors ofMyApps, orrestricting access by MyApps, Mr. Malik, Mr. Akram, and/or

   Dr. Shaukaut to MyApps' bank accounts or other company records; (b) enter an award of costs in

   favor ofMyApps; and (c) grant such other and further relief as this Court deems just and proper.

                                 COUNT III - DECLARATORY RELIEF

            I 06.    This is an action for declaratory relief.
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            I 07.   MyApps realleges and incorporates by reference paragraphs I through 78 above as

   if fully set forth herein.

           108.     Because of Telecure's refusal to honor and recogmze the Telecure Board of

   Directors required to be established by way of the Arrangement Agreement, the parties are in doubt

   as to their rights.

           I 09.    There exists a bona fide, actual, present and practical dispute between Telecure and

   MyApps as to whether the Telecure Board of Directors must consist of those persons identified as

   Telecure's post-closing Directors within the Arrangement Agreement (until such time as the

   shareholders ofTelecure may elect an alternate Board).

           110.     In light of this bona fide dispute, the rights of the parties are dependent upon this

   declaration, and this declaration is necessary and proper.

           111.     In the absence of, such declaration, Telecure will continue to recogmze an

   illegitimate board of directors that is inconsistent with the Arrangement Agreement and will

   continue to receive and act upon the direction of the illegitimate board.

           112.     The declaration deals with a present, ascertained or ascertainable state of facts and

   a present controversy with respect to the facts, which entitle the parties to a declaration.

           113.     Each of the parties having antagonistic or adverse interests with respect to this

   declaration are before the Court by way of this action.

           114.     This action is not filed by Plaintiff out of curiosity or for the mere giving of legal

   advice by this Court.

           115.     This Court should order a speedy hearing on this action and advance it on the

   Court's calendar.




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            WHEREFORE, Plaintin: MYAPPS CORP., respectfully requests (a) a speedy hearing, (b)

   entry of a Judgment for declaratory relief in MyApps' favor and against Defendant, TELECURE

   TECHNOLOGIES, INC., which declares that (i) the Board of Directors ofTelecure consists solely

   of those five individuals identified as post-closing Telecure Board members within the

   Arrangement Agreement until such time as the shareholders of Telecure vote otherwise, and (ii)

   all actions taken by Telecure or its illegitimate Board of Directors that was not approved by a

   majority of the five individuals identified as post-closing Telecure Board members within the

   Arrangement Agreement are null and void, (c) an award of costs in favor ofMyApps, and (d) an

   award of such other and further relief as this Court deems just and proper.

                                COUNT IV- FRAUD IN THE INDUCEMENT
                                          (In the Alternative)

           116.     This is an action against Telecure for fraudulently inducing MyApps to enter into

   the Arrangement Agreement and close on the Arrangement Transaction.

           117.    MyApps realleges and incorporates by reference paragraphs 1 through 78 above as

   if fully set forth herein.

           118.    In order to induce MyApps to enter into the Arrangement Agreement and to

   thereafter close on the Arrangement Agreement, Telecure made false statements concerning

   material facts to My Apps.

           119.    At all times during all communications by and between MyApps and Telecure

   regarding a potential business arrangement, MyApps (by way of Mr. Malik, Mr. Akram, and Dr.

   Shaukaut) always infom1ed Telecure (initially by way of A. Parmar and Zia Hirji, and later also by

   way of H. Pannar, Mr. Dusenbury and Mr. Rosenberg) that they would not agree to any deal or

   transaction that would result in MyApps (vis-a-vis Mr. Malik, Mr. Akram, and Dr. Shaukaut)

   maintaining control of the board of directors of the resulting company or companies after closing.


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            120.       ln attempting to sell MyApps on an acquisition by Telecure, and throughout the

   negotiation of the Arrangement Agreement (including the original version and all amendments

   thereto), Telecure (through A. Parmar, H. Pannar, Mr. Dusenbury and Mr. Rosenberg) assured

   MyApps (by way of Mr. Malik, Mr. Akram, and Dr. Shaukaut) that MyApps (vis-a-vis Mr. Malik,

   Mr. Akram, and Dr. Shaukaut) would control the majority of the Board of Telecure and would

   remain in sole control of the Board of MyApps if and when a transaction between the companies

   was agreed upon and ultimately closed.

           121.    Even near closing, when Telecure approached MyApps about the potential for

   adding a sixth director to the Telecure board upon closing oftheArrangementAgteement, Telecure

   reassured MyApps that control the majority of the Board ofTelecure by infom1ing MyApps that

   ifMyApps would agtee to the addition ofa sixth Telecure Director, MyApps (vis-a-vis Mr. Malik,

   Mr. Akram, and Dr. Shaukaut) would be immediately entitled elect a seventh member of the

   Telecure board upon the closing of the Arrangement Transaction (however, My Apps and Telecure

   never fomrnlly agreed to the addition of a sixth Telecure director).

           122.    Each ofTelecure's statements to MyApps regarding MyApps' ability to control the

   Telecure Board upon closing of the Arrangement Transaction was a deliberate and false statement

   of material fact.

           123.    Further, as a material inducement to convmce MyApps to enter into the

   Arrangement Agreement, Telecure at all times represented that it would invest significant funds

   into further research and development of MyApps' products and services.          In fact, Telecure

   specifically represented that it would invest a minimum of $1.5 million into research and

   development targeted at upgrading the CallingDr. Platform, launching Care by CallingDr, growing

   MyApps' medical device offerings and expanding the FindingDr Platform in 2020.



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           124.    Telecure's representations regarding its investment into research and development

   were deliberately false statements of material fact.

           125.    Telecure's false statements of material fact were the premise upon which MyApps

   negotiated with Telecure when arriving at the Arrangement Agreement.

           126.    But for the misrepresentations by Telecure regarding MyApps' post transaction

   control of the Telecure Board, MyApps would not have entered into the Arrangement Agreement

   or closed on the Arrangement Transaction.

           127.    Telecure knew these material statements were false when Telecure made them to

   MyApps, or Telecure made these statements knowing Telecure was without knowledge of their

   truth or falsity or had no intention of honoring the statements post-closing.

           128.   Telecure made the material misstatements with the intent that MyApps would rely

   and act on the false statements and thereby enter into the Arrangement Agreement and thereafter

   close upon the Arrangement Transaction.

           129.   Telecure did rely justifiably rely on the false statements to its detriment.

           130.   If the Arrangement Agreement, which was procured as a result ofTelecure's fraud,

   were allowed to stand, MyApps would suffer and incur damage.

          WHEREFORE, Plaintiff, MYAPPS CORP., respectfully requests that this Court enter a

   judgment that (a) declares the Arrangement Agreement void and rescinds the Arrangement

   Agreement and Arrangement Transaction or, if MyApps chooses to ratify the Arrangement

   Agreement, to enter an award of damages against Defendant, TELECURE TECHNOLOGIES,

   INC., if damages can be determined, (b) award costs to and in favor of MyApps, and (c) grants

   such other and further relief as the Court deems just and proper.




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                                 COUNT V - BREACH OF CONTRACT
                                        /In the Alternative)

           131.     This is an action for breach of the Arrangement Agreement.

           132.     MyApps realleges and incorporates by reference paragraphs 1 through 78 above as

   if fully set forth herein.

           133.    MyApps and Telecure are parties to the Arrangement Agreement and are bound by

   the terms thereof.

           134.    Telecure breached the Arrangement Agreement by failing and refusing to install the

   agreed upon Board of Directors after closing.

           I 35.   As a result of Telecure's breach of the Arrangement Agreement, MyApps has

   suffered and incurred harm.

           136.    Telecure's failure to comply with the Board of Director requirement within the

   Arrangement Agreement constitutes an unjustifiable refusal to perfonn by Telecure.

           137.    MyApps and Telecure can and should be restored to their original position.

           138.    Telecure refuses to restore the parties to their original position notwithstanding its

   breach of the Arrangement Agreement and MyApps' demands for restoration.

          WHEREFORE, Plaintiff, MY APPS CORP., respectfully requests that this Court enter a

   judgment that (a) rescinds the Arrangement Agreement or, if MyApps chooses to ratify the

   Arrangement Agreement, to enter an award of damages against Defendant, TELECURE

   TECHNOLOGIES, INC., if damages can be determined, (b) awards costs to and in favor of

   My Apps, and (c) grants such other and further relief as the Court deems just and proper.

                           COUNT VI - BREACH OF ORAL CONTRACT
                                       (In the Alternative)

          139.     This is an action for breach of an oral contract.



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            140.    MyApps realleges and incorporates by reference paragraphs 1 through 78 above as

   if fully set forth herein.

            141.    MyApps did not agree to amend or otherwise revise the requirement within the

   Arrangement Agreement that the five (5) Directors ofTelecure post-closing on the Arrangement

   Transaction consist of Mr. Malik, Mr. Akram, Dr. Shaukaut, 1-1. Parmar and Mr. Rosenberg;

   however, ifTelecure argues and the Court detennines that MyApps did so, this agreement came

   by virtue of an oral contract conditioned upon the addition of a seventh board member to be

   selected by MyApps.

            142.    Telecure has breached this oral contract by recognizing a six (6) person Telecure

   Board post-closing and by failing and refusing to allow MyApps to add a seventh person to the

   Board.

            143.    Even worse, Telecure is purports to have removed one or more of the three ,(3)

   agreed upon Telecure Board members selected by MyApps.

            144.    As a result of Telecure's breach of the oral contract, MyApps has suffered and

   incurred ham1.

            145.    Telecure's failure to comply with the Board of Director requirement within the oral

   contract constitutes an unjustifiable refusal to perform by Telecure.

            146.    MyApps and Telecure can and should be restored to their original position prior to

   the oral contract such that the Telecure Board reverts to the Board as set forth in the Arrangement

   Agreement before the existence of the oral contract.

            147.    Telecure refuses to restore the parties to their pre-oral contract position

   notwithstanding its breach of the oral contract and MyApps' restoration demand.




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           WHEREFORE, Plaintiff, MY APPS CORP., respectfully requests that this Court enter a

   judgment that (a) rescinds the oral contract authorizing a sixth Director on the Telecure Board, (b)

   awards costs to and in favor of MyApps and against Defendant, TELECURE TECHNOLOGIES,

   INC., and (c) grants such other and further relief as the Court deems just and proper.

                   COUNT VII - BREACH OF IMPLIED-IN-FACT CONTRACT
                                    /In the Alternative)

           148.     This is an action for breach of an implied-in-fact contract.

           149.     MyApps realleges and incorporates by reference paragraphs I through 78 above as

   if fully set forth herein.

           150.     MyApps did not agree to amend or otherwise revise the requirement within the

   Arrangement Agreement that the five Directors of Telecure post-closing on the Arrangement

   Transaction consist of Mr. Malik, Mr. Akram, Dr. Shaukaut, H. Pamiar and Mr. Rosenberg;

   however, if Telecure argues and the Court determines that MyApps did so, the agreement was

   conditioned upon the addition of a seventh Telecure board member to be selected by MyApps and

   both parties assented to this condition.

           151.    Telecure knew and understood that lvlyApps would not close on the Arrangement

   Agreement ifMyApps did not control the Telecure Board post-closing.

           152.    The fact that Telecure closed on the Arrangement Agreement with this clear

   understanding of MyApps' closing condition constitutes Telecme's assent to MyApps adding a

   seventh Telecure director post-closing.

           153.    Telecure has breached this implied-in-fact contract by recognizing a six (6) person

   Board and refusing to allow MyApps to add a seventh person to the Telecure Board.

          154.     Even worse, Telecure is purports to have removed one or more of the three (3)

   agreed upon Telecure Board members selected by MyApps.


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             155.     As a result of Telecure's breach of the implied-in-fact contract, MyApps has

    suffered and incurred harm.

             I 56.    Telecure's failure to comply with the Board of Director requirement within the

    implied-in-fact contract constitutes an unjustifiable refusal to perfom1 by Telecure.

             157.     MyApps and Telecure can and should be restored to their original position prior to

   the implied in fact contract such that their agreement reverts to the Board as set forth in the

   Arrangement Agreement as it existed before the implied-in-fact contract.

             158.    Telecure refuses to restore the parties to their pre-implied-in-fact contract position

   notwithstanding its breach of the applied-in-fact contract and MyApps' restoration demands.

             WHEREFORE, Plaintiff, MY APPS CORP., respectfully requests that this Court enter a

   judgment that (a) rescinds the implied-in-fact contract authorizing a sixth Director on the Telecure

   Board, (b) awards costs to and in favor of MyApps and against Defendant, TELECURE

   TECHNOLOGIES, INC., and (c) grants such other and further relief as the Court deems just and

   proper.

                                      DEMAND FOR JURY TRIAL

             MyApps hereby demands a trial by jury on all claims and issues so triable.



                                                   Isl Ronald D. Edwards Jr.
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          EXHIBIT A
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                                                             Execution Version




                        TELECURE TECHNOLOGIES INC.


                                      and


                                1278859 B.C. LTD.


                                      and


                                MYAPPS CORP.




                         ARRANGEMENT AGREEMENT




                               December 15, 2020
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                                   ARRANGEMENT AGREEMENT

   This Arrangement Agreement (this "Agreement"), dated as of December 15, 2020 is entered into
   between Telecure Technologies Inc., a corporation incorporated under the laws of the Province of
   British Columbia ("Telecure"), 1278859 B.C. Ltd. ("Acquireco"), a corporation incorporated
   under the laws of the Province of British Columbia, and a wholly owned subsidiary ofTelecure,
   and MyApps Corp., a corporation incorporated under the laws of Florida (the "Company").

                                               RECITALS

          WHEREAS, Telecure proposes to acquire all of the outstanding common Share of the
   Company, by way of a plan of arrangement on the terms and subject to the conditions set forth in
   this Agreement;

            AND WHEREAS, the Company Board (as hereinafter defined), upon the tenns and
   subject to the conditions set forth herein, (i) has approved and adopted this Agreement, the
   Arrangement, the Merger and the other transactions contemplated hereby, (ii) will, in accordance
   with the terms hereof, recommend this Agreement, the Arrangement, the Merger and the other
   transactions contemplated hereby, for approval and adoption by the Company Shareholders, and
   (iii) will send the Company Notice (as hereinafter defined) to the Company Shareholders (as
   hereinafter defined), in each case, in accordance with the Florida Act as well as all other applicable
   laws;

           AND WHEREAS, Telecure has entered into Support Agreements (as hereinafter defined)
   with the officers, directors and certain Company Shareholders (as hereinafter defined) pursuant to
   which, among other things, such persons have agreed, subject to the tem1s and conditions thereof,
   to vote the Company Shares (as hereinafter defined) held by them in favour of the approval and
   adoption of the Agreement, the Arrangement, the Merger and the other transactions contemplated
   hereby;

        AND WHEREAS, the execution and delivery of this Agreement has been approved by the
   Company Board and the Telecure Board, respectively;

           AND WHEREAS, upon the terms and subject to the conditions set out in this Agreement
   and in accordance with the Florida Act, Acquireco and the Company will complete the Merger
   (as hereinafter defined) and will continue as the Surviving Company, which shall be a wholly-
   owned Subsidiary ofTelecure;

          NOW, THEREFORE, in consideration of the mutual covenants and agreements
   hereinafter set forth and for other good and valuable consideration, the receipt and sufficiency of
   which are hereby acknowledged, the parties hereto agree as follows:
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                                            ARTICLE 1
                                         INTERPRETATION
   Section 1.01   Definitions.

          As used in this Agreement, the following terms have the following meanings:

          "Acquireco" has the meaning as set forth in the preamble.

          "Acquireco Share" means a common share in the capital of Acquireco.

         "Acquisition Proposal" means, other than the transactions contemplated by this
         Agreement, any offer, proposal or inquiry (written or oral) from any Person or group of
         Persons "acting jointly or in concert" (within the meaning ofNational Instrument 62-04-
          'l'ake-Over Bids and Issuer Bids) other than Telecure (or any affiliate ofTelecure) relating
         to: (i) any direct or indirect sale, disposition, alliance or joint venture (or any lease, long-
         term supply agreement or other arrangement having the same economic effect as a sale),
         in a single transaction or a series of related transactions, of assets (including shares of
         Subsidiaries of the Company) representing 20% or more of the consolidated assets or
         contributing 20% or more of the consolidated revenue of the Company and its Subsidiaries
         or of 20% or more of the voting, equity or other securities of the Company (or rights or
         interests therein or thereto); (ii) any direct or indirect takeover bid, tender offer, exchange
         offer, treasury issuance or other transaction that, if consummated, would result in a Person
         or group of Persons beneficially owning 20% or more of any class of voting, equity or other
         securities or any other equity interests (including securities convertible into or exercisable
         or exchangeable for securities or equity interests) of the Company; (iii) any plan of
         arrangen1ent, n1erger, anrnlgamation, consolidation, share exchange, business combination,
         reorganization, recapitalization, liquidation, dissolution, winding up or exclusive license
         involving the Company or any of its Subsidiaries; or (iv) any other similar transaction or
         series of transactions involving the Company or any of its Subsidiaries;

         "affiliate" has the meaning specified in National Instrument 45-106 - Prospectus
         Exemptions.

         "Agreement" means this Arrangement Agreement, together with the schedules attached
         hereto, the Company Disclosure Letter and the Telecure Disclosure Letter, as the same may
         be amended, supplemented or otherwise modified from time to time in accordance with the
         terms hereof.

         "Appraisal Rights" means the rights of appraisal provided to Company Shareholders
         under the Florida Act.

         "Arrangement" means an arrangement pursuant to provisions of Division 5 of Part 9 of
         the BCBCA on the terms and conditions set forth in the Plan of Arrangement, subject to
         any amendment or supplement thereto made in accordance therewith, herewith or made at
         the direction of the Court either in the Interim Order or the Final Order with the consent of
         the Company and Telecure, each acting reasonably.
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         "Articles of Merger" has the meaning set forth in Section 2.01 (c) of this Agreement.

         "associate" has the meaning specified in the Securities Ac/ (British Columbia).

         "Authorization" means, with respect to any Person, any order, pennit, approval, consent,
         waiver, licence or similar authorization of any Governmental Entity having jurisdiction
         over the Person.

         "BCBCA" means the Business C017Joralio11s Ac/ (British Columbia).

         "Business Day" means any day, other than a Saturday, a Sunday or a statutory holiday, in
         either the city of Vancouver, British Columbia or Lake Mary, Florida.

         "Change in Recommendation" shall have the meaning set forth in Section 7.03(b) of this
         Agreement.

         "Class A Company Share" means the issued and outstanding shares of Class "A"
         Common Stock in the capital of the Company.

         "Class B Company Share" means the issued and outstanding shares of Class "B"
         Common Stock in the capital of the Company.

         "Company" has the meaning set forth in the preamble and includes any successor to the
         Company.

         "Company Board" means the board of directors of the Company as constituted from time
         to time.

        "Company Consent" means the written consent of (a) Company Shareholders
        representing at least a majority of the Class A Company Shares, and (b) Company
        Shareholders representing at least a majority of the Class B Company Shares, in each case
        approving and adopting the Agreement, the Arrangement, the Merger and the other
        transactions contemplated herein, in accordance with the Florida Act and the Company's
        goven1ing docun1ents.

        "Company Disclosure Letter" means the disclosure letter dated the date of this
        Agreement and delivered by the Company to Telecure with this Agreement.

        "Company Employees" means the officers and employees of the Company.

        "Company Expense Payment" means an amount equal to US$400,000.

        "Company Expense Payment Event" shall have the meaning set forth in 7.05(a).

        "Company Lease" means any real or immovable property leased, subleased, licensed or
        otherwise used or occupied by the Company.

        "Company Lease Agreement" means the lease agreement between Emerson
        International, Inc. and MyApps Corp. dated October 16, 2020.
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         "Company Notice" means the electronic notice under the Florida Act to be sent to all
         Company Shareholders who have not executed a Company Consent summarizing the
         transactions contemplated by this Agreement and advising them of their statutory rights of
         appraisal in respect of the Arrangement pursuant to Section 607.0704(3) of the Florida Act.

         "Company Share" means the issued and outstanding Class A Company Shares and Class
         B Company Shares.

         "Company Shareholders" means the registered and/or beneficial owners of the Company
         Shares, as the context requires.

         "Computer Systems" has the meaning given such term in Schedule C.

         "Concurrent Financing" means the private placement of units (each, a "Unit") at a price
         of $0.35 per Unit for gross proceeds of at least $4,000,000, where each Unit consists of
         one special warrant, each ultimately exchangeable for one-fifth (1/5) ofa Telecure Share,
         and one subscription receipt, each ultimately exchangeable for four-fifths (4/5) of a
         Telecure Share.

         "Confidential Information" shall have the meaning set forth in Section 5.05 of this
         Agreement.

         "Consenting Shareholder" has the meaning set forth in Section 2.0 I (f) of this Agreement.

         "Consideration" means the consideration to be received by Company Shareholders
         pursuant to the Plan of Arrangement as consideration for their Company Shares, consisting
         of the Consideration Shares, subject to adjustment in the manner and in the circumstances
         contemplated in Section 2. I 3 of this Agreement, on the basis set out in the Plan of
         Arrangement.

        "Consideration Shares" means the Telecure Shares to be issued as Consideration pursuant
        to the Arrangement, being, in respect of each Company Share, such number of Telecure
        Shares as is eqnal to the quotient of 32,000,000 divided by the number of the issued and
        outstanding Company Shares immediately prior to the Effective Time.

        "Contract" means any legally binding agreement, commitment, engagement, contract,
        licence, lease, obligation, undertaking or joint venture to which, as applicable, the
        Company, Telecure or any of their respective Subsidiaries is a party or by which it or any
        of their respective Subsidiaries is bound or affected or to which any of their respective
        properties or assets is subject.

        "Court" means the Supreme Court of British Columbia.

        "Data Room" means the electronic data room populated by the Company and made
        available to Telecure in connection with its due diligence of the Company at the URL:
        "https://www.dropbox.com/home/DD-TELECURE-MY APPS", as such data room was
        constituted as of the date hereof.
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         "Dissenting Shareholder" means a Company Shareholder who has validly exercised its
         Appraisal Rights and has not withdrawn or been deemed to have withdrawn such exercise
         of Appraisal Rights, but only in respect of the Company Shares in respect of which
         Appraisal Rights are validly exercised by such Company Shareholder.

         "Effective Date" means the date upon which the Arrangement becomes effective pursuant
         to the Plan of Arrangement.

         "Effective Time" has the meaning given to such tenn in the Plan of Arrangement.

         "Employee Plan" means all health, welfare, supplemental unemployment benefit, fringe
         benefit, bonus, profit sharing, savings, insurance, incentive, incentive compensation,
         deferred compensation, death benefits, tem1ination, retention, change in control, severance,
         security purchase, security compensation, disability, pension, or supplemental retirement
         plans and other employee, independent contractor, consultant or director compensation or
         benefit plans, policies, trusts, funds, agreements or arrangements for the benefit of current
         or fonner directors of the Company or any of its Subsidiaries, Company Employees, former
         Company Employees or any other Person, whether written or unwritten, which are
         maintained by or binding upon the Company or any of its Subsidiaries or in respect of
         which the Company or any of its Subsidiaries has any actual or potential liability, but does
         not include (a) individual offer letters or Contracts with any Company Employees or fonner
         Company Employees (including any amendments thereto) and (b) any statutory plans
         administered by a Governmental Entity, including, but not limited to, plans administered
         pursuant to applicable federal, state or provincial health, worker's compensation or
         employment insurance legislation.

        "Exchange" means the Canadian Securities Exchange.

        "Filing Statement" means any prospectus, information circular, listing statement and/or
        other comprehensive disclosure document required to be prepared and presented in
        accordance with applicable Securities Laws, and the policies of the Exchange and any other
        regulatory authorities having jurisdiction over all or part of the transactions contemplated
        by this Agreement.

        "Final Order" means the order of the Court, in form and substance satisfactory to each
        Party, acting reasonably, approving the Arrangement, as such order may be amended by
        the Court (with the consent of each of the Parties, acting reasonably) at any time prior to
        the Effective Date or, if appealed, then unless such appeal is withdrawn or denied, as
        affirmed or as amended (provided that such amendment is satisfactory to each of the
        Parties, acting reasonably) on appeal.

        "Florida Act" means the Florida Business Corporation Act, as amended, and the rules and
        regulations promulgated thereunder.

        "Governmental Entity" means: (a) any international, multi-national, national, federal,
        provincial, territorial, state, regional, municipal, local or other government, governmental
        or public department, central bank, court, tribunal, arbitral body, commission, board,
        bureau, commissioner, minister, cabinet, governor in council, ministry, agency or
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         instrumentality, domestic or foreign; (b) any subdivision or authority of any of the
         foregoing; (c) any quasi-governmental or private body exercising any regulatory,
         expropriation or taxing authority under or for the account of any of the foregoing; or (d)
         any stock exchange.

         "IFRS" means International Financial Reporting Standards and applicable accounting
         requirements set by the International Accounting Standards Board.

         "Indemnified Parties" has the meaning given to such tenn in Section 5.06.

         "Indemnified Party" has the meaning given to such term in Section 5.06.

        "Intellectual Property" means domestic and foreign (a) patents, applications for patents
        and reissues, divisionals, continuations, renewals, re-examinations, extensions and
        continuations-in-part of patents or patent applications; (b) proprietary and non-public
        business information, including inventions (whether patentable or not), invention
        disclosures, improvements, discoveries, trade secrets, confidential inforn1ation, know-how,
        methods, models, fornrnlae, algorithms, processes, designs, technology, technical data,
        schematics, formulae and customer lists and documentation relating to any of the
        foregoing; (c) copyrights, copyright registrations and applications for copyright
        registration; ( d) integrated circuit topographies, integrated circuit topography registrations
        and applications, mask works, mask work registrations and applications for mask work
        registrations; (e) designs, design registrations, design registration applications, industrial
        designs, industrial design registrations and industrial design applications; (f) trade names,
        business names, corporate names, domain names, website names and world wide web
        addresses, common law trademarks, trademark registrations, trademark applications, trade
        dress and logos, and the goodwill associated with any of the foregoing; (g) software; and
        (h) any other intellectual property and industrial property.

        "Intellectual Property Rights" has the meaning given such term in Schedule C.

        "Interim Order" means the interim order of the Court, after being informed of the
        intention to rely upon the exemption from registration under the U.S. Securities Act
        provided by Section 3(a)(J0) in connection with the Arrangement, to be issued following
        the application therefor submitted to the Court as contemplated herein, in form and
        substance acceptable to the Company and Telecure, each acting reasonably.

        "Law" means, with respect to any Person, any and all applicable law (statutory, common
        or otherwise), constitution, treaty, convention, ordinance, code, rule, regulation, Order,
        injunction, judgn1ent, decree, ruling or similar requirement, whether domestic or foreign,
        enacted, adopted, promulgated or applied by a Governmental Entity that is binding upon
        or applicable to such Person or its business, undertaking, property or securities, and to the
        extent that they have the force of law, policies, guidelines, notices and protocols of any
        Governmental Entity, as amended, unless expressly specified otherwise.

        "Lien" means any pledge, claim, lien, charge, option, hypothec, mortgage, security
        interest, restriction, adverse right, prior assignment, lease, sublease, royalty, levy, right to
        possession or any other encumbrance, easement, license, right of first refusal, covenant,
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         voting trust or agreement, transfer restriction under any shareholder or similar agreement,
         right or restriction of any kind or nature whatsoever, whether contingent or absolute, direct
         or indirect, or any agreement, option, right or privilege (whether by Law, contract or
         otherwise) capable of becoming any of the foregoing.

         "Listing" has the meaning prescribed thereto in Section 6.01 (h).

         "Matching Period" shall have the meaning set forth in Section 5.07(f)(v) of this
         Agreement.

         "Material Adverse Effect" means any change, event, occurrence, effect, state of facts or
         circumstance that, individually or in the aggregate with other such changes, events,
         occurrences, effects, states of facts or circumstances, is or could reasonably be expected to
         be material and adverse to the current or future business, operations, results of operations,
         assets, properties, capitalization, condition (financial or otherwise) or liabilities (contingent
         or otherwise) of the Company or Telecure, as applicable, and their Subsidiaries, taken as a
         whole, except any such change, event, occurrence, effect, state of facts or circumstances
         resulting from: (a) any change in general economic, business, regulatory, political,
         financial, capital, securities or credit market conditions in Canada or the United States; (b)
         any outbreak or escalation of war or act of terrorism; (c) any natural disaster; (d) any
         adoption, proposal, implementation or change in Law or any interpretation of Law by any
         Governmental Entity; (e) any change in accounting standards applicable to any Party,
        including, but not limited to, IFRS (or any authoritative interpretation or enforcement
        thereof); (f) any action taken (or omitted to be taken) by the Company, Telecure or any of
        their Subsidiaries, which is required or pern1itted to be taken (or omitted to be taken)
        pursuant to this Agreement or that is consented to by the Company or Telecure, as
        applicable, in writing; (g) the announcement of this Agreement or consummation of the
        Arrangement or the transactions contemplated hereby; or (h) the failure of the Company or
        Telecure, as applicable, to meet any internal or published projections, forecasts, guidance
        or estimate of revenues, earnings or cash flows (it being understood that the causes
        underlying such failure may be taken into account in determining whether a Material
        Adverse Effect has occurred); provided, however, (I) if any change, event, occurrence,
        effect, state of facts or circumstance in clauses (a) through and including (e) above has a
        disproportionate effect on, as applicable, the Company, Telecure or their Subsidiaries,
        taken as a whole, relative to other comparable companies and entities operating in the
        industries in which, as applicable, the Company, Telecure or any of their Subsidiaries
        operate, such effect may be taken into account in detern1ining whether a Material Adverse
        Effect has occurred, and (II) references in certain Sections of this Agreement to dollar
        amounts are not intended to be, and shall not be deemed to be, illustrative for purposes of
        determining whether a "Material Adverse Effect" has occurred.

        "Material Contract" means any Contract: (a) that if terminated or modified or ifit ceased
        to be in effect, would reasonably be expected to have a Material Adverse Effect; (b) relating
        directly or indirectly to the guarantee of any liabilities or obligations or to indebtedness for
        borrowed money in excess of $50,000 in the aggregate; (c) under which indebtedness in
        excess of $50,000 is or may become outstanding, other than a Contract between two or
        more wholly-owned Subsidiaries of the Company or Telecure, as applicable or between
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         the Company or Telecure and one or more of their wholly owned Subsidiaries; (d) under
         which the Company, Telecure or any of their Subsidiaries is obligated to make or expects
         to receive payments in excess of$50,000 in a one year period; (e) that creates an exclusive
         dealing arrangement or right of first offer or refusal which material restricts the business
         of, as the case may be, the Company, Telecure or any of their Subsidiaries; (f) providing
         for the purchase, sale or exchange of, or option to purchase, sell or exchange, any property
         or asset outside of the ordinary course of business where the purchase or sale price or
         agreed value or fair market value of such property or asset exceeds $50,000; (g) that limits
         or restricts in any material respect (I) the ability of the Company, Telecure or any
         Subsidiaries to engage in any line of business or carry on business in any geographic area,
         or (II) the scope of Persons to whom the Company, Telecure or any of their Subsidiaries
         may sell products; or (h) providing for the establishment, investment in, organization or
         fomiation of any joint venture, partnership or other revenue sharing arrangements in which
         the interest of the Company, Telecure or any of their Subsidiaries has a fair market value
         which exceeds $50,000.

         "Merger" means the plan of merger under Section 607.1103 of the Florida Act involving
         Acquireco, the Company, and Telecure pursuant to which, among other things, Acquireco
         shall be merged with and into the Company, the separate existence of Acquireco shall cease
         and the Company shall continue as the Surviving Company.

         "Misrepresentation" means (a) an untrue statement ofa material fact, or (b) an omission
         to state a material fact that is (i) required to be stated, or (ii) necessary to prevent a statement
         that is made from being false or misleading in the circumstances in which it was made.

         "Money Laundering Laws" has the meaning ascribed thereto in Schedule C.

        "NI 51-102" means National Instrument 51-102 - Continuous Disclosure Obligations of
        the Canadian Securities Administrators.

        "OHSA" has the meaning ascribed thereto in Schedule C.

        "Order" means all judicial, arbitral, administrative, ministerial, departmental or regulatory
        judgments, injunctions, orders, decisions, rulings, detenninations, awards, decrees or
        similar actions taken by, or applied by, any Governmental Entity (in each case, whether
        temporary, preliminary or pennanent).

        "ordinary course of business" or any similar reference means, with respect to an action
        taken or to be taken by any Person, that such action is consistent with the past practices of
        such Person and is taken in the ordinary course of the normal day-to-day business and
        operations of such Person and, in any case, is not unreasonable or unusual in the
        circumstances when considered in the context of the provisions of this Agreement.

        "Outside Date" means March 26, 2021 or such later date as may be agreed to in writing
        by the Parties.

        "Owned Intellectual Property Rights" has the meaning given such term in Schedule C.
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         "Parties" means Telecure, Acquireco and the Company, and "Party" means any one of
         them.

         "Performance Warrants" means the 11,000,000 perfomrnnce warrants entitling the
         holder thereof to acquire Telecure Shares in certain circumstances, all in accordance with
         the terms of the certificates representing the performance warrants.

         "Permitted Liens" means, as of any particular time and in respect of any Person, each of
         the following Liens: (a) the reservations, limitations, provisos and conditions expressed in
         the original grant from the Crown and recorded against title and any statutory exceptions
         to title; (b) inchoate or statlltory Liens of contractors, Sllbcontractors, mechanics, workers,
         suppliers, materialmen, carriers and others in respect of the construction, maintenance,
         repair or operation of real or personal property; (c) easements, servitudes, restrictions,
         restrictive covenants, party wall a;,>reements, rights of way, licences, permits and other
         similar rights in real property (including rights of way and servitudes for highways and
         other roads, railways, sewers, drains, gas and oil pipelines, gas and water mains, electric
         light, power, telephone, telegraph or cable television condllits, poles, wires and cables) that
         do not, individually or in the aggregate, materially and adversely impair the current use
         and operation thereof (assuming its continued use in the manner in which it is currently
         used); (d) encroachments that do not materially impair or affect the cllrrent llSe or vallle of
        any real property and minor defects or irregularities in title to any real property; (e) Liens
        for Taxes which are not yet due or delinquent or that are being properly contested in good
        faith by appropriate Proceedings and in respect of which an applicable reserve has been
        made; (f) Liens imposed by Law and incurred in the ordinary course of business for
        obligations not yet due or delinquent; (g) Liens in respect of pledges or deposits under
        workers' compensation, social security or similar Laws, other than with respect to amounts
        which are due and delinquent, unless such amounts are being contested in good faith by
        appropriate Proceedings; (h) zoning and building by-laws and ordinances and airport
        zoning regulations made by public allthorities and otherrestrictions affecting or controlling
        the use or development of any real property; (i) agreements affecting real property with
        any municipal, provincial or federal governments or authorities and any public utilities
        (including subdivision agreements, development agreements and site control agreements)
        that do not, individually or in the aggregate, materially and adversely impair the current
        use and operation thereof (assuming its continued use in the manner in which it is currently
        used); (j) any notices of leases registered on title and licences of occL1pation; (k) pllrchase
        money liens and liens securing rental payments under capital lease arrangements; and (1)
        such other imperfections or irregularities of title or Lien that, in each case, do not materially
        adversely affect the use of the properties or assets sllbject thereto or otherwise materially
        adversely impair business operations of such properties.

        "Person" includes any individual, partnership, association, body corporate, organization,
        trust, estate, trustee, executor, administrator, legal representative or government (including
        any Governmental Entity), syndicate or other entity, whether or not having legal statlls.

        "Personal Information" means any data or information in any media that is used or
        reasonably capable of being used alone or in conjunction with other information to identify
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         an individual and any other data or information that constitutes personal data or personal
         information under any Law to which the Company or any of its Subsidiaries is subject.

         "Plan of Arrangement" means the plan of arrangement of Acquireco under the BCBCA
         substantially in the form and content of Schedule A attached hereto and any amendment or
         variation thereto made in accordance with the Plan of Arrangement or this Agreement or
         made at the direction of the Court in the Final Order with the prior written consent of the
         Parties, each acting reasonably.

         "Privacy Laws" means the Laws governing the collection, use, disclosure, and protection
         of Personal Information.

         "Proceeding" means any suit, clai1n, action, charge, litigation, arbitration, proceeding
         (including any civil, criminal, administrative, investigative or appellate proceeding),
         hearing, audit, examination or known investigation commenced, brought, conducted or
         heard by or before any Governmental Entity.

         "Prospectus" has the meaning prescribed thereto in Section 6.0 I (h).

         "Regulatory Approvals" means any material consent, waiver, pennit, exemption, review,
         Order, decision or approval of, or any registration and filing with, any Governmental
         Entity, or the expiry of any waiting period imposed by Law or a Governmental Entity, in
         each case in connection with this Agreement, the Arrangement or the Merger.

         "Representatives" has the meaning ascribed thereto in Section 5.07.

        "SAFEs" means all of the issued and outstanding simple agreements for future equity of
        the Company.

        "Sanctions" has the meaning ascribed thereto in Schedule C.

        "Securities Laws" means the Securities Act (British Columbia) and the mies, regulations,
        instruments and published policies thereunder, and the rules of the Exchange applicable to
        companies listed thereon.

        "Software" has the meaning given such tenn in Schedule C.

        "Subsidiary" means a company or corporation that is controlled directly or indirectly by
        another company or company and includes a Subsidiary of that Subsidiary.

        "Superior Proposal" means any unsolicited bona fide written Acquisition Proposal from
        a Person who is an ann's length third party made after the date of this Agreement: (i) to
        acquire not less than all of the outstanding Company Shares (other than any Company
        Shares owned by the Person making such Acquisition Proposal or its affiliates) or all or
        substantially all of the assets of the Company and its Subsidiaries on a consolidated basis
        solely for cash consideration; (ii) that complies with Securities Laws and did not result
        from a breach of Section 5.07 of this Agreement or any agreement between the Person
        making such Acquisition Proposal and the Company; (iii) that is reasonably capable of
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          being completed without undue delay, taking into account, all financial, legal, regulatory
         and other aspects of such proposal and the Person making such proposal; (iv) that is not
         subject to any financing condition and in respect of which it has been demonstrated to the
         satisfaction of the Company Board, acting in good faith (after receipt of advice from its
         financial advisors and its outside legal counsel), that adequate arrangements have been
         made in respect of any required financing to complete such Acquisition Proposal at the
         time and on the basis set out therein; (v) that is not subject to any due diligence and/or
         access condition; and (vi) in respect of which the Company Board detennines, in its good
         faith judgment, after receiving the advice of its outside legal counsel and financial advisors
         and after taking into account all the terms and conditions of the Acquisition Proposal,
         including all legal, financial, regulatory and other aspects of such Acquisition Proposal and
         the party making such Acquisition Proposal, (A) such Acquisition Proposal would, if
         consummated in accordance with its terms, but without assuming away the risk of
         noncompletion, result in a transaction which is more favourable, from a financial point of
         view, to the Company Shareholders than the transactions contemplated by this Agreement
         (including any amendments to the tern1s and conditions of this Al,>reement proposed by
         Telecure pursuant to Section 5.07(g) of this Agreement) and (B) that recommending such
         Acquisition Proposal to the Company Shareholders and entering into a definitive
         agreement with respect to such Acquisition Proposal would not be inconsistent with its
         fiduciary duties.

        "Superior Proposal Notice" shall have the meaning set forth in Section 5.07(f)(iii) of this
        Agreement.

        "Support Agreements" means the voting and support agreements dated effective the date
        hereof and made between the Company and the officers, directors and certain Company
        Shareholder(s).

        "Surviving Company" means the corporate entity fanned as a result of the Merger.

        "Tax Act" means the Income Tox Act (Canada).

        "Tax Returns" means any and all ren1rns, reports, declarations, elections, notices, forms,
        designations, filings and statements (including estimated tax returns and reports,
        withholding tax returns and reports and information returns and reports) filed or required
        to be filed in respect of Taxes.

        "Taxes" means: (a) any and all taxes, duties, fees, excises, premiums, assessments,
        imposts, levies and other charges or assessments of any kind whatsoever imposed by any
        Governmental Entity, whether computed on a separate, consolidated, unitary, combined or
        other basis, including those levied on, or measured by, or described with respect to, income,
        gross receipts, profits, gains, windfalls, capital, capital stock, production, recapture,
        transfer, land transfer, licence, gift, occupation, wealth, environment, net worth,
        indebtedness, surplus, sales, goods and services, harmonized sales, use, value-added,
        excise, special assessment, stamp, withholding, business, franchising, real or personal,
        health, employee health, payroll, workers' compensation, employment or unemployment,
        severance, social services, social security, education, utility, surtaxes, customs, import or
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           export and including all licence and registration fees and all employment insurance, health
           insurance and government pension plan premiums or contributions; (b) all interest,
           penalties, fines, additions to tax or other additional amounts imposed by any Governmental
           Entity on or in respect of amounts described in clause (a) above or this clause (b); (c) any
           liability for the payment of any amounts of the type described in clauses (a) or (b) as a
           result of being a member of an affiliated, consolidated, combined or unitary group for any
           period; and (d) any liability for the payment of any amounts described in clauses (a) or (b)
           as a result of any express or implied obligation to indemnify any other Person or as a result
           of being a transferee or successor in interest to any party.

           "Telecure" has the meaning set forth in the preamble.

           "Telecure Board" means the board of directors of Telecure as constituted from time to
           time.

           "Telecure Disclosure Letter" means the disclosure letter dated the date of this Agreement
           and delivered by Telecure to the Company with this Agreement.

           "Telccure Resolution" means the consent resolution ofTelecure, as the sole shareholder
           of Acquireco, approving the Plan of Arrangement, substantially in the form set forth in
           Schedule B.

           "Telecure Shares" means the Class A voting common shares in the capital ofTelecure, as
           constituted on the date hereof.

           "Third-Party Beneficiaries" has the meaning set forth in Section 8.07.

           "Third-Party Intellectual Property" has the meaning given such tern1 in Schedule C.

           "U.S. Exchange Act" means the United States Securities Exchange Act of 1934, as
           amended, and the rules and regulations promulgated thereunder.

          "U.S. PCAOB GAAS" means auditing standards of the Public Company Accounting
          Oversight Board (United States of America), as amended from time to time.

          "U.S. Securities Act" means the United States Securities Act of I 933, as the same has
          been, and hereafter from time to time may be, amended.

   Section 1.02   Interpretation Not Affected by Headings.

   The provision of a Table of Contents, the division of this Agreement into Articles and Sections
   and the insertion of headings are for convenience ofreference only and shall not affect in any way
   the meaning or interpretation of this Agreement.
   Section 1.03   Currency.
   All references to dollars or to $ are references to Canadian dollars unless otherwise specified.
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   Section 1.04    Number and Gender.

   In this Agreement, unless the contrary intention appears, words importing the singular include the
   plural and vice versa and words importing gender shall include all genders.
   Section 1.05   Date for Any Action.

   If the elate on which any action is required to be taken hereunder by a Party is not a Business Day
   in the place where the action is required to be taken, such action shall be required to be taken on
   the next succeeding day which is a Business Day in such place.
   Section 1.06   Knowledge.

   In this Agreement, the phrase "to the knowledge of the Company" or "to the knowledge of
   Telecure" means, unless otherwise indicated, in the case of the Company, the actual knowledge of
   Adnan Malik, CEO and Muhammad Kashif Akram, CTO, and in the case ofTelecure the actual
   knowledge of Eli Dusenbury, Director and Harwinder Pannar, Director, President and Secretary,
   in both cases after reasonable enquiry, and to the extent that such reasonable enquiry was not
   conducted, includes the knowledge that a reasonable Person would have had if such reasonable
   enquiry had been conducted.
   Section 1.07 Schedules.

   The following schedules attached to this Agreement fonn an integral part of this Agreement for
   all purposes of it:
                  Schedule A      Fonn of Plan of Arrangement
                  Schedule B      Telecure Resolution
                  Schedule C    - Representations and Warranties of the Company
                  Schedule D    - Representations and Warranties ofTelecure and Acquireco

   Section 1.08   Accounting Terms.

   Unless otherwise stated, all accounting terms used in this Agreement shall have the meanings
   attributable thereto under IFRS and all determinations of an accounting nature required to be made
   shall be made in a manner consistent with the aforementioned accounting standards and principles,
   as applicable.
   Section 1.09   Other Definitional and Interpretive Provisions.

          (a)     References in this Agreement to the words "include", "includes" or "including"
                  shall be deemed to be followed by the words "without limitation" whether or not
                  they are in fact followed by those words or words of like import.
          (b)     Any capitalized terms used in any exhibit or Schedule but not otherwise defined
                  therein, shall have the meaning as defined in this Agreement.
          (c)     References to any agreement or Contract are to that agreement or Contract as
                  amended, modified or supplemented from time to time in accordance with the terms
                  hereof and thereof.
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          (d)      Any reference in this Agreement to a Person includes the heirs, administrators,
                   executors, legal personal representatives, predecessors, successors and permitted
                   assigns of that Person.
          (e)     References to a particular statute or Law shall be to such statute or Law and the
                  rules, regulations and published policies made thereunder, as now in effect and as
                  they may be promulgated thereunder or amended from time to time.
                                           ARTICL!i: 2
                                       THE ARRANGEMENT

   Section 2.01   The Arrangement.

   The Company, Telecure and Acquireco agree that the Arrangement shall be implemented in
   accordance with the terms and subject to the conditions contained in this Agreement and the Plan
   of Arrangement, and in connection therewith, the Parties agree that:
          (a)     upon the terms and subject to the conditions set forth in this Agreement and in
                  accordance with the Florida Act and the BCBCA, at the Effective Time, Acquireco
                  shall be merged with and into the Company, the separate existence of Acquireco
                  shall cease and the Company shall continue as the Surviving Company in the
                  Merger; the Merger shall have the effects set forth in this Agreement and in the
                  applicable provisions of the Florida Act. Without limiting the generality of the
                  foregoing, and subject thereto, at the Effective Time, all property of Acquireco and
                  the Company shall vest in the Surviving Company, all liabilities and duties of ·
                  Acquireco and the Company shall become liabilities and duties of the Surviving
                  Company, and the Surviving Company shall be a wholly-owned Subsidiary of
                  Telecure;
          (b)     subject to the provisions of the Arrangement Agreement, articles of merger in
                  substantially the fonn attached hereto as Exhibit A (the "Articles of Merger") shall
                  be duly executed by the Surviving Company and, on the Effective Date, the Articles
                  of Merger shall be filed by the Surviving Company with the Florida Department of
                  State pursuant to all applicable provisions of the Florida Act;
          (c)     the consideration for the Merger shall be comprised of, in respect of each Company
                  Share, the Consideration Shares;

         (d)      each Company Share held by Dissenting Shareholders in respect of which
                  Appraisal Rights have been validly exercised shall, in accordance with the
                  applicable provisions of the Florida Act, be cancelled and converted into the right
                  to be paid fair value for such Company Shares as set out in Section 3.01 of the Plan
                  of Arrangement in accordance with the applicable provisions of the Florida Act;
         (e)      each outstanding Company Share other than the Company Shares that are held by
                  Dissenting Shareholders who have validly exercised their Appraisal Rights in
                  accordance with the Florida Act and who are ultimately entitled to be paid the fair
                  value for such Company Shares by the Company (the "Consenting Shareholders"),
                  shall, without any further action by or on behalf of a holder of Company Shares and
                  in accordance with the applicable provisions of the Florida Act, be cancelled and
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                   converted into the right to receive the Consideration Shares less amounts withheld
                   and remitted in accordance with Section 4.02 of the Plan of Arrangement. In
                   accordance with the applicable provisions of the Florida Act, the holders of such
                   Company Shares shall cease to be the holders thereof and to have any rights as
                   holders of such Company Shares other than the rights to be paid the Consideration
                   per Company Share in accordance with the Plan of Arrangement.
          (f)     Telecure shall issue to each Consenting Shareholder the Consideration Shares for
                  for each Company Share, in accordance with the Plan of Arrangement.
   Section 2.02   Obligations of Telecure and Acquireco.

   Subject to the tem1s and conditions of this Agreement, in order to facilitate the Arrangement,
   Telecure and Acquireco shall take all action necessary in accordance with all applicable Laws to:

          (a)     make and diligently pursue an application to the Court for the Interim Order in
                  respect of the Arrangement in a manner acceptable to the Company, acting
                  reasonably;                                      /

          (b)     subject to obtaining the approvals as contemplated in the Interim Order and as may
                  be directed by the Court in the Interim Order, take all steps necessary or desirable
                  to submit the Arrangement to the Court and appear at Court to seek the Final Order
                  as soon as reasonably practicable and, in any event, on or before March I, 2021;
                  and

          (c)     file any documents as required pursuant to Section 292 of the BCBCA, and such
                  other documents as may be required to give effect to the Arrangement pursuant to
                  Division 5 of Part 9 of the BCBCA.
   Section 2.03   Interim Order.

          (a)     As soon as reasonably practicable after the date of this Af,>reement, but in any event
                  on or before December 31, 2020, Acquireco shall apply in a manner reasonably
                  acceptable to the Company pursuant to Section 292 of the BCBCA and, in
                  cooperation with the Company, prepare, file and diligently pursue an application
                  for the Interim Order which shall provide, among other things:

                  (i)     that, in all respects, the tem1s, restrictions and conditions of the constating
                          documents of MyApps and the Florida Act shall apply in respect of the
                          Merger;

                  (ii)    for the notice requirements with respect to the presentation of the
                          application to the Court for the Final Order; and

                  (iii)   for such other matters as Telecure or Acquireco may reasonably require,
                          subject to the consent of the Company, acting reasonably.
         (b)      In seeking the Interim Order, Acquireco shall advise the Court that it is the intention
                  of the Parties to rely upon the exemption from registration provided by Section
                  3(a)( I 0) of the U.S. Securities Act with respect to the issuance of all Consideration
                  Shares to be issued pursuant to the Arrangement, based and conditioned on the
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                   Court's approval of the Arrangement and its detennination that the Arrangement is
                   fair and reasonable to Company Shareholders whose rights are affected by the
                   Arrangement to whom Consideration Shares will be issued pursuant to the
                   Arrangement, following a hearing and after consideration of the substantive and
                   procedural tenns and conditions thereof.
   Section 2.04    Court Proceedings.
    Subject to the tem1s of this Agreement, the Company shall cooperate with and assist Telecure and
    Acquireco in seeking the Interim Order and the Final Order, including by providing to Telecure
    on a timely basis any infonnation reasonably required to be supplied by the Company in
    connection therewith as requested by Telecure. Telecure shall provide legal counsel to the
    Company with a reasonable opportunity to review and comment upon drafts of all material to be
    filed with the Court in connection with the Arrangement and shall give reasonable consideration
    to all such comments. Subject to applicable Law, Acquireco will not file any material with the
    Court in connection with the Arrangement or serve any such material, and will not agree to modify
    or amend materials so filed or served, except as contemplated by this Section 2.04 or with the
    Company's prior written consent, such consent not to be unreasonably withheld, conditioned or
    delayed; provided that, nothing herein shall require the Company to agree or consent to any
    decrease in the Consideration or other modification or amendment to such filed or served materials
    that expands or increases Telecure's and Acquireco's rights set forth in any such filed or served
   materials or under this Agreement or the Arrangement. Telecure and Acquireco shall, subject to
    applicable Law, oppose any proposal from any Person that the Final Order contain any provision
   inconsistent with this Agreement, and if required by the terms of the Final Order or by Law to
   return to Court with respect to the Final Order do so only after notice to, and in consultation and
   cooperation with the Company. Acquireco shall also provide to the Company's legal counsel on a
   timely basis copies of any notice of appearance or other Court documents served on Telecure or
   Acquireco in respect of the application for the Interim Order or the Final Order or any appeal
   therefrom and of any notice, whether written or oral, received by Telecure or Acquireco indicating
   any intention to oppose the granting of the Interim Order or the Final Order or to appeal the Interim
   Order or the Final Order. Telecure and Acquireco shall ensure that all materials filed with the
   Court in connection with the Arrangement are consistent in all material respects with the terms of
   this Agreement and the Plan of Arrangement. ln addition, Telecure and Acquireco will not object
   to legal counsel to the Company making such submissions on the hearing of the motion for the
   Interim Order and the application for the Final Order as such counsel considers appropriate;
   provided that, Telecure and Acquireco are advised of the nature of any submissions prior to the
   hearing and such submissions are consistent with this Agreement and the Plan of Arrangement.
   For greater certainty, nothing in this Section 2.04 shall limit the Company's ability to take any and
   all steps, including the filing of all manner of documents with any Governmental Entity, to enforce
   its rights hereunder, including in connection with any dispute involving the Company, on the one
   hand, and Telecure and Acquireco, together, on the other hand.

   Section 2.05   Obligations of the Company.
   Subject to the terms and conditions of this Agreement, in order to facilitate the Arrangement and
   the Merger, the Company shall take all action necessary in accordance with all applicable Laws,
   including, without limitation, the Florida Act, to:
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          (a)     secure unanimous approval of the Company Board in respect of the Arrangement,
                  this Agreement, the Plan of Arrangement and the Merger;
          (b)     within three (3) Business Days of executing this Agreement, deliver to Telecure
                  evidence of the adoption and approval of the Company Consent by (i) Company
                  Shareholders representing at least a majority of the Class A Company Shares and
                  (ii) Company Shareholders representing at least a majority of the Class B Company
                  Shares;
          (c)     within ten (10) days after the Company Consent has been delivered to the
                  Company, the Company will send the Company Notice to the Company
                  Shareholders who have not executed a Company Consent in accordance with the
                  Florida Act as well as all other applicable laws;
          (d)     as soon as reasonably practicable and, in any event, within five (5) Business Days
                  after the date of the Final Order, arrange for the execution by the Surviving
                  Company of the Articles of Merger and, on the Effective Date, cause the Articles
                  of Merger to be filed by the Surviving Company with the Florida Department of
                  State pursuant to all applicable provisions of the Florida Act; and
          (e)     follow and complete the procedures and processes set out in the Florida Act in
                  respect of the exercise of Appraisal Rights by Dissenting Shareholders.
   Section 2.06   Filing Statement.

          (a)     As promptly as reasonably practicable following execution of this Agreement,
                  Telecure shall prepare and complete, in consultation with the Company as
                  contemplated by this Section 2.06, the Filing Statement together with any other
                  documents required by Securities Laws and Telecure shall cause the Filing
                  Statement and such other documents required by Securities Laws to be filed with
                  the Exchange and applicable securities regulatory authorities in accordance with
                  Securities Laws.
         (b)      Telecure shall ensure that the Filing Statement complies in all material respects
                  with applicable Securities Laws and does not contain any Misrepresentation
                  regarding Telecure or Acquireco.
         (c)      The Company shall fully cooperate with Telecure in the preparation of the Filing
                  Statement. The Company shall provide to Telecure all necessary information
                  concerning the Company as required by Securities Laws, for inclusion in the Filing
                  Statement as requested by Telecure. The Company shall also use commercially
                  reasonable efforts to obtain any necessary consents from any of its auditors and any
                  other advisors to the use of any financial, technical or other expert information
                  required to be included in the Filing Statement and to the identification in the Filing
                  Statement of each such advisor. The Company shall ensure that any such
                  information will not include any Misrepresentation concerning the Company.
         (d)      The Company and its legal counsel shall be given a reasonable opportunity to
                  review and comment on drafts of the Filing Statement and other related documents
                  and reasonable consideration shall be given to any comments made by the
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                  Company and its legal counsel; provided that, all infom1ation relating solely to the
                  Company included in the Filing Statement shall be in form and substance
                  satisfactory to the Company, acting reasonably.
          (e)     The Company, on one hand, and Telecure and Acquireco, together, on the other
                  hand, shall promptly notify each other upon becoming aware that the Filing
                  Statement contains a Misrepresentation or otherwise requires an amendment or
                  supplement and shall cooperate in the preparation of any amendment or supplement
                  to the Filing Statement as required or appropriate and Telecure shall cause the
                  Filing Statement and such other documents required by Securities Laws to be filed
                  with applicable securities regulatory authorities in accordance with Securities
                  Laws.
   Section 2.07   Final Order.

   lfthe hnerim Order is obtained and following the signing of the Company Consent: (i) Acquireco
   shall, with the cooperation of the Company, take all steps necessary or desirable to submit the
   Arrangement to the Court and diligently pursue an application for the Final Order pursuant to the
   BCBCA, as soon as practicable, but in any event not later than five Business Days after the date
   of the Company Consent; and (ii) the Company shall take all steps necessary to complete the
   Merger pursuant to and in accordance with the Florida Act.
   Section 2.08   Plan of Arrangement and Effective Time.

          (a)     Unless another time or date is agreed to in writing by the Parties, on the third
                  Business Day following satisfaction or, where not prohibited, the waiver of the
                  conditions (excluding conditions that, by their terms, cannot be satisfied until the
                  Effective Date, but subject to the satisfaction or, where not prohibited, the waiver
                  of those conditions as of the Effective Date) set forth in Article VI, each of the
                  Parties shall execute and deliver such closing documents and instruments and such
                  other documents as may be required to give effect to such portions of the
                  Arrangement to be effected on the Effective Date and Acquireco shall proceed to
                  file any documents as required pursuant to Section 292 of the BCBCA, and such
                  other documents as may be required to give effect to the Arrangement (to the extent
                  effective on the Effective Date) pursuant to Division 5 of Part 9 of the BCBCA and
                  the Company shall proceed to file any documents as required to give effect to the
                  Merger pursuant to and in accordance with the Florida Act (including, without
                  limitation, the filing of the Articles of Merger with the Florida Department of State
                  pursuant to all applicable provisions of the Florida Act). Without limiting the
                  foregoing, Acquireco shall, following receipt of the Final Order and satisfaction,
                  or, where not prohibited, the waiver, of the conditions (excluding conditions that,
                  by their terms, cannot be satisfied until the Effective Date, but subject to the
                  satisfaction, or, where not prohibited, the waiver, of those conditions as of the
                  Effective Date) set forth in Article VI but prior to the filing by Acquireco of the
                  documents referred to above, deliver or cause to be delivered by Telecure, sufficient
                  Consideration Shares to satisfy the Consideration issuable to the Company
                  Shareholders pursuant to the Plan of Arrangement.
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           (b)     The Arrangement shall become effective at the Effective Time on the Effective
                   Date, whereupon, the transactions comprising the Arrangement and the Merger
                   shall be deemed to occur in the order and on the dates set out in the Plan of
                   Arrangement without any further act or fonnality.

           (c)     From and after the Effective Time, the Plan of Anangement shall have all of the
                   effects provided by applicable Law, including the BCBCA.
   Section 2.09    Payment of Consideration.

   Telecure shall, prior to the filing by Acquireco of any documents as required pursuant to Section
   292 of the BCBCA, and such other documents as may be required to give effect to the Arrangement
   pursuant to Division 5 of Part 9 of the BCBCA and the Merger pursuant to the Florida Act, and in
   accordance with Section 2.07, inevocably instrnct its transfer agent to issue the Consideration
   Shares, in order to pay and deliver the aggregate Consideration payable to the Company
   Shareholders as provided in the Plan of Arrangement.

   Section 2.10 Closing.

   The closing of the Anangement will take place at the offices of Cassels Brock & Blackwell LLP,
   located at 2200 - 885 West Georgia Street, Vancouver, British Columbia, or at such other location
   as may be agreed upon by the Parties, at 10:00 a.m. (Vancouver time) on the Effective Date.
   Section 2.11   Withholding Taxes.

   The Company, Telecure and Acquireco, as applicable, shall be entitled to deducf or withhold from
   any consideration payable or otherwise deliverable to any Person, pursuant to the Arrangement
   and from all dividends, other distributions or other amount otherwise payable to any former
   Company Shareholders, such Taxes or other amounts as the Company, Telecure or Acquireco are
   required, entitled or permitted to deduct or withhold with respect to such payment under the Tax
   Act, or any other provisions of any applicable Laws, in each case, as amended. To the extent that
   Taxes or other amounts are so deducted or withheld, such deducted or withheld Taxes or other
   amounts shall be treated for all purposes under this Agreement as having been paid to the Person
   in respect of which such deduction or withholding was made, provided that such deducted or
   withheld Taxes or other amounts are actually remitted to the appropriate taxing authority.

   Section 2.12   U.S. Securities Law Matters.

   The Parties agree that the Anangement will be carried out with the intention that all Consideration
   Shares will be issued by Telecure in reliance on the exemption from the registration requirements
   of the U.S. Securities Act provided by Section 3(a)(IO) thereunder. In order to ensure the
   availability of the exemption under Section 3(a)(l 0) of the U.S. Securities Act and to facilitate
   Telecure's compliance with other United States securities Laws, the Parties agree that the
   Arrangement will be canied out on the following basis:

          (a)     pursuant to Section 2.03(b), prior to the issuance of the Interim Order, the Court
                  will be advised as to the intention of the Parties to rely on the exemption provided
                  by Section 3(a)(l 0) of the U.S. Securities Act with respect to tl1e issuance of all
                  Consideration Shares pursuant to the Anangement, based on the Court's approval
                  of the Anangement;
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         (b)   prior to the issuance of the Interim Order, the Company will file with the Court a
               copy of the proposed text of the Company Consent together with any other
               documents required by Law in connection with the obtaining of the approval of the
               Arrangement and the Merger by the Company Shareholders;
         (c)   the Court will be required to satisfy itself as to the substantive and procedural
               fairness of the Arrangement to the Company Shareholders to whom Consideration
               Shares will be issued pursuant to the Arrangement;
         (d)   the Company will ensure that each Company Shareholder and any other Person
               entitled to receive Consideration Shares pursuant to the Arrangement will be given
               adequate and appropriate notice advising them of their right to attend the hearing
               of the Court to give approval to the Arrangement and providing them with sufficient
               information necessary for them to exercise that right and will ensure that there will
               not be any improper impediments to the appearance by such Persons at the hearing;
         (e)   all Persons entitled to receive Consideration Shares pursuant to the Arrangement
               will be advised that Consideration Shares issued pursuant to the Arrangement have
               not been registered under the U.S. Securities Act and will be issued by Telecure in
               reliance on the exemption provided by Section 3(a)(J0) of the U.S. Securities Act,
               and shall be without trading restrictions under tl1e U.S. Securities Act (other than
               those that would apply under the U.S. Securities Act to Persons who are, have been
               within 90 days of the Effective Time, or, at the Effective Time, become affiliates
               (as defined by Rule 144 of the U.S. Securities Act) ofTelecure);
         (f)   the Final Order approving the tenns and conditions of the Arrangement that is
               obtained from the Court will expressly state that the Arrangement is approved by
               the Court as fair and reasonable to all Persons entitled to receive Consideration
               Shares pursuant to the Arrangement;
        (g)    the Interim Order will specify that each Person entitled to receive Consideration
               Shares pursuant to the Arrangement will have the right to appear before the Court
               at the hearing of the Court to give approval of the Arrangement so long as they
               enter an appearance within a reasonable time;
        (h)    the Court will be expressly authorized by law to hold the hearing and will hold such
               hearing before approving the fairness of the tenns and conditions of the
               Arrangement and issuing the Final Order; and
        (i)    Acquireco shall request that the Final Order shall include a statement to
               substantially the following effect:

               'This Order will serve as a basis of a claim to an exemption, pursuant to Section
               3(a)(l 0) of the United States Securities Act of 1933, as amended, from the
               registration requirements otherwise imposed by that act, regarding the distribution
               of securities ofTelecure pursuant to the Plan of Arrangement."
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    Section 2.13    Adjustment of Consideration Shares.

   If on or after the date hereof, except as otherwise contemplated herein, either Party: (a) splits,
   consolidates or reclassifies any of its common shares or common stock, as applicable; (b)
   undertakes any other capital reorganization; or (c) declares, sets aside or pays any dividend or
   other distribution to its shareholders of record as of a time prior to the Effective Date, the Parties
   hereto shall make such adjustments to the Arrangement, including the number or fraction of
   Consideration Shares deliverable per Company Share under the Arrangement, as they detem1ine
   acting in good faith to be necessary to restore the original intention of the Parties in the
   circumstances.
   Section 2.14    Conduct of Acquireco.

           (a)     Telecure hereby agrees to cause Acquireco to comply with its obligations under
                   this Agreement.
           (b)     The Company shall be entitled to rely upon any communication or writings given
                   by or to, or executed by, Telecure. All notices to be sent to Acquireco pursuant to
                   this Agreement or any other agreement contemplated hereby may be addressed to
                   Telecure and any notice so sent shall be deemed notice to Acquireco. Acquireco
                   hereby consents and agrees that Telecure is authorized to accept and deliver notice
                   on behalf of Acquireco pursuant hereto and pursuant to all other agreements
                   contemplated hereby and to deliver waivers and consents on behalf of Acquireco
                   pursuant hereto.
           (c)     Telecure is hereby appointed and constitutes the true and lawful attorney-in-fact of
                   Acquireco, with full power in its name and on its behalf to act according to the
                   terms of this Agreement and all other agreements contemplated hereby in the
                   absolute discretion of Telecure, and to do all things and to perform all acts,
                   including amending this Agreement, waiving rights, discharging liabilities and
                   obligations, and executing and delivering all agreements, certificates, receipts,
                   instructions and other instruments contemplated by or deemed advisable in
                   connection with this Agreement. This power of attorney and all authority hereby
                   conferred is granted in consideration of the mutual covenants and agreements made
                   herein, and shall be irrevocable and shall not be tem1inated by any act of Acquireco
                   or by operation of Law.
                                      ARTICLE3
                  REPRESENTA TIO NS AND WARRANTIES OF THE COMPANY

   Section 3.01    Representations and Warranties of the Company.

   Except as set forth in the Company Disclosure Letter (it being expressly understood and agreed
   that the disclosure of any fact or item in any section of the Company Disclosure Letter shall only
   be deemed to be an exception to (or, as applicable, disclosure for the purposes of) the
   representations and warranties of the Company that are contained in the corresponding section of
   this Agreement and any other representation or warranty of the Company in this Agreement to
   which the relevance of such fact or item is reasonably apparent on its face), the Company
   represents and warrants to Telecure and Acquireco as set forth in Schedule C and acknowledges
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   and agrees that Telecure and Acquireco are relying upon such representations and warranties in
   connection with the entering into of this Agreement.
   Section 3.02    Survival of Representations and Warranties.

   The representations and warranties of the Company contained in this Agreement shall not survive
   the completion of the Arrangement and shall expire and be terminated on the earlier of the
   Effective Time and the date on which this A1,>reement is terminated in accordance with its terms.
                               ARTICLE4
        REPRESENTATIONS AND WARRANTIES OF TELECURE AND ACQUIRECO

   Section 4.01    Representations and Warranties of Telecure and Acquireco.
   Except as set forth in the Telecure Disclosure Letter (it being expressly understood and agreed that
   the disclosure of any fact or item in any section of the Telecure Disclosure Letter shall only be
   deemed to be an exception to (or, as applicable, disclosure for the purposes of) the representations
   and warranties ofTelecure and Acquireco that are contained in the corresponding section of this
   Agreement and any other representation or warranty ofTelecure and Acquireco in this Agreement
   to which the relevance of such fact or item is reasonably apparent on its face), each of Telecure
   and Acquireco represents and warrants to the Company as set forth in Schedule D and
   acknowledges and agrees that the Company is relying upon such representations and warranties in
   connection with the entering into of this A1,>reement.
   Section 4.02 Survival of Representations and Warranties.

   The representations and warranties ofTelecure and Acquireco contained in this Agreement shall
   not survive the completion of the Arrangement and shall expire and be terminated on the earlier of
   the Effective Time and the date on which this Agreement is terminated in accordance with its
   tem1s.

                                              ARTICLES
                                             COVENANTS
   Section 5.01   Conduct of Business of the Company.

   The Company covenants and agrees that during the period from the date of this Agreement until
   the earlier of the Effective Time and the date on which this Agreement is terminated in accordance
   with its tem1s, unless otherwise: (i) agreed to in writing by Telecure (such agreement not to be
   unreasonably withheld, conditioned or delayed); (ii) required or expressly permitted or specifically
   contemplated by this Agreement; (iii) required by applicable Law; or (iv) as expressly
   contemplated by the Company Disclosure Letter:
          (a)     the business of the Company and its Subsidiaries shall be conducted only in, and
                  the Company and its Subsidiaries shall not take any action except in, the ordinary
                  course of business, and the Company shall use all commercially reasonable efforts
                  to maintain and preserve its and their business organization, assets, properties,
                  employees, goodwill and business relationships with customers, suppliers, partners
                  and other Persons with which the Company or any of its Subsidiaries has material
                  business relationships;
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         (b)   without limiting the generality of Section 5.0 I (a), the Company shall not, and shall
               not permit any of its Subsidiaries to, directly or indirectly:
               (i)      amend its articles or other constating documents or, in the case of any
                        subsidiary which is not a corporation, its similar organizational documents;
               (ii)     split, combine or reclassify any shares or other securities of the Company
                        or of any Subsidiary or declare, set aside or pay any dividends or make any
                        other distributions;
               (iii)    amend the tenns of any outstanding securities;
               (iv)     other than pursuant to exercise of Appraisal Rights under the Florida Act,
                        redeem, repurchase or otherwise acquire or offer to redeem, repurchase or
                        otherwise acquire any outstanding shares or other securities of the Company
                        or any of its Subsidiaries;
               (v)      issue, grant, deliver, sell, pledge or otherwise encumber, or authorize the
                        issuance, grant, delivery, sale, pledge or other encumbrance of, any shares
                        or other securities, or any options, warrants or similar rights exercisable or
                        exchangeable for or convertible into shares or other securities, of the
                        Company or any of its Subsidiaries;
               (vi)     reorganize, amalgamate or merge the Company or any Subsidiary;
               (vii)    adopt a plan of liquidation or resolutions providing for the liquidation or
                        dissolution of the Company or any Subsidiary;
               (viii)   make any material Tax election, infonnation schedule, return or
                        designation, settle or compromise any material Tax claim, assessment,
                        reassessment or liability, file any materially amended Tax Return, file any
                        notice of appeal or otherwise initiate any action with respect to Taxes, enter
                        into any material agreement with a Governmental Entity with respect to
                        Taxes, surrender any right to claim a material Tax abatement, reduction,
                        deduction, exemption, credit or refund, consent to the extension, or waiver
                        of a limitation period applicable to any material Tax matter or materially
                        amend or change any of its methods of reporting income, deductions or
                        accounting for income Tax purposes except as may be required by
                        applicable Law;

               (ix)     make any material change in the Company's accounting principles, except
                        as required by concurrent changes in IFRS or U.S. PCAOB GAAS or
                        pursuant to written instructions, comments or orders of an applicable
                        securities regulatory authority;
               (x)      grant to any employee any increase in compensation in in excess of 5% of
                        their current annual compensation, except in the ordinary course of business
                        consistent with past practice;
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                   (xi)     increase any severance, change of control or termination pay to (or amend
                            any existing Contract in this regard from that in effect on the date hereof)
                            with any officer or director of the Company or any of its Subsidiaries or
                            increase the benefits payable under any existing severance or termination
                            pay policies with any officer or director of the Company or any of its
                            Subsidiaries;
                   (xii)    waive, release, surrender, abandon, grant or transfer any material right or
                            amend, modify or change, or agree to amend, modify or change, any
                            existing material Authorization, right to use, lease or contract other than in
                            the ordinary course, as required by applicable Law, or where same would
                            not individually or in the aggregate have a Material Adverse Effect;
                   (xiii)   enter into or amend any employment, deferred compensation or similar
                            Contract (or amend any such existing Contract) with any officer or director
                            of the Company or any of its Subsidiaries;
                  (xiv)     amend or modify in any material respect or terminate or waive any material
                            right under any Material Contract or enter into any Contract or agreement
                            that would be a Material Contract ifin effect on the date hereof;
                  (xv)      amend, modify, terminate, cancel or let lapse any material insurance (or re-
                            insurance) policy of the Company or any Subsidiary in effect on the date of
                            this Agreement, unless simultaneously with such tennination, cancellation
                            or lapse, replacement policies underwritten by insurance and re-insurance
                            companies of nationally recognized standing providing coverage equal to
                            or greater than the coverage under the terminated, cancelled or lapsed
                            policies for substantially similar premiums are in full force and effect;
                  (xvi)     enter into or amend any Contract with any broker, finder or investment
                            banker; or
                  (xvii) authorize, agree, resolve or otherwise commit to do any of the foregoing.
   Section 5.02 Conduct of Business of Telecure and Acquireco.
   Each ofTelecure and Acquireco covenants and agrees that during the period from the date of this
   Agreement until the earlier of the Effective Time and the date on which this Agreement is
   terminated in accordance with its tenns, neither Telecure nor Acquireco shall, directly or
   indirectly, unless otherwise: (i) agreed to in writing by the Company (such agreement not to be
   unreasonably withheld, conditioned or delayed); (ii) required or expressly pem1itted or specifically
   contemplated by this Agreement; (iii) required by applicable Law; or (iv) as expressly
   contemplated by the Telecure Disclosure Letter:
          (a)     the business of Telecure and its Subsidiaries shall be conducted only in, and
                  Telecure and its Subsidiaries shall not take any action except in, the ordinary course
                  of business, and Telecure shall use all commercially reasonable efforts to maintain
                  and preserve its and their business organization, assets, properties, employees,
                  goodwill and business relationships with customers, suppliers, partners and other
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                Persons with which Telecure or any of its Subsidiaries has material business
                relationships;
         (b)    without limiting the generality of Section 5.02(a), Telecure shall not, and shall not
                permit any of its Subsidiaries to, directly or indirectly:
               (i)      amend its notice of articles, articles or other constating documents or, in the
                        case of any Subsidiary which is not a corporation, its similar organizational
                        documents;

               (ii)     split, combine or reclassify any shares or other securities ofTelecure or of
                        any Subsidiary or declare, set aside or pay any dividends or make any other
                        distributions;
               (iii)    amend the tenns of any outstanding securities;
               (iv)     redeem, repurchase or otherwise acquire or offer to redeem, repurchase or
                        otherwise acquire any outstanding shares or other securities of Telecure or
                        any of its Subsidiaries;
               (v)      issue, grant, deliver, sell, pledge or otherwise encumber, or authorize the
                        issuance, grant, delivery, sale, pledge or other encumbrance of, any shares
                        or other securities, or any options, warrants or similar rights exercisable or
                        exchangeable for or convertible into shares or other securities, of Telecure
                        or of any Subsidiary, except (A) the Performance Warrants, (B) securities
                        issuable pursuant to the terms of the Concurrent Financing or the
                        Arrangement, and (C) as disclosed in the Telecure Disclosure Letter;
               (vi)     reorganize, amalgamate or merge Telecure or any Subsidiary, except
                        pursuant to the tem1s of the Arrangement and the Merger;
               (vii)    adopt a plan of liquidation or resolutions providing for the liquidation or
                        dissolution ofTelecure or any Subsidiary;
               (viii)   make any material Tax election, infomrntion schedule, return or
                        designation, settle or compromise any material Tax claim, assessment,
                        reassessment or liability, file any materially amended Tax Return, file any
                        notice of appeal or otherwise initiate any action with respect to Taxes, enter
                        into any material agreement with a Governmental Entity with respect to
                        Taxes, surrender any right to claim a material Tax abatement, reduction,
                        deduction, exemption, credit or refund, consent to the extension, or waiver
                        of a limitation period applicable to any material Tax matter or materially
                        amend or change any of its methods of reporting income, deductions or
                        accounting for income Tax purposes except as may be required by
                        applicable Law;
               (ix)     make any material change in Telecure's accounting principles, except as
                        required by concurrent changes in IFRS or pursuant to written instructions,
                        comments or orders of an applicable securities regulatory authority;
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                   (x)      grant to any employee any increase in compensation in any form, except in
                            the ordinary course of business consistent with past practice;
                   (xi)    increase any severance, change of control or termination pay to (or amend
                           any existing Contract in this regard from that in effect on the date hereof)
                           with any officer or director ofTelecure or any of its Subsidiaries or increase
                           the benefits payable under any existing severance or termination pay
                           policies with any officer or director ofTelecure or any of its Subsidiaries;
                   (xii)   waive, release, surrender, abandon, let lapse, grant or transfer any material
                           right or amend, modify or change, or agree to amend, modify or change,
                           any existing material Authorization, right to use, lease or Contract other
                           than in the ordinary course, as required by applicable Law, or where same
                           would not individually or in the aggregate have a Material Adverse Effect;
                  (xiii)   enter into or amend any employment, deferred compensation or similar
                           Contract (or amend any such existing Contract) with any officer or director
                           ofTelecure or any of its Subsidiaries;
                  (xiv)    amend or modify in any material respect or terminate or waive any material
                           right under any Material Contract or enter into any contract or agreement
                           that would be a Material Contract if in effect on the date hereof;
                  (xv)     amend, modify, tenninate, cancel or let lapse any material insurance (or re-
                           insurance) policy ofTelecure or any Subsidiary in effect on the date of this
                           Agreement, unless simultaneously with such termination, cancellation or
                           lapse, replacement policies underwritten by insurance and re-insurance
                           companies of nationally recognized standing providing coverage equal to
                           or i,>reater than the coverage under the terminated, cancelled or lapsed
                           policies for substantially similar premiums are in full force and effect; or
                  (xvi)    authorize, agree, resolve or otherwise commit to do any of the foregoing.
   Section 5.03   Covenants Relating to the Arrangement.

          (a)     Each of the Company, Telecure and Acquireco shall use commercially reasonable
                  efforts to take, or cause to be taken, all actions and to do or cause to be done all
                  things required or advisable under applicable Laws to consummate and make
                  effective, as soon as reasonably practicable, the transactions contemplated by this
                  Agree111ent, including:

                  (i)      using commercially reasonable efforts to satisfy, or cause the satisfaction
                           of, all conditions precedent in this Agreement and take all steps set forth in
                           this Agreement, the Interim Order and Final Order applicable to it and
                           comply promptly with all requirements imposed by applicable Law with
                           respect to this Agreement, the Arrangement or the Merger;
                  (ii)     using commercially reasonable efforts to obtain, as soon as practicable
                           following the execution of this Agreement, and maintain all third-party or
                           other consents, waivers, pennits, exemptions, Orders, approvals,
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                       agreements, amendments or confirmations that are: (a) necessary to be
                       obtained under the Material Contracts in connection with the Arrangement
                       or this Agreement; or (b) required in order to maintain the Material
                       Contracts in full force and effect following the completion of the
                       Arrangement, in each case, on tern1s that are reasonably satisfactory to the
                       Parties;

               (iii)   using commercially reasonable efforts to oppose, lift or rescind any
                       injunction, restraining or other Order, decree, judgment or ruling seeking to
                       restrain, enjoin or otherwise prohibit or delay or otherwise adversely affect
                       the consummation of the Arrangement and defend, or cause to be defended,
                       any proceedings to which it is a party or brought against it or its directors
                       or officers challenging the Arrangement or this Agreement;

              (iv)     not taking any action, or refrain from laking any commercially reasonable
                       action, or permitting any action to be taken or not taken, which would
                       reasonably be expected to prevent, materially hinder, delay or otherwise
                       impede the consummation of the Arrangement or the transactions
                       contemplated by this Agreement or which would render, or which may
                       reasonably be expected to render, untrue or inaccurate (without giving
                       effect to, applying or taking into consideration any materiality or Material
                       Adverse Effect qualification already contained within such representation
                       or warranty) in any material respect a Party's representations and warranties
                       set forth i1nhis Agreement;

              (v)      use commercially reasonable efforts to cause the Company Consent to be
                       completed;

              (vi)     causing the Telecure Resolution to be adopted; and
              (vii)    causing the Articles of Merger to be filed with Florida Department of State
                       pursuant to all applicable provisions of the Florida Act.
        (b)   The Company shall promptly notify Telecure in writing of:

              (i)      any Material Adverse Effect in respect of the Company;
              (ii)     any notice or other written communication from any Person: (a) alleging
                       that the consent (or waiver, pennit, exemption, Order, approval, agreement,
                       amendment or confinnation) of such Person ( or another Person) is or may
                       be required in connection with the Arrangement or this Agreement; or (b)
                       to the effect that such Person is terminating or otherwise materially
                       adversely modifying its relationship with the Company or any of its
                       Subsidiaries as a result of the Arrangement or this Agreement; or

              (iii)    any material filings, actions, suits, claims, investigations or proceedings
                       commenced or, to its knowledge, threatened against, relating to or involving
                       the Company or any of its Subsidiaries that relate to the Arrangement or this
                       Agreement.
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         (c)     Telecure shall promptly notify the Company in writing of:

                 (i)      any Material Adverse Effect in respect of either Telecure or Acquireco;
                 (ii)    any notice or other written communication from any Person alleging that
                         the consent (or waiver, pennit, exemption, Order, approval, agreement,
                         amendment or confirmation) of such Person (or another Person) is or may
                         be required in connection with the Arrangement or this Agreement; or

                 (iii)   any material filings, actions, suits, claims, investigations or proceedings
                         commenced or, to its knowledge, threatened against, relating to or involving
                         Telecure or any of its Subsidiaries that relate to the Arrangement or this
                         Agreement.
         ( d)   Telecure and Acquireco shall furnish promptly to the Company a copy of each
                notice, report, schedule or other document or communication delivered, filed or
                received by them in connection with this Agreement, the Arrangement, the Interim
                Order, the Final Order, any filings made under any applicable Laws and any
                dealings or communications with any Governmental Entity in connection with, or
                in any way affecting, the transactions contemplated by this Agreement.

         (e)    The Company shall furnish promptly to Telecure and Acquireco a copy of each
                notice, report, schedule or other document or communication delivered, filed or
                received by it in connection with this Agreement, the Arrangement, the Merger,
                and filings made under any applicable Laws and any dealings or conununications
                with any Governmental Entity (including, without limitation, the Articles of Merger
                and the filing thereof with the Florida Department of State pursuant to all applicable
                provisions of the Florida Act) in connection with, or in any way affecting, the
                transactions contemplated by this At,>reement.

        (f)     Subject to the terms of this Agreement, the Company shall use all commercially
                reasonable efforts to satisfy, or cause to be satisfied, all conditions precedent to its
                obligations to the extent that the same is within its control and to take, or cause to
                be taken, all other action and to do, or cause to be done, all other things necessary,
                proper or advisable under all applicable Laws to complete the transactions
                contemplated by this Agreement, including using its commercially reasonable
                efforts to:

                (i)      obtain all other consents, approvals and Authorizations as are required to be
                         obtained by the Company under any applicable Law or from any
                         Governmental Entity that would, if not obtained, materially impede the
                         completion of the transactions contemplated by this Agreement or have a
                         Material Adverse Effect on the Company;

                (ii)     effect all necessary registrations, filings and submissions of infonnation
                         requested by Governmental Entities required to be effected by it in
                         connection with the transactions contemplated by this At,rreement
                         (including, without limitation, the Articles of Merger and the filing thereof
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                           with the Florida Department of State pursuant to all applicable provisions
                           of the Florida Act); and
                   (iii)   fulfill all conditions and satisfy all provisions of this Agreement and the
                           Plan of Arrangement required to be fulfilled or satisfied by the Company.
           (g)    Telecure shall use all commercially reasonable efforts, and shall cause Acquireco
                  to use all commercially reasonable efforts to, satisfy, or cause to be satisfied, all of
                  the conditions precedent to their obligations to the extent the same is within its
                  control and to take, or cause to be taken, all other actions and to do, or cause to be
                  done, all other things necessary, proper or advisable under all applicable Laws to
                  complete the transactions contemplated by this Agreement, including using
                  commercially reasonable efforts to:
                  (i)      obtain all consents, approvals, and Authorizations as are required to be
                           obtained by it or Acquireco under any applicable Law or from any
                           Governmental Entity that would, if not obtained, materially impede the
                           completion of the transactions contemplated hereby or have a Material
                           Adverse Effect on Telecure or Acquireco;
                  (ii)     effect all necessary registrations, filings and submissions of inforn1ation
                           requested by Governmental Entities required to be effected by it in
                           connection with the transactions contemplated by this Agreement and
                           participate, and appear in any proceedings of, any Party before any
                           Governmental Entiiy in connection with the transactions contemplated by
                           this Agreement; and
                  (iii)    fulfill all conditions and satisfy all provisions of this Agreement and the
                           Plan of Arrangement required to be fulfilled or satisfied by it.
          (h)     The Company, on one hand, and Telecure and Acquireco, together, on the other
                  hand shall make, or cooperate as necessary in the making of, all necessary filings
                  and applications under all applicable Laws required in connection with the
                  transactions contemplated hereby and take all reasonable action necessary to be in
                  compliance with such Laws, including any filings, reports, documents or
                  applications as may be required to be filed by any of the Parties.
   Section 5.04   Covenants Related to Regulatory Approvals.

   Each Party, as applicable to that Party, covenants and agrees with respect to obtaining all
   Regulatory Approvals that, subject to the terms and conditions of this Agreement, until the earlier
   of the Effective Time and the elate on which this Agreement is tenninated in accordance with its
   terms:

          (a)     each Party shall use commercially reasonable efforts to obtain all Regulatory
                  Approvals and cooperate with the other Party in connection with all Regulatory
                  Approvals sought by the other Party and shall use commercially reasonable efforts
                  to effect all necessary registrations, filings and submissions ofinfom1ation required
                  by Government Entities relating to the Arrangement or this Agreement;
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           (b)     each Party sha11 use commercia11y reasonable efforts to respond promptly to any
                   request or notice from any Governmental Entity requiring that Party to supply
                   additional information that is relevant to the review of the transactions
                   contemplated by this Agreement in respect of obtaining or concluding the
                   Regulatory Approvals sought by either Party and each Party sha11 cooperate with
                   the other Party and sha11 furnish to the other Party such infonnation and assistance
                   as a Party may reasonably request in connection with preparing any submission or
                   responding to such notice from a Governmental Entity;
           (c)    each Party sha11 pern1it the other Party an opportunity to review in advance any
                  proposed substantive applications, notices, filings, submissions, undertakings,
                  correspondence and communications (including responses to requests for
                  information and inquiries from any Governmental Entity) in respect of obtaining or
                  concluding the Regulatory Approvals and sha11 provide the other Party with a
                  reasonable opportunity to comment thereon and agree to consider those comments
                  in good faith and each Party sha11 provide the other Party with any substantive
                  applications, notices, filings, submissions, undertakings or other substantive
                  correspondence provided to a Governmental Entity or any substantive
                  communications received from a Governmental Entity, in respect of obtaining or
                  concluding the Regulatory Approvals; and

           (d)    the Company, on one hand, and Telecure and Acquireco, together, on the other
                  hand, sha11 keep each other reasonably informed on a timely basis of the status of
                  discussions relating to obtaining or concluding the Regulatory Approvals sought by
                  each such Party and, for greater certainty, no Party shall participate in any
                  substantive meeting (whether in person, by telephone or otherwise) with a
                  Governmental Entity in respect of obtaining or concluding the required Regulatory
                  Approvals unless it advises the other Party in advance and gives such other Party
                  an opportunity to attend.
   Section 5.05 Access to Information.

   From the date hereof until the earlier of the Effective Time and the date on which this Agreement
   is tern1inated in accordance with its terms, subject to applicable Law and the terms of any existing
   Contracts, the Company, on one hand, and Telecure and Acquireco, together, on the other hand,
   shall give each other and their respective representatives reasonable access to the books and
   records and Material Contracts of such Party and their Subsidiaries and to its management
   personnel during normal business hours and in such a manner as to not unreasonably interfere with
   the conduct of the business of each respective Party and their Subsidiaries and furnish to the other
   such financial and operating data and other information as the other may reasonably request. Each
   Party acknowledges that all information provided to it under this Section 5.05 or otherwise
   pursuant to this Agreement or acquired in connection with the transactions contemplated under
   this Agreement ("Confidential Information") is confidential, must be kept confidential and must
   not be disclosed to any Person at any time or in any manner except:
          (a)     to any Party or to any of the affiliates of a Party that have a bona fide need to be
                  informed provided that such affiliates are advised by the disclosing Party of the
                  confidential nature of such Confidential Information and agree to be subject to
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               confidentiality obligations no less onerous than those contained in this Agreement.
               Any breaches of the obligations of confidentiality contained in this Agreement by
               such an affiliate shall be treated as a breach of such obligations by the Party making
               the disclosure to the afiiliate;
         (b)   with the prior written consent of the other Party, such consent not to be
               unreasonably withheld;
         (c)   to a bank, lender, investor or other financial institution considering the provision of
               or, which has provided financial accommodation to, a Party or an affiliate of a Party
               or to a trustee, representative or agent or such a bank, lender, investor or financial
               instin1tion, in each case who has entered into a confidentiality ab>reement with the
               disclosing Party that contains provisions substantially similar to and no less
               stringent than those contained in this Section and provided that such bank, lender,
               investor or other financial institution is advised by the disclosing Party of the
               confidential nature of such Confidential Information;
         (d)   by a Party to a Representative, provided that such Representatives have first been
               made aware that the Confidential Information is confidential and have agreed to
               maintain the confidentiality of the Confidential Information. Any breaches of the
               obligations of confidentiality contained in this Agreement by a Representative shall
               be treated as a breach of such obligations by the Pmty making the disclosure to the
               Representative; and
         (e)   to the extent required by applicable Law or by a lawful requirement of any
               Governmental Entity having jurisdiction overthe Parties or their affiliates provided
               that any Party that intends to make such required disclosure will (to the extent
               permitted by applicable Law) provide the other Party with the full written text of
               the proposed required disclosure at least two Business Days before its first
               disclosure or publication, unless pursuant to applicable Law such required
               disclosure must be made within a shorter period, in which case the Party intending
               to make such required disclosure will provide the full written text of the proposed
               required disclosure to the other Party for as long a period as is practicable in
               advance of its first disclosure or publication. The Party making such required
               disclosure will consider in good faith all reasonable amendments to the required
               disclosure as may be proposed by the other Party and will, to the extent practicable
               in the circumstances, use its reasonable endeavours to obtain assurances from the
               Governmental Entity that any such required disclosure will be treated
               confidentially. The Party making a required disclosure will be solely and entirely
               responsible for the contents of such required disclosure and will include in the
               required disclosure a statement as to that Party's sole and entire responsibility.

        This Section 5.05 will remain in full force and effect in accordance with its terms
        notwithstanding any other provisions of this Agreement or any tern1ination of this
        Agreen1ent.
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   Section 5.06    Indemnification.

   Telecure and the Company agree that all rights to indemnification existing in favour of the present
   and former directors and officers of Telecure and the Company (each such present and fonner
   director or officer being herein referred to as an "Indemnified Party" and such Persons
   collectively being referred to as the "Indemnified Parties") which are in effect as of the elate
   hereof and as of the Effective Time, will survive and will continue in full force and effect and
   without modification, and Telecure and the Company and any successor to Telecure and the
   Company shall continue to honour such rights of indemnification and indemnify the Indemnified
   Parties pursuant thereto, with respect to actions or omissions of the Indemnified Parties occurring
   prior to the Effective Time, for six years following the Effective Date. The provisions of this
   Section 5.06 are intended for the benefit of, and shall be enforceable by, each insured or
   Indemnified Party, his or her heirs, and his or her legal representatives and, for such purpose,
   Telecure hereby confirms that it is acting as agent on their behalf. Furthermore, this Section 5.06
   shall survive the termination of this Agreement as a result of the occurrence of the Effective Time
   for a period of six years.
   Section 5.07   Non-Solicitation.

          (a)     On and after the date of this Agreement, except as otherwise provided in this
                  Agreement, the Company and its Subsidiaries shall not, directly or indirectly,
                  through any officer, director, employee, advisor, representative, agent (collectively,
                  "Representatives") or otherwise, and shall not permit any such Person to:
                  (i)     make, solicit, assist, initiate, encourage or otherwise facilitate any inquiries,
                          proposals or offers relating to any Acquisition Proposal for the Company,
                          or furnish to any Person any infonnation with respect to, or otherwise
                          cooperate in any way with, or assist or participate in, facilitate or encourage,
                          any effort or attempt by any other Person to do or seek to do any of the
                          foregoing;

                  (ii)    enter into or otherwise engage in any discussions or negotiations regarding,
                          or provide any infomrntion with respect to, or otherwise cooperate in any
                          way with, or assist or pa11icipate in, facilitate or encourage, any effo11 or
                          attempt by any other Person to make or complete any Acquisition Proposal
                          for the Company, provided, however, that, for greater certainty, the
                          Company may advise any Person making an unsolicited Acquisition
                          Proposal for the Company that such Acquisition Proposal does not
                          constitute a Superior Proposal when the Company Board has so detem1ined;
                  (iii)   withdraw, modify or qualify, or propose publicly to withdraw, modify or
                          qualify, in any manner adverse to Telecure, the recommendation of the
                          Company Board or any committee thereof of the Arrangement;
                  (iv)    accept, approve, recommend or remain neutral with respect to, or propose
                          to accept, approve, recommend or remain neutral with respect to, any
                          Acquisition Proposal for the Company (it being understood that taking no
                          position or a neutral position with respect to an Acquisition Proposal (A)
                          for a period of five (5) Business Days following the announcement of such
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                       Acquisition Proposal or (B) in respect of which no public announcement
                       has been made and a confidentiality agreement has been executed in
                       accordance with Section 5.07(e), shall not be considered a violation of this
                       Section 5.07(a)(iv) provided the Company Board has rejected such
                       Acquisition Proposal and affirmed its recommendation of the Arrangement
                       before the end of such five (5) Business Day period, and it being further
                       understood that taking no position or a neutrnl position with respect to an
                       Acquisition Proposal for a period of more than five (5) Business Days shall
                       be considered to be a violation of this Section 5.07(a)(iv)); or

               (v)     accept, approve, endorse, recommend, execute or enter into, or publicly
                       propose to accept, approve, endorse, recommend, execute or enter into, any
                       letter of intent, agreement in principle, agreement, arrangement or
                       undertaking related to any Acquisition Proposal for the Company,

               provided, however, that nothing contained in this Section 5.07(a) or any other
               provision of this Agreement shall prevent the Company from, and the Company
               shall be pennitted to engage in discussions or negotiations with, or respond to
               enquiries from any Person that has made an unsolicited written Acquisition
               Proposal for the Company that the Company Board has detennined constitutes or
               could reasonably be expected to result in a Superior Proposal, or provide
               information and access to properties, facilities, books or records of the Company
               pursuant to Section 5.07(e) to any Person where the requirements of that Section
               are met.

         (b)   The Company shall, and shall cause its Subsidiaries and its Representatives to,
               immediately cease and terminate, and cause to be terminated, any solicitation,
               encouragement, discussion, negotiation, or other activity commenced prior to the
               date of this A6>reement with any Person (other than Telecure and its affiliates) with
               respect to any inquiry, proposal or offer that constitutes, or would reasonably be
               expected to constitute or lead to, an Acquisition Proposal and, in connection
               therewith, the Company will, as promptly as possible following execution of this
               Agreement:

               (i)    discontinue access to and disclosure of all infomrntion, including any data
                      room and any confidential infonnation, properties, facilities, books and
                      records of the Company or any of its Subsidiaries that such Person may have
                      access to; and

               (ii)   request, and use reasonably commercial efforts to require, (A) the return or
                      destruction of all copies of any confidential information regarding the
                      Company or any of its Subsidiaries provided to any Person who could
                      reasonably be expected to make an Acquisition Proposal (other than
                      Telecure and its affiliates), or (B) the destruction of all material including
                      or incorporating or otherwise reflecting such confidential infomrntion
                      regarding the Company or any of its Subsidiaries using its commercially
                      reasonable efforts to ensure that such requests are fully complied with in
                      accordance with the tenns of such rights or entitlements.
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         (c)    The Company represents and warrants that it has not waived any confidentiality,
               standstill or similar agreement or restriction applicable to another Person to which
               the Company or any of its Subsidiaries is a party, and further covenants and agrees
               that (i) the Company shall use commercially reasonable efforts to enforce each
               confidentiality, standstill, non-disclosure, non-solicitation, use, business purpose or
               similar agreement, restriction or covenant to which the Company or any of its
               Subsidiaries is a party, and (ii) neither the Company nor any of its Subsidiaries nor
               any of its Representatives have or will, without the prior written consent ofTelecure
               (which may be withheld or delayed in Telecure's sole and absolute discretion),
               release any Person from, or waive, amend, suspend or otherwise modify such
               Person's obligations respecting Telecure or any of its Subsidiaries, under any
               confidentiality, standstill, non-disclosure, non-solicitation, use, business purpose or
               similar agreement, restriction or covenant to which the Company or any of its
               Subsidiaries is a party (it being acknowledged by Telecure that the automatic
               termination or release of any such agreement, restriction or covenant as a result of
               entering into this Agreement shall not be a violation of this Section 5.07 (c)).
         (d)    If, on or after the date of this Agreement, the Company or any of its Subsidiaries or
                any of their respective Representatives, receives any inquiry, proposal or offer that
                constitutes or would reasonably be expected to constitute or lead to an Acquisition
                Proposal, or any request for copies of, access to, or disclosure of, confidential
               information relating to the Company or any of its Subsidiaries, including but not
                limited to information, access, or disclosure relating to the properties, facilities,
                books or records of the Company or any of its Subsidiaries in connection with, or
               that would reasonably be expected to lead to, an Acquisition Proposal, the
               Company shall promptly (and in any event within 24 hours) notify Telecure, at first
               orally, and then as promptly as practicable (and in any event within 24 hours) in
               writing, of such Acquisition Proposal, inquiry, proposal, offer or request, including
               a description of its material terms and conditions, the identity of all Persons making
               the Acquisition Proposal, inquiry, proposal, offer or request, and shall provide
               Telecure with copies of all written documents received in respect of, from or on
               behalf of any such Person and such other details of such Acquisition Proposal,
               inquiry, proposal, offer or request as Telecure may reasonably request. The
               Company shall keep Telecure informed on a reasonably current basis of the status
               of material developments and (to the extent permitted by Section 5.07(e))
               negotiations with respect to any Acquisition Proposal, inquiry, proposal, offer or
               request, including any material changes, modifications or other material
               amendments to any such Acquisition Proposal, inquiry, proposal, offer or request
               and shall provide to Telecure copies of all material or substantive correspondence
               ifin writing or electronic form, and ifnot in writing or electronic form, a description
               of the material terms of such correspondence sent or communicated to the Company
               by or on behalf of any Person making any such Acquisition Proposal, inquiry,
               proposal, offer or request.
        (e)    Notwithstanding Section 5.07(a) or any other agreement between the Parties, ifat
               any time prior to the Effective Date, the Company receives an unsolicited written
               Acquisition Proposal, the Company may (x) engage in or participate in discussions
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               or negotiations with such Person regarding such Acquisition Proposal, and (y)
               provide copies of, access to or disclosure of information, properties, facilities,
               books or records of the Company or its Subsidiaries, for a period of not more than
               five (5) Business Days, if and only if

               (i)    the Company Board first determines in good faith, after consultation with
                      its financial advisors and its outside legal counsel, that such Acquisition
                      Proposal constitutes a Superior Proposal (provided that, for the purposes of
                      this Section 5.07(e)(i) only, such Acquisition Proposal may be subject to an
                      access condition for a period of not more than five (5) Business Days and
                      such Person's satisfactory review of such information) and, after consulting
                      with its outside legal counsel, engaging in such discussions or negotiations
                      would not be inconsistent with its fiduciary duties;
               (ii)   such Person was not restricted from making such Acquisition Proposal
                      pursuant to an existing confidentiality, standstill, non-disclosure, use,
                      business purpose or similar restriction with the Company or any of its
                      Subsidiaries;
              (iii)   such Acquisition Proposal did not result from a breach by the Company of
                      its obligations under this Section 5.07;
              (iv)    before providing any such copies, access or disclosure, the Company enters
                      into a confidentiality and standstill agreement with such Person and any
                      such copies, access or disclosure provided to such Person shall have already
                      been (or substantially simultaneously be) provided to Telecure; and
              (v)     the Company provides Telecure with:
                      (A)    one (1) Business Day's prior written notice stating the Company's
                             intention to participate in such discussions or negotiations and to
                             provide such copies, access or disclosure and the Company Board
                             has determined that taking such action is not inconsistent with its
                             fiduciary duties; and

                      (B)    before providing any such copies, access or disclosure, the
                             Company provides Telecure with a true, complete and final
                             executed copy of the confidentiality and standstill agreement
                             referred to in Section 5.07(e)(iv).
        (f)   lf the Company receives an Acquisition Proposal that constitutes a Superior
              Proposal prior to the Effective Date, the Company Board may, or may cause the
              Company to, subject to compliance with Article VII, make a Change in
              Recommendation and/or accept, recommend or approve or enter into a definitive
              agreement with respect to such Superior Proposal, if and only if: :
              (i)     the Person making the Superior Proposal was not restricted from making
                      such Superior Proposal pursuant to an existing confidentiality, standstill,
                      nondisclosure, use, business purpose or similar restriction;
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               (ii)    such Acquisition Proposal did not result from a breach by the Company of
                       its obligations under this Section 5.07;
               (iii)   the Company has delivered to Telecure a written notice of the determination
                       of the Company Board that such Acquisition Proposal constitutes a Superior
                       Proposal and of the intention of the Company Board to make a Change in
                       Recommendation and/or accept, recommend, approve or enter into a
                       definitive agreement with respect to such Superior Proposal, as applicable
                       (the "Superior Proposal Notice");
              (iv)     the Company has provided Telecure with a copy of the proposed definitive
                       agreement for the Superior Proposal and all material ancillary documents,
                       including financing documents supplied to the Company in connection
                       therewith;
              (v)      at least five (5) Business Days (the "Matching Period") have elapsed from
                       the date that is the later of the date on which Telecure received the Superior
                       Proposal Notice and the date on which Telecure received all of the materials
                       set forth in Section 5.07(f)(iv);
              (vi)     during any Matching Period, Telecure has had the opportunity (but not the
                       obligation), in accordance with Section 5.07(g), to offer to amend this
                       Agreement and the Arrangement in order for such Acquisition Proposal to
                       cease to be a Superior Proposal;
              (vii)    after the Matching Period, the Company Board has detennined in good
                       faith, after consultation with its outside legal counsel and financial advisors,
                       that such Acquisition Proposal continues to constitute a Superior Proposal
                       (if applicable, compared to the tem1s of the Arrangement as proposed to be
                       amended by Telecure under Section 5.07(g)), and has detennined in good
                       faith, after consultation with its outside legal counsel, that for the Company
                       Board to make a Change in Recommendation and/or authorize the Company
                       to accept, recommend or approve or enter into a definitive agreement with
                       respect to such Superior Proposal would not be inconsistent with their
                       fiduciary duties; and
              (viii)   prior to or concurrent with making a Change in Recommendation and/or
                       entering into of such definitive agreement, the Company terminates this
                       Agreement pursuant to Section 7.04(b) and pays the Company Expense
                       Payment pursuant to Section 7.05.
        (g)   During the Matching Period, or such longer period as the Company may approve
              (in its sole discretion) in writing for such purpose: (i) the Company Board shall
              review any offer made by Telecure to amend the terms of this Agreement and the
              Arrangement in good faith in order to detem1ine whether such proposal would,
              upon acceptance, result in the Acquisition Proposal previously constituting a
              Superior Proposal ceasing to be a Superior Proposal; and (ii) the Company shall,
              and shall cause its financial and legal advisors to, negotiate in good faith with
              Telecure to make such amendments to the tem1s of this Agreement and the
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                   Arrangement as would enable Telecure to proceed with the transactions
                   contemplated by this Agreement on such amended tenns. If the Company Board
                   determines that such Acquisition Proposal would cease to be a Superior Proposal,
                   the Company shall promptly so advise Telecure and the Compm1y and Telecure
                   shall amend this Agreement to reflect such offer made by Telecure, and shall take
                   and cause to be taken all such actions as are necessary to give effect to the
                   foregoing.

           (h)    Each successive amendment or modification to any Acquisition Proposal that
                  results in an increase in, or modification of, the consideration ( or value of such
                  consideration) to be received by the Company Shareholders or other material tenns
                  or conditions thereof shall constitute a new Acquisition Proposal for the purposes
                  of this Section 5.07, and Telecure shall be afforded a new five (5) Business Day
                  Matching Period from the later of the date on which Telecure received a Superior
                  Proposal Notice and the date on which Telecure received all of the materials set
                  forth in Section 5.07(f)(iv) with respect to the new Superior Proposal from the
                  Company.

           (i)    The Company Board shall promptly reaffirm its recommendation of the
                  Arrangement by press release after the Company Board determines that an
                  Acquisition Proposal which has been publicly announced is not a Superior Proposal
                  or the Company Board detennines that a proposed amendment to the terms of this
                  Agreement as contemplated under Section 5.07(g) would result in an Acquisition
                  Proposal no longer being a Superior Proposal. The Company shall provide Telecure
                  and its outside legal counsel with a reasonable opportunity to review the form and
                  content of any such press release and shall consider in good faith all reasonable
                  amendments to such press release as requested by Telecure and its counsel.

          (j)     Any violation of the restrictions set forth in this Section 5.07 by the Company, its
                  Subsidiaries or their respective Representatives will be deemed to be a breach of
                  this Section 5.07 by the Company.

   Section 5.08 Success Fee.
   Following the Effective Date, four equal monthly payments of $25,000 will be made to each of:
   (i) Adnan Malik; (ii) Muhammad Kashif Akram; and (iii) Muhammad Shaukat, with the first of
   such payments occurring immediately following the Effective Date.

                                             ARTICLE6
                                            CONDITIONS
   Section 6.01   Mutual Conditions.
   The Parties are not required to complete the Arrangement unless each of the following conditions
   is satisfied on or prior to the Effective Time, which conditions may only be waived, in whole or in
   part, by the mutual written consent of the Company and Telecure:

          (a)     the Interim Order shall have been granted on tenns consistent with this Agreement
                  and the Interim Order shall not have been set aside or modified in a manner
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                unacceptable to either the Company or Telecure, acting reasonably, on appeal or
                otherwise;

         (b)    the Company Consent shall have been received by the Company, in accordance
                with the Interim Order and the Florida Act;

         (c)    the Final Order shall have been granted on terms consistent with this Agreement
                and the Final Order shall not have been set aside or modified in a manner
                unacceptable to either the Company or Telecure, acting reasonably, on appeal or
                otherwise;

         ( d)   there shall not be in force any Law, or final, binding, 11011-appealable ruling, Order
                or decree, and there shall not have been any action taken under any Law or by any
                Governmental Entity or other regulatory authority, that is final, binding or non-
                appealable that makes it illegal or otherwise directly or indirectly restrains, enjoins
                or prohibits the consummation of the Arrangement and the Merger in accordance
                with the tem1s hereof;

         (e)    (i) all consents, waivers, pennits, exemptions, Orders and approvals of, and any
                registrations and filings with, any Governmental Entity and the expiry of any
                waiting periods, in connection with, or required to pennit, the completion of the
                Arrangement and the Merger; and (ii) all third Person and other consents, waivers,
                permits, exemptions, Orders, approvals, agreements and amendments and
                modifications to agreements, indentures or arrangements, in each case, the failure
                of which to obtain or the non-expiry of which would, or could reasonably be
                expected to have, a Material Adverse Effect on any of the Parties or materially
                impede the completion of the Arrangement or the Merger, shall have been obtained
                or received;

        (f)     no Governmental Entity of competent jurisdiction shall have enacted, issued,
                promulgated, enforced or entered any Law or Order (whether temporary,
                preliminary or pemrnnent), in any case which is in effect and which prevents,
                prohibits or makes the consummation of the Arrangement or the Merger illegal or
                otherwise prohibits or enjoins the Company, or Telecure or Acquireco from
                consummating the Arrangement or any of the other transactions contemplated in
                this Agreement, including, without limitation, the Merger;

        (g)     the completion of the Concurrent Financing;

        (h)     Telecure shall have: (i) filed a long form prospectus (the "Prospectus") with the
                Canadian securities regulators in connection with a listing of the Telecure Shares
                (the "Listing") on the Exchange, and obtained a final receipt for the Prospectus
                from Canadian securities regulators in each applicable jurisdiction; and (ii) received
                of all required approvals in connection with the Prospectus and the Listing,
                including, without limitation, the conditional approval of the Exchange for the
                Listing, with Listing subject to fulfilling the customary listing requirements of the
                Exchange;
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           (i)     the Consideration Shares to be issued pursuant to the Arrangement shall be exempt
                   from the registration requirements of the U.S. Securities Act pursuant to Section
                   3(a)( 10) thereof;

          (j)     the Telecure Board shall consist of: (i) Aclnan Malik; (ii) Muhammad Kashif
                  Akram; (iii) Dr. Muhammad Shaukat; (iv) Tim Laidler; and (v) Josh Rosenberg;
          (k)     the Chief Executive Officer of Telecure shall be Adnan Malik, the Chief
                  Technology Officer ofTelecure shall be Muhammad Kashif Akram, and the Chief
                  Financial Officer ofTelecure shall be Eli Dusenbury; and
          (I)     executive employment agreements, in a form mutually agreeable to the parties
                  thereto, will be entered into between Telecure and each of Adnan Malik and
                  Muhammad Kashif Akram.
   Section 6.02   Additional Conditions to the Obligations of Telecure and Acquireco.
   Telecure and Acquireco are not required to complete the Arrangement or the Merger unless each
   of the following conditions is satisfied, which conditions are for the exclusive benefit ofTelecure
   and Acquireco and may only be waived, in whole or in part, by Telecure in its sole discretion on
   its own behalf and on behalf of Acquireco:

          (a)     the representations and warranties made by the Company in this Agreement shall
                  be true and correct as of the Effective Time (except for representations and
                  warranties made as of a specified elate, the accuracy of which shall be detennined
                  as of such elate), except to the extent that the failure or failures of such
                  representations and warranties to be so true and correct, individually or in the
                  aggregate, would not have a Material Adverse Effect (and, for this purpose, any
                  reference to "material", "Material Adverse Effect" or other concepts of materiality
                  in such representations and warranties shall be ignored) and the Company shall
                  have provided to Telecure a certificate of two senior officers of the Company
                  certifying the foregoing and dated the Effective Date;
          (b)     the Company shall have fulfilled or complied in all material respects with each of
                  the covenants of the Company contained in this Agreement to be fulfilled or
                  complied with by it on or prior to the Effective Time, and the Company shall have
                  provided to Telecure a certificate of two senior officers of the Company certifying
                  the foregoing and dated the Effective Date;

          (c)     the Company shall have obtained the written consent of Emerson International, Inc.
                  in respect of the assignment of the Company Lease Agreement to Telecure prior to
                  the Effective Date;
          (d)     US$340,208.24 in SAFEs of the Company shall: (i) be amended in such a manner
                  so as to provide that such SAFEs shall be converted into Company Shares; and (ii)
                  such SAFEs shall be converted into Company Shares, such that upon the conversion
                  of the SAFEs, there shall be no securities of the Company outstanding, or other
                  instruments or obligations of the Company or any of its Subsidiaries that carry (or
                  which is convertible into, or exchangeable for, securities having) the right to
                  acquire securities of the Company, other than the Company Shares;
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           (e)     the Company shall have delivered to Telecure certificates of good standing (or
                   equivalent) for the Company;
           (f)     Company Shareholders will not have exercised Appraisal Rights, or have instituted
                   proceedings to exercise Appraisal Rights, in connection with the Arrangement
                   (other than Company Shareholders representing not more than 5% of the Company
                   Shares then outstanding);
           (g)     there is no action or proceeding (whether, for greater certainty, by a Governmental
                   Entity or any other Person) pending or threatened in any jurisdiction to:
                   (i)    cease trade, enjoin or prohibit or impose any limitations, damages or
                          conditions on, Telecure or Acquireco's ability to acquire, hold or exercise
                          full rights of ownership over, any Company Shares, including the right to
                          vote the Company Shares;
                  (ii)    impose terms or conditions on the completion of the Arrangement or on the
                          director or indirect ownership or operation by Telecure of the business or
                          assets ofTelecure, the Company and their respective Subsidiaries, affiliates
                          and related entities; or
                  (iii)   prevent or materially delay the consummation of the Arrangement;
           (h)    each of the directors and officers of the Company shall have entered into a Support
                  Agreement (in form and substance satisfactory to Telecure) on the date of this
                  Agreement, none of such Support Agreements shall have been tem1inatecl and none
                  of such directors and officers shall have breached, in any material respect, any of
                  the representations, warranties and covenants thereof;
          (i)     between the elate hereof and the Effective Time, there will not have occurred a
                  Material Adverse Effect or any event, occurrence, circumstance or development
                  that would reasonably be expected to have a Material Adverse Effect; and
          (j)     certain Company Shareholders shall have entered into share escrow or pooling
                  agreements in respect of the Consideration Shares to which they are entitled to
                  receive under the terms of the Arrangement, as may be required by the Exchange.
   Section 6.03   Additional Conditions to the Obligations of the Company.

   The Company is not required to complete the Arrangement unless each of the following conditions
   is satisfied, which conditions are for the exclusive benefit of the Company and may only be waived,
   in whole or in part, by the Company in its sole discretion:

          (a)     the representations and warranties made by Telecure and Acquireco in this
                  Agreement shall be true and correct as of the Effective Time (except for
                  representations and warranties made as of a specified date, the accuracy of which
                  shall be determined as of such elate), except to the extent that the failure or failures
                  of such representations and warranties to be so true and correct, individually or in
                  the aggregate, would not have a Material Adverse Effect (and, for this purpose, any
                  reference to "material", "Material Adverse Effect" or other concepts of materiality
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               in such representations and warranties shall be ignored) and Telecure shall have
               provided to the Company, on behalf of itself and Acquireco, a certificate of two
               senior officers ofTelecure certifying the foregoing dated the Effective Date;
         (b)   Telecure and Acquireco shall have fulfilled or complied in all material respects with
               each of the covenants ofTelecure and Acquireco contained in this Agreement to be
               fulfilled or complied with by them on or prior to the Effective Time, and Telecure
               shall have provided to the Company, on behalf of itself and Acquireco, a certificate
               of two senior officers ofTelecure certifying the foregoing elated the Effective Date.
         (c)   there is no action or proceeding (whether, for greater certainty, by a Governmental
               Entity or any other Person) pending or threatened in any jurisdiction to:
               (i)     cease trade, enjoin or prohibit or impose any limitations, damages or
                       conditions on, Telecure or Acquireco's ability to acquire, hold or exercise
                       full rights of ownership over, any Company Shares, including the right to
                       vote the Company Shares;
               (ii)    impose terms or conditions on the completion of the Arrangement or on the
                       director or indirect ownership or operation by Telecure of the business or
                       assets ofTelecure, the Company and their respective Subsidiaries, affiliates
                       and related entities; or
               (iii)   prevent or materially delay the consummation of the Arrangement.
        (d)    Telecure shall be the sole registered and beneficial owner of all of the outstanding
               securities of Acquireco with good and valid title thereto, free and clear of all
               encumbrances, including pre-emptive rights, rights of first refusal or "put" or "call"
               rights created by statute, Acquireco's constating documents or otherwise;
        (e)    no Person shall have any written or oral agreement, option, warrant, understanding
               or commitment or any right or privilege (whether by Law, Contract or otherwise)
               capable of becoming such for the purchase or acquisition of any securities of
               Acquireco;
        (f)    Telecure shall have complied with its obligations under Section 2.08;
        (g)    the Telecure Resolution shall have been approved and adopted by Telecure in
               accordance with applicable laws, and as applicable, the Interim Order;
        (h)    legal counsel to Telecure and Acquireco shall have confirmed that all required
               Regulatory Approvals (including from the Canadian tax authorities) have been
               received by Telecure and Acquireco;
        (i)    the distribution of Consideration Shares shall be exempt from the prospectus and
               registration requirements of Securities Laws either by virtue of exemptive relief
               from the securities regulatory authorities of each of the provinces of Canada or by
               virtue of exemptions under Securities Laws and shall not be subject to resale
               restrictions under Securities Laws (other than as applicable to control persons or
               pursuant to Section 2.6 of National Instrument 45-102 - Resale of Securities);
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           (i)    between the date hereof and the Effective Time, there will not have occurred a
                  Material Adverse Effect or any event, occurrence, circumstance or development
                  that would reasonably be expected to have a Material Adverse Effect; and

           (k)    Company Shareholders will not have exercised Appraisal Rights, or have instituted
                  proceedings to exercise Appraisal Rights, in connection with the Arrangement
                  (other than Company Shareholders representing not more than 5% of the Company
                  Shares then outstanding);

   Section 6.04   Notice and Cure Provisions.



   Each Party shall promptly notify the other Party of the occurrence, or failure to occur, of any event
   or state of facts which occurrence or failure would, or would be likely to:

          (a)     cause any of the representations or warranties of such Party contained in this
                  Agreement to be untrue or inaccurate in any material respect at any time from the
                  date of this Agreement to the Effective Time; or

          (b)     result in the failure, in any material respect, to comply with or satisfy any covenant,
                  condition or agreement to be complied with or satisfied by such Party under this
                  Agreement.

        Telecure may not elect to exercise its right to tennii1ate this Agreement pursuant to Section
        7.03(a) and the Company may not elect to exercise its right to terminate this Agreement
        pursuant to Section 7.04(a), unless the Party intending to rely thereon has delivered a written
        notice to the other Party specifying in reasonable detail all breaches of covenants,
        inaccuracies of representations and warranties or other matters which the Party delivering
        such notice is asserting as the basis for the non-fulfillment of the applicable condition or the
        availability of a termination right, as the case may be. If any such notice is delivered with
        respect to a matter that is capable of being cured, provided that a Party is proceeding
        diligently to cure such matter, no Party may terminate this Agreement until the earlier of: (i)
        the Outside Date; and (ii) the date that is IO Business Days from the date ofreceipt of such
        notice, if such matter has not been cured by such date.

   Section 6.05   Merger of Conditions.

   Subject to applicable Law, the conditions set out in Section 6.01, Section 6.02 and Section 6.03
   shall be conclusively deemed to have been satisfied, waived or released upon the Effective Date.

                                             ARTICLE 7
                                           TERMINATION
   Section 7.01   Termination by Mutual Consent.

   This Agreement may be terminated prior to the Effective Time by the mutual written agreement
   of the Company and Telecure.
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   Section 7.02    Termination by Either Party.

   This Agreement may be tenninated by either the Company or Telecure at any time prior to the
   Effective Time if:
           (a)    the Company Consent is not received by the Company, as required by the Interim
                  Order;
           (b)    after the date of this Agreement, any Law is enacted, made, enforced or amended,
                  as applicable, that makes the consummation of the Arrangement illegal or otherwise
                  permanently prohibits or enjoins the Company or Telecure or Acquireco from
                  consummating the Arrangement and such Law has, if appealable, become final and
                  non-appealable; or
          (c)     the Effective Time does not occur on or prior to the Outside Date; provided that,
                  the right to terminate this Agreement pursuant to this Section 7.02(c) shall not be
                  available to the Company, on one hand, or Telecure and Acquireco, together, on
                  the other hand, where their respective failure to fulfil any obligation or breach of
                  any ofrepresentation and warranty under this Agreement has been a principal cause
                  of, or resulted in, the failure of the Effective Time to occur by such date.
   Section 7.03   Termination by Telecure.

   This Agreement may be tenninated by Telecure at any time prior to the Effective Time if:
          (a)     a breach of any representation or warranty or failure to perfom1 any covenant or . ·
                  agreement on the part of the Company under this Agreement occurs that would
                  cause any condition in Section 6.03(a) or Section 6.02(b) not to be satisfied and
                  such breach or failure is incapable of being cured or is not cured in accordance with
                  the terms of Section 6.04; provided that, any wilful breach shall be deemed to be
                  incapable of being cured and Telecure is not then in breach of this Agreement so as
                  to cause any of the conditions in Section 6.03(a) or Section 6.03(b) not to be
                  satisfied;
          (b)     (i) prior to the Effective Time, the Company Board or a committee thereof shall
                  have approved or recommended any Acquisition Proposal; or (ii) prior to the
                  Effective Time, the Company shall have breached Section 5.07 in any material
                  respect (any action in (i) or (ii), a "Change in Recommendation"); or
          (c)     there has occurred a Material Adverse Effect in respect of the Company which is
                  incapable of being cured on or before the Outside Date.
   Section 7.04   Termination by the Company.

   This Agreement may be tenninated by the Company at any time prior to the Effective Time if:
          (a)     a breach of any representation or warranty or failure to perfom1 any covenant or
                  agreement on the part of Telecure or Acquireco under this Agreement occurs that
                  would cause any condition in Section 6.03(a) or Section 6.03(b) not to be satisfied
                  and such breach or failure is incapable of being cured or is not cured in accordance
                  with the terms of Section 6.04; provided that, any wilful breach shall be deemed to
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                  be incapable of being cured and the Company is not then in breach of this
                  Agreement so as to cause any of the conditions in Section 6.03(a) or Section 6.03(b)
                  not to be satisfied;
          (b)     prior to the Effective Date, it wishes to enter into a binding written agreement with
                  respect to a Superior Proposal (other than a confidentiality agreement permitted by
                  Section 5.07(e)), subject to compliance with Section 5.07 in all respects and
                  provided, however, that no termination under this Section 7.04(b) shall be effective
                  unless and until the Company shall have paid to Telecure the amount required to
                  be paid pursuant to Section 7.05; or
          (c)     there has occurred a Material Adverse Effect in respect ofTelecure and Acquireco
                  which is incapable of being cured on or before the Outside Date.
   Section 7.05   Expense Payments.

          (a)     Except as otherwise provided herein, all fees, costs and expenses incurred in
                  connection with this Agreement and the Plan of Arrangement shall be paid by the
                  Party incurring such fees, costs or expenses.
                  For the purposes of this Agreement, "Company Expense Payment Event" means
                  the termination of this Agreement by the Company pursuant to Section 7.04(b).
          (b)     If a Company Expense Payment Event occurs, the Company shall pay the Company
                  Expense Payment to Telecure.
          (c)     Any Company Expense Payment payable by the Company pursuant to this
                  Agreement shall be paid free and clear of and without deduction or withholding for,
                  or on account of, any present or future Taxes, unless such deduction or withholding
                  is, or the Company reasonably believes such deduction or withholding is, required
                  by Law. If the Company is, or reasonably believes it is, required by applicable Laws
                  to deduct or withhold any Taxes from the payment of the Company Expense
                  Payment, (i) the Company shall make such required deductions or withholdings,
                  (ii) the Company shall remit the full amount deducted or withheld to the appropriate
                  Governmental Entity in accordance with applicable Laws, and (iii) the amount so
                  withheld and remitted shall be treated for purposes of this Section 7.05(c) as having
                  been paid to Telecure.
         (d)      Each of the Parties acknowledges that the agreements contained in this Section 7.05
                  are an integral part of the transactions contemplated in this A,,>reement and that,
                  without those agreements, the Parties would not enter into this Agreement. Each
                  Party acknowledges that all of the payment amounts set out in this Section 7.05 are
                  payments ofliquidated damages which are a genuine pre-estimate of the damages,
                  which the Party entitled to such damages will suffer or incur as a result of the event
                  giving rise to such payment and the resultant termination of this Agreement and are
                  not penalties. Each of the Company and Telecure irrevocably waives any right it
                  may have to raise as a defence that any such liquidated damages are excessive or
                  punitive. For greater certainty, each Party agrees that, upon any tennination of this
                  Agreement under circumstances where Telecure is entitled to a Company Expense
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                   Payment and such Company Expense Payment is paid in full, Telecure shall be
                   precluded from any other remedy against the Company at Law or in equity or
                   otherwise (including, without limitation, an order for specific performance), and
                   shall not seek to obtain any recovery, judgment, or damages of any kind, including
                   consequential, indirect, or punitive damages, against the Company or any of its
                   Subsidiaries or any of their respective directors, officers, employees, partners,
                   managers, members, shareholders or affiliates or their respective Representatives
                   in connection with this Agreement or the transactions contemplated hereby,
                   provided, however, that payment by the Company of a Company Expense Payment
                   shall not be in lieu of any damages or any other payment or remedy available
                   (including, without limitation, an order for specific performance) in the event of
                   any wilful or intentional breach by the Company of any of its obligations under this
                   Agreen1ent.
   Section 7.06   Notice and Effect of Termination.

   The Party desiring to terminate this Agreement pursuant to this Article Vil ( other than pursuant to
   Section 7.01) shall deliver written notice of such tennination to the other Parties specifying in
   reasonable detail the basis for such Party's exercise of its termination right. If this Agreement is
   terminated pursuant to this Article VII, it will become void and ofno further effect, with no liability
   on the part of either Party to this Agreement (or any shareholder, director, officer, employee, agent,
   consultant or representative of such Party) except with respect to the obligations set forth in this
   Section 7.06, Section 5.05, Section 5.06, Section 5.07 and Article VIII (and any related definitions
   contained in any such Sections or Article) which shall remain in full force and effect and; provided
   further that, no Party shall be relieved of any liability for any intentional or wilful breach by it of
   this Agreement.

                                           ARTICLE 8
                                       GENERAL PROVISIONS

   Section 8.01   Amendments.

   This Agreement and the Plan of Arrangement may, at any time and from time to time before or
   after the elate on which approval by the Company Shareholders is received but not later than the
   Effective Time, be amended by mutual written agreement of the Parties, without further notice to
   or authorization on the part of the Company Shareholders and any such amendment may, subject
   to the Interim Order and the Final Order and applicable Laws, without limitation:

          (a)     change the time for performance of any of the obligations or acts of the Parties;
          (b)     modify any representation or warranty contained in this Agreement or in any
                  document delivered pursuant to this Agreement;

          (c)     modify any of the covenants contained in this Agreement and waive or modify
                  perfomrnnce of any of the obligations of the Parties; or
          (cl)    modify any mutual conditions contained in this Agreement.
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   Section 8.02     Expenses.

   Except as otherwise expressly provided in this Agreement, the Paities agree that all out-of-pocket
   expenses of the Parties relating to this Agreement or the transactions contemplated under this
   Agreement, including legal fees, accounting fees, financial advisory fees, regulatory filing fees,
   stock exchange fees, all disbursements of advisors and printing and mailing costs, shall be paid by
   the Party incurring such expenses.
   Section 8.03     Notices.

   All notices and other communications given or made pursuant hereto shall be in writing and shall
   be deemed to have been duly given or made as of the elate delivered or sent if delivered personally
   or sent by email, or as of the following Business Day if sent by prepaid overnight courier, to the
   Parties at the following addresses ( or at such other addresses as shall be specified by either Party
   by notice to the other given in accordance with these provisions):

          in the case of a notice to the Company, addressed to it at:

          MyApps Corp.
          801 International Parkway, Suite 500
          Lake Mary, Florida 32746, United States

          Attention:      Adnan Malik
          Email:          azmalik@mnail.com

          with a copy (not constituting notice) to:

          Lowndes, Drosclick, Doster, Kantor & Reed, P.A.
          2 I 5 N Eola Drive
          Orlando, Florida 3280 I, United States

          Attention:      James M. O'Brien
          Email:          jarnes.obrien@lowndes-law.com

          and to:

          Segev LLP
          6th Floor, 905 W Pender St.
          Vancouver, BC V6C IL6, Canada

          Attention:      Evie Sheppard
          Email»          e.sheppard@segev.ca

          and, in the case of a notice to Telecure, addressed to it at:

          Telecure Technologies Inc.
          885 West Georgia Street, Suite 2200
          Vancouver, British Columbia V6C 3E8, Canada
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            Attention:     Harwinder Parmar, President
            Email:         harwi nder.parmar@rrmaiI.com

            with a copy (not constituting notice) to:

            Cassels Brock & Blackwell LLP
            2200 - 885 West Georgia Street
            Vancouver, British Columbia V6C 3E8

           Attention:      Deepak Gill
           Email:          dgill@cassels.com

   Section 8.04 Time of the Essence.
   Time is of the essence in this Agreement.
   Section 8.05 Injunctive Relief.

   The Parties acknowledge and agree that irreparable harm would occur for which money damages
   would not be an adequate remedy at Law if any of the provisions of this A1,,>reement were not
   perfonned in accordance with their specific tem1s or were otherwise breached. It is accordingly
   agreed that the Parties shall be entitled to injunctive and other equitable relief to prevent breaches
   or threatened breaches of this Agreement and to enforce compliance with the terrns of this
   Agreement, without any requirement for the securing or posting of any bond in connection with
   the obtaining of any such injunctive or other equitable relief.
   Section 8.06 Further Assurances.

   Each Party hereto shall, from time to time and at all times hereafter, at the request of the other
   Party hereto, but without further consideration, do all such further acts, and execute and deliver all
   such further documents and instruments as may be reasonably required in order to fully perfonn
   and carry out the terms and intent hereof.
   Section 8.07 Third-Party Beneficiaries.
   Except as provided in Section 5.06 which, without limiting its terms, is intended for the benefit of
   the present and fom1er directors and officers of Telecure, the Company and their respective
   Subsidiaries, as and to the extent applicable in accordance with its terms (collectively, the "Third-
   Parly Beneficiaries"), the Parties intend that this Agreement will not benefit or create any right
   or cause of action in favour of any Person, other than the Parties and that no Person, other than the
   Parties, shall be entitled to rely on the provisions of this Agreement in any action, suit, Proceeding,
   hearing or other forum. The Parties acknowledge to each of the Third-Party Beneficiaries their
   direct rights against the applicable Party under Section 5.06 which are intended for the irrevocable
   benefit of, and shall be enforceable by, each Third-Party Beneficiary, his or her heirs, executors,
   administrators and legal representatives, and for such purpose, Telecure shall hold the rights and
   benefits of Section 5.06 in trust for and on behalf of the Third-Party Beneficiaries and Telecure
   hereby accepts such trust and agrees to hold the benefit of and enforce perfomrnnce of such
   covenants on behalf of the Third-Party Beneficiaries.
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   Section 8.08    Waiver.
   No waiver of any of the provisions of this Agreement will constitute a waiver of any other
   provision (whether or not similar). No waiver will be binding unless executed in writing by the
   Party to be bound by the waiver. A Party's failure or delay in exercising any right under this
   Agreement will not operate as a waiver of that right. A single or pmtial exercise of any right will
   not preclude a Party from any other or further exercise of that right or the exercise of any other
   right.
   Section 8.09 Entire Agreement.
   This Agreement, together with the Company Disclosure Letter and Telecure Disclosure Letter,
   constitute the entire agreement between the Parties with respect to the transactions contemplated
   by this Agreement and supersedes all prior agreements, understandings and negotiations, whether
   oral or written, of the Parties. There are no representations, warranties, covenants, conditions or
   agreements, express or implied, collateral, statutory or otherwise, between the Parties in
   connection with the subject matter of this Agreement, except as specifically set forth in this
   Agreement.
   Section 8.10 Successors and Assigns.
   This Agreement shall be binding upon and enure to the benefit of the Company, Telecure and
   Acquireco and their successors and pennitted assigns. Neither Party may assit,m its rights or
   obligations hereunder without the prior written consent of the other Party. No assignment shall
   relieve the assigning party of any of its obligations hereunder.
   Section 8.11   Severability.
   If any term or provision of this Agreement is determined to be illegal, invalid or incapable of being
   enforced by any court of competent jurisdiction, that tem1 or provision will be severed from this
   Agreement and the remaining terms and provisions shall remain in full force and effect. Upon such
   determination that any term or other provision is invalid, illegal or incapable of being enforced,
   the Parties shall negotiate in good faith to modify this Agreement so as to affect the original intent
   of the Parties as closely as possible in an acceptable manner to the end that the transactions
   contemplated hereby are fulfilled to the fullest extent possible.
   Section 8.12   Governing Law; Submission to Jurisdiction; Choice of Language.
          (a)     This Agreement shall be governed by and construed in accordance with the Laws
                  of the Province of British Columbia and the federal Laws of Canada applicable
                  therein.

          (b)     Each Party irrevocably attoms and submits to the non-exclusive jurisdiction of the
                  courts of the Province of British Columbia in respect of all matters arising under
                  and in relation to this At,>-reement or the Arrangement and waives, to the fullest
                  extent possible, the defence of an inconvenient forum or any similar defence to the
                  maintenance of proceedings in such courts.
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          (c)     The Parties confirm that it is their express wish that this Agreement, as well as any
                  other documents relating to this Agreement, including notices, schedules and
                  Authorizations, have been and shall be drawn up in the English language only.
   Section 8.13   Rules of Construction.

   The Parties to this Agreement waive the application of any applicable Law or rule of construction
   providing that ambiguities in any agreement or other document shall be construed against the party
   drafting such agreement or other document.

   Section 8.14   No Liability.

   No director or officer of Telecure shall have any personal liability whatsoever to the Company
   under this Agreement or any other document delivered in connection with the transactions
   contemplated hereby on behalf ofTelecure. No director or officer of the Company shall have any
   personal liability whatsoever to Telecure under this Agreement or any other document delivered
   in connection with the transactions contemplated hereby on behalf of the Company.
   Section 8.15   Counterparts.

   This Agreement may be executed by facsimile or other electronic signature and in counterparts,
   each of which shall be deemed an original, and all of which together constitute one and the same
   instrument.

                                       (signature page follows]
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   IN WITNESS WHEREOF, the Parties have executed this Arrangement Agreement as of the date
   first written above.


                                        ~:.APPSCORP~


                                                  Name:     A an Malik
                                                  Title:    Chief Executive Officer




                                        TELECURE TECHNOLOGIES INC.


                                        By:
                                                  Name:    Harwinder Parmar
                                                  Title:   President




                                        1278859 B.C. Ltd.


                                        By:
                                                  Name:    Eli Dusenbury
                                                  Title:   Director




                       Signature Page to the Arrangement Agreement
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   IN WITNESS WHEREOF, the Parties have executed this Arrangement Agreement as of the date
   first written above.

                                        MY APPS CORP.


                                        By:
                                                  Name:     Adnan Malik
                                                  Title:    Chief Executive Officer




                                        TELECURE TECHNOLOGIES INC.


                                        By:
                                                  Name:    Harwinder Pannar
                                                  Title:   President




                                        1278859 B.C. Ltd.

                                                   -f{j
                                        By:
                                                  Name:    Eli Dusenbury
                                                  Title:   Director




                        Signature Page to the Arrangement Agreement
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                                    Schedule A
                               Plan of Arrangement

                                  (See attached)




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                                   PLAN OF ARRANGEMENT

         UNDER DIVISION 5 OF PART 9 OF THE BUSINESS CORPORATIONS ACT
                              (BRITISH COLUMBIA)


                                          ARTICLE I
                                       INTERPRETA TI ON

   Section 1.01   Definitions

   Words and phrases used herein that are defined in the Arrangement Agreement and not defined
   herein shall have the same meaning herein as in the Arrangement Agreement, unless the context
   otherwise requires. Words and phrases used herein that are defined in the BCBCA and not defined
   herein or in the Arrangement Agreement shall have the same meaning herein as in the BCBCA,
   unless the context otherwise requires, and the following tenns have the following meanings:

   "Acquireco" means 1278859 B.C. Ltd., a corporation incorporated under the laws of the Province
   of British Columbia;

   "Arrangement Agreement" means the Arrangement Agreement dated December I 5, 2020
   among the Company, Telecure and Acquireco (including the schedules thereto) as it may be
   amended, modified or supplemented from time to time in accordance with its terms;

   "Class A Company Share" means the issued and outstanding shares of Class "A" Common Stock
   in the capital of the Company;

   "Class B Company Share" means the issued and outstanding shares of Class "B" Common Stock
   in the capital of the Company;

   "Company" means MyApps Corp., a corporation incorporated under the laws of Florida;

   "Company Consent" means the written consent of (a) Company Shareholders representing at
   least a majority of the Class A Company Shares, and (b) Company Shareholders representing at
   least a majority of the Class B Company Shares, in each case approving and adopting the
   Agreement, the Arrangement, the Merger and the other transactions contemplated herein, m
   accordance with the Florida Act and the Company's governing documents;

   "Company Shares" means the issued and outstanding Class A Company Shares and Class B
   Company Shares;

   "Company Shareholders" means the registered and/or beneficial owners of the Company Shares,
   as the context requires;

   "Consenting Shareholder" has the meaning set forth in Section 2.03(f);

   "Consideration" means the consideration to be received by Company Shareholders pursuant to
   this Plan of Arrangement as consideration for their Company Shares, consisting of the
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    Consideration Shares, subject to adjustment in the manner and in the circumstances contemplated
    in Section 2.13 of the Arrangement Agreement, on the basis set out in this Plan of Arrangement;

   "Consideration Shares" means the Telecure Shares to be issued as Consideration pursuant to the
   Arrangement, being, in respect of each Company Share, such number of Telecure Shares as is
   equal to the quotient of 32,000,000 divided by the number of the issued and outstanding Company
   Shares immediately prior to the Effective Time;

   "Dissenting Shareholder" means a Company Shareholder who has validly exercised its Appraisal
   Rights and has not withdrawn or been deemed to have withdrawn such exercise of Appraisal
   Rights, but only in respect of the Company Shares in respect of which Appraisal Rights are validly
   exercised by such Company Shareholder;

   "Effective Date" means the date upon which the Arrangement becomes effective pursuant to this
   Plan of Arrangement;

   "Effective Time" means 12:01 a.m. (Vancouver Time) on the Effective Date or such other time
   as the Parties agree to in writing before the Effective Date;

   "Florida Act" means the Florida Business Corporation Act, as amended, and the rules and
   regulations promulgated thereunder;

   "Merger" means the plan of merger under Section 607.1103 of the Florida Act involving
   Acquireco, the Company, and Telecure pursuant to which, among other things, Acquireco shall be
   merged with and into the Company, the separate existence of Acquireco shall cease and the
   Company shall continue as the Surviving Company;

   "Plan of Arrangement", "hereof', "herein", "hereto" and like references n1ean and refer to this
   plan of arrangement;

   "Surviving Company" means the corporate entity formed as a result of the Merger;

   "Telecure" means Telecure Technologies Inc., a corporation incorporated under the laws of the
   Province of British Columbia; and

   "Telecure Shares" means the Class A voting common shares             111   the capital of Telecure, as
   constituted on the date hereof.

   Section 1.02 Interpretation Not Affected by Headings, Etc. The division of this Plan of
   Arrangement into Articles and Sections and the insertion of headings are for convenience of
   reference only and shall not affect in any way the meaning or interpretation of this Plan of
   Arrangement.

   Section 1.03 Article and Section References. Unless the contrary intention appears, references
   in this Plan of Arrangement to an Article or Section by m1mber or letter or both refer to the Article
   or Section respectively, bearing that designation in this Plan of Arrangement.
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   Section 1.04 Number and Gender. Jn this Plan of Arrangement, unless the contrary imention
   appears, words importing the singular include the plural and vice versa and words importing
   gender shall include all genders.

   Section 1.05 Date for Any Action. If the date on which any action is required to be taken
   hereunder by any of the Parties is not a Business Day in the place where the action is required to
   be taken, such action shall be required to be taken on the next succeeding day which is a Business
   Day in such place.

   Section 1.06 Statutory References. Unless otherwise indicated, references in this Plan of
   Arrangement to any statute includes all rules and regulations made pmsuant to such statute, as it
   or they may have been or may from time to time be amended or re-enacted.

   Section 1.07 Currency. Unless otherwise stated, all references in this Agreement to sums of
   money are expressed in lawful money of Canada.


                                             ARTICLE II
                                           ARRANGEMENT

   Section 2.01   Arrangement Agreement.

   This Plan of Arrangement is made pursuant to and subject to the provisions of, and forms part of,
   the Arrangement Agreement.
   Section 2.02   Binding Effect.

   As of and from the Effective Time, this Plan of Arrangement and the Arrangement will become
   effective and be binding on: (i) Acguireco (ii) the Company; (iii) Telecure; (iv) all registered and
   beneficial Company Shareholders (including Dissenting Shareholders); (v) the registrar and
   transfer agent of Acguireco; (vi) the registrar and transfer agent of the Company; and (vii) all other
   Persons at and after the Effective Time without any further act or formality required on the part of
   any Person.
   Section 2.03   Arrangement.

   Commencing at the Effective Time, each of the following events shall occur sequentially in the
   order set out below without any further authorization, act or fomrnlity, in each case, unless stated
   otherwise, effective as at two-minute intervals starting at the Effective Time:
          (a)     Upon the tenns and subject to the conditions set forth in the Arrangement
                  Agreement and in accordance with the Florida Act and the BCBCA, at the Effective
                  Time, Acquireco shall be merged with and into the Company, the separate existence
                  of Acquireco shall cease and the Company shall continue as the Surviving
                  Company in the Merger.
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           (b)    The Merger shall have the effects set forth in the Arrangement Agreement and in
                  the applicable provisions of the Florida Act. Without limiting the generality of the
                  foregoing, and subject thereto, at the Effective Time, all property of Acquireco and
                  the Company shall vest in the Surviving Company, all liabilities and duties of
                  Acquireco and the Company shall become liabilities and duties of the Surviving
                  Company, and the Surviving Company shall be a wholly-owned Subsidiary of
                  Telecure.

           (c)    Subject to the provisions of the Arrangement Agreement, articles of merger in
                  substantially the form attached hereto as Exhibit A (the "Articles of Merger") shall
                  be duly executed by the Surviving Company and, on the Effective Date, the Articles
                  of Merger shall be filed by the Surviving Company with the Florida Department of
                  State pursuant to all applicable provisions of the Florida Act.

          (d)     The consideration for the Merger shall be comprised of, in respect of each Company
                  Share, the Consideration Shares.

          (e)     Each Company Share held by Dissenting Shareholders in respect of which
                  Appraisal Rights have been validly exercised shall, in accordance with the
                  applicable provisions of the Florida Act, be cancelled and converted into the right
                  to be paid fair value for such Company Shares as set out in Section 3.01 in
                  accordance with the applicable provisions of the Florida Act.

          (f)    Each outstanding Company Share other than the Company Shares that are held by
                 Dissenting Shareholders who have validly exercised their Appraisal Rights in
                 accordance with Article and who are ultimately entitled to be paid the fair value for
                 such Company Shares by the Company (the "Consenting Shareholders"), shall,
                 without any further action by or on behalf of a holder of Company Shares and in
                 accordance with the applicable provisions of the Florida Act, be cancelled and
                 converted into the right to receive the Consideration Shares less amounts withheld
                 and remitted in accordance with Section 4.02. In accordance with the applicable
                 provisions of the Florida Act, the holders of such Company Shares shall cease to
                 be the holders thereof and to have any rights as holders of such Company Shares
                 other than the rights to be paid the Consideration per Company Share in accordance
                 with this Plan of Arrangement.

          (g)    Telecure shall issue to each Consenting Shareholder the Consideration Shares for
                 each Company Share, in accordance with this Plan of Arrangement.


                                          ARTICLE III
                                       APPRAISAL RIGHTS

   Section 3.01 Appraisal Rights. Under Section 607.1302 of the Florida Act, a Company
   Shareholder who does not wish to accept the consideration payable under the Arrangement
   Agreement may exercise appraisal rights and, if the Arrangement is consummated, obtain in cash
   the "fair value" of the Company Shares (as valued immediately prior to the consummation of the
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   Arrangement in accordance with Florida law). Such fair value excludes any appreciation or
   depreciation in anticipation of the Arrangement, unless such exclusion would be inequitable to the
   Company and its remaining Company Shareholders. For a summary of the appraisal rights process,
   see Exhibit B hereto.


                                    ARTICLE IV
                    PAYMENT AND DELIVERY OF SHARE CERTIFICATES

   Section 4.01 Payment and Delivery of Share Certificates. As soon as practicable following
   the Effective Time, Telecure shall cause its transfer agent to deliver to the Consenting Shareholders
   the certificate(s) representing, or other evidence of, the Consideration Shares that such Consenting
   Shareholder is entitled to receive under the Arrangement.

   Section 4.02 Withholding Rights. The Company, Acquireco and Telecure shall be entitled to
   deduct and withhold from any consideration otherwise payable under this Plan of Arrangement,
   such amounts as the Company, Acquireco or Telecure is pennitted or required to deduct and
   withhold with respect to such payment under the Tax Act or any provision of applicable laws and
   shall remit such amounts to the appropriate Governmental Entity. To the extent that the amounts
   are so deducted and withheld, such deducted and withheld amounts shall be treated for all purposes
   as having been paid to the affected holder in respect of which such deduction and withholding was
   made.

   Section 4.03 No Liens. Any exchange or transfer of secunt1es pursuant to this Plan of
   Arrangement shall be free and clear of any Liens or other claims of third parties of any kind.

   Section 4.04 Paramountcy. From and after the Effective Time, subject to the applicable
   provisions of the Florida Act:

          (a)     this Plan of Arrangement shall take precedence and priority over any and all
                  Company Shares issued prior to the Effective Time; and

          (b)     the rights and obligations of the registered holders of Company Shares and the
                  Company, Acquireco and Telecure and any transfer agent or other depositary
                  therefor in relation thereto, shall be solely as provided for in this Plan of
                  Arrangement.


                                            ARTICLE V
                                           AMENDMENTS

   Section 5.01   Amendments to Plan of Arrangement.

          (a)     Telecure, Acquireco and the Company may amend, modify and/or supplement this
                  Plan of Arrangement at any time and from time to time prior to the Effective Time;
                  provided that, each such amendment, modification and/or supplement must: (i) be
                  set out in writing; (ii) be approved by Telecure and the Company; (iii) be filed with
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                   the Court and, if made following the completion of the Company Consent ,
                   approved by the Court; and (iv) be communicated to Company Shareholders if and
                   as required by the Court and applicable laws.

           (b)    Any amendment, modification or supplement to this Plan of Arrangement may be
                  proposed by the Company or Telecure at any time prior to the completion of the
                  Company Consent (provided that the Company or Telecure, as applicable, shall
                  have consented thereto in writing) and, if the Company Consent is completed, such
                  amendment, modification or supplement, shall become part of this Plan of
                  Arrangement for all purposes.

           (c)    Any amendment, modification or supplement to this Plan of Arrangement that is
                  approved or directed by the Court following the completion of the Company
                  Consent shall be effective only ifit is consented to in writing by each ofTelecure,
                  Acquireco and the Company (in each case, acting reasonably); and (ii) if required
                  by the Court, it is consented to by the holders of Company Shares, as applicable, in
                  the manner directed by the Court.

          ( cl)   Any amendment, modification or supplement to this Plan of Arrangement may be
                  made following the Effective Date unilaterally by Telecure; provided that, it
                  concerns a matter which, in the reasonable opinion of Telecure, is of an
                  administrative nature required to better give effect to the implementation of this
                  Plan of Arrangement.


                                         ARTICLE VI
                                     FURTHER ASSURANCES

   Section 6.01 Further Assurances. Notwithstanding that the transactions and events set out in
   this Plan of Anangement shall occur and shall be deemed to occur in the order set out in this Plan
   of Arrangement without any further act or formality, each of the Parties shall make, do and execute,
   or cause to be made, done and executed, all such further acts, cleecls, agreements, transfers,
   assurances, instruments or documents as may reasonably be required by either of them in order to
   further document or evidence any of the transactions or events set out in this Plan of Arrangement.
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                                   EXHIBIT A

                               (Please see attached.)
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                                         FLORlDA DEPARTMENT OF STATE
                                           DIVISION OF CORPORATIONS




Attached is a form for filing Articles ofMerger pursuant to section 607.1105, Florida Statutes, when two or
more entities merge. This form is basic and may not meet all merger needs. The advice of an attorney is
recommended.

The document must be typed or printed and must be legible.

PLEASE NOTE: The tenn 'domestic' when used in this document is referring to a 'Florida' entity.

Pursuant to section 607.0123, Florida Statutes, a delayed effective date may be specified but may not be later
than the 90 th day after the date on which the document is filed.

Filing Fee                     $35.00 for each merging and $35 for each surviving entity (Includes a letter of
                               acknowledgment)

Certified Copy (optional)       $8. 75

Send one check in the total amount payable to the Florida Department of State.

Please include a cover letter containing your telephone number, return address and certification requirements, or
complete the attached cover letter.


       Mailing Address:                                     Street Address:
       Amendment Section                                    Amendment Section
       Division of Corporations                             Division of Corporations
       P.O. Box 6327                                        The Centre of Tallahassee
       Tallahassee, FL 32314                                2415 N. Monroe Street, Suite 810
                                                            Tallahassee, FL 32303


For further inforn1ation, you may contact the Amendment Section at (850) 245-6050.




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                                                       COVER LETTER

TO:      Amendment Section
         Division of Corporations

SUBJECT:     MyApps Corp.
                                         Name of Surviving Entity




The enclosed Articles of Merger and fee are submitted for filing.

Please return all correspondence concerning this matter to following:


 Mark Lee
                            Contact Person



 Greenberg Traurig LLP
                            Finn/Company



 1201 K Street 12th Floor
                              Address



Sacramento, CA 95814
                         City/State and Zip Code


leema@gtlaw.com
    E-mail address: (to be used for future annual report notification)

For further information concerning this matter, please call:


_M_a_r_k_L_e_e_ _ _ _ _ _ _                                     At   c916 1 868-0630
                  Name of Contact Person                                      Area Code & Daytime Telephone Number



[!} Certified copy (optional) $8.75 (Please send an additional copy of your document ifa certified copy is requested)
       Mailing Address:                                                  Street Address:
       Amendment Section                                                 Amendment Section
       Division of Corporations                                          Division of Corporations
       P.O. Box 6327                                                     The Centre of Tallahassee
       Tallahassee, FL 32314                                             2415 N. Monroe Street, Suite 810
                                                                         Tallahassee, FL 32303


IMPORTANT NOTICE: Pursuant to s.607.1622(8), F.S., each party to the merger must be active and
current in filing its annual report through December 31 of the calendar year which this articles of merger
are being submitted to the Department of State for filing.
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                                   ARTICLES OF MERGER


The following articles of merger are submitted in accordance with the Florida Business Corporation Act,
pursuant to section 607.1105, Florida Statutes.

FIRST: The name and jurisdiction of the surviving entity:

Name                                               Jurisdiction               Entity Type   Document Number
                                                                                            (If known/ applicable)
 MyApps Corp.                                        FL                        Corp



SECOND: The name and jurisdiction of each merging eligible entity:



                                                  Jurisdiction                Entity Type   Document Number
                                                                                            (If known/ npplicablc)

1278859 B.C. Ltd.                                   Bnti~h Columbia. canada
                                                                               Corp




THIRD: The merger was approved by each domestic merging corporation in accordance with s.607.1101 (])(b), F.S., and
by the organic law governing the other parties lo the merger.
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FOURTH: Please check one of the boxes that apply to surviving entity:

CZ)      This entity exists before the merger and is a domestic filing entity.

D        This entity exists before the merger and is not authorized to transact business in Florida.

[Cl      This entity exists before the merger and is a domestic filing entity, and its Articles of Incorporation arc being
         amended as attached.

D        This entity is created by the merger and is a domestic corporation, and the Articles of Incorporation arc attached.

D        This entity is a domestic eligible entity and is not a domestic corporation and is being amended in connection with
         this merger as attached.

D        This entity is a domestic eligible entity being created as a result of the merger. The public organic record of the
         survivor is attached.

D        This entity is created by the merger and is a domestic limited liability limited partnership or a domestic limited
         liability partnership, its statement of qualification is attached.


FIFTH: Please check one of the boxes that apply to domestic corporations:

El       The plan of merger was approved by the shareholders and each separate voting group as required.

D        The plan of merger did not require approval by the shareholders.


SIXTH: Please check box below if applicable to foreign corporations

~        The participation of the foreign corporation was duly authorized in accordance with the corporation's organic
         laws.


SEVENTH: Please check box below if applicable to domestic or foreign non corporation(s).

ID       Participation of the domestic or foreign non corporation(s) was duly authorized in accordance with each of such
         eligible entity's organic law.
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EIGJ-ITJ-1: If other than the date of filing, the delayed effective date of the merger, which cannot be prior to nor more
than 90 days after the date this document is filed by the Florida Department of State:



Note: If the date inserted in this block docs not meet the applicable statutory filing requirements, this date will not be
listed as the document's effective date on the Department of State's records.


NINTH: Signature(s) for Each Party:
                                                                                                       Typed or Printed
Name of Entity/Organization:                         Signature(s):                                   Name oflndividual:
MyApps Corp.                                                                                    Adnan Malik
 1278859 B.C. Ltd.                                                                              Eli Dusenbury




Corporations:                            Chainnan, Vice Chainnan, President or Officer
                                         (Jfno directors selected, signature ofinc01pora1or.)
General partnerships:                    Signature of a general partner or authorized person
Florida Limited Partnerships:            Signatures of all general partners
Non-Florida Limited Partnerships:        Signature ofo general partner
Limited Liability Companies:             Signature of an authorized person
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                                                EXHIBIT B
                                            APPRAISAL RIGHTS

       Below is a general overview of the appraisal process, which is qualified in its entirety by the full
       text of the relevant provisions of the Florida Business Corporation Act ("FBCA").

       MvAJ)J)S Deliverv of Notice of AJ)J)raisal Rights

    Pursuant to §607.1320(3)(a), MyApps Corp. ("MyApps") must first send a written notice that
    appraisal rights are available (the "Notice of Appraisal Rights") to each shareholder ofMyApps
    from whom a written consent is solicited at the time consent of such shareholder is first solicited.
    MyApps must sent a Notice of Appraisal Rights to nonconsenting and nonvoting shareholders at
    least IO days before the transaction becomes effective pursuant to §607. 1320(3)(b).

    The Notice of Appraisal Rights must include:
    •         A copy of §§607.1301- 607.1340 of the FBCA;
    •         Financial statements, including a balance sheet as of the end of the fiscal year ending not
              more than 16 months before the date of the notice, an income statement for that fiscal
              year, and a cash flow statement for that fiscal year; however, if such financial statements
              are not reasonably available, the corporation must provide reasonably equivalent
              financial infonnation; and
   •          The latest available interim financial statements, including year-to-date through the end of
              the interim period.


   MvAJ)J)S Deliverv of AJ)praisal Notice and Form

   Pursuant to §607.1322, on the date that the transaction becomes effective (or no later than I 0
   days thereafter), MyApps must deliver a written appraisal notice and form with the information
   presented below to all nonconsenting and nonvoting shareholders (the" Appraisal Notice and
   Form").

   The Appraisal Notice and Form must:

   •      Specify the date that the transaction became effective and provide for the shareholder to state:
             • The shareholder's name and address;
             • The number, classes, and series of shares as to which the shareholder asserts appraisal
                  rights;
              •   That the shareholder did not vote for, or consent to, the transaction;
              •   Whether the shareholder accepts MyApps' offer; and
              •   If the offer is not accepted, the shareholder's estimated fair value of the shares and a
                  demand for payment of the shareholder's estimated value plus accrued interest.
   •      State:
              • Where the Appraisal Notice and Form must be returned;
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           •    Where share certificates must be deposited and the date by which those certificates
                must be deposited (which date may not be earlier than the date by which MyApps
                must receive the required form set forth in the para1,rraph directly below);
           • A date by which MyApps must receive the returned Appraisal Notice and Form,
               which date may not be fewer than 40 nor more than 60 days after the date MyApps
               delivers the Appraisal Notice and Fann (the "Appraisal Notice Delivery Date"), and
               state that the shareholder shall have waived the right to demand appraisal with respect
               to the shares unless the Appraisal Notice and Forn1 is received by MyApps by such
               specified date;
           • MyApps' estimate of the fair value of the shares;
           • An offer to each shareholder who is entitled to appraisal rights to pay MyApps'
               estimate of fair value set forth above;
           • That, ifrequested in writing, MyApps will provide to the shareholder so requesting,
               within 10 days after the Appraisal Notice Delivery Date, the number of shareholders
               who return the forn1s by the specified date and the total number of shares owned by
               them; and
           • The date by which the notice to withdraw under §607.1323 must be received, which
               date must be within 20 days after the Appraisal Notice Delivery Date.
   •      If not previously provided, be accompanied by a copy of §§607.1301--607. l 340.

   Shareholder Delivery of Notice of Intent to Demand Payment

   Pursuant to §§607.1321 and 607. 1322, if a shareholder desires to exercise appraisal rights, the
   shareholder must:

   •   Within 20 days after receiving the Appraisal Notice and Form, deliver to MyApps a written
       notice of the shareholder's intent to demand payment for the shares ("Notice of Intent"); and
   •   Not cause to be voted by written consent or otherwise any of the shareholder's shares in
       favor of the transaction.

   All Notices of Intent must be signed in the same manner as the shares are registered on the books
   ofMyApps. If the shareholder has not provided a Notice oflntent within 20 days ofreceiving
   the Appraisal Notice and Fonn, the shareholder will be deemed to have waived appraisal rights.

   Shareholder Return of Appraisal Notice and Form

   As stated above, to receive payment for the shareholder's shares, MyApps must receive from the
   shareholder, at any time before the expiration of the Appraisal Notice Delivery Date, the
   following:

   •   The completed Appraisal Notice and Form in which the shareholder states the shareholder's
       estimated fair value for the shares and demands payment of the estimated value plus interest;
       and
   •   The shareholder's certificated shares, if applicable.
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    If the shareholder delivered the Appraisal Notice and Forni and certificated shares to MyApps,
    the shareholder may still subsequently decline to exercise appraisal rights and withdraw from the
    appraisal process by giving written notice to MyApps within the time period specified in the
    Appraisal Notice and Form. Thereafter, the shareholder may not withdraw from the appraisal
    process without the written consent ofMyApps. Upon a withdrawal, the shareholder's right to
    be paid the fair value of the shares will cease, and the shareholder will be bound by the terms of
    the transaction agreement.

    Shareholder Acceptance of MvApps Offer

    Pursuant to §607.1324, if the shareholder accepts MyApps' offer in the Appraisal Notice and
    Fonn to pay MyApps' estimate of the fair value of the shares, payment for the shareholder's
    shares will be made within 90 days after the receipt of the Appraisal Notice and Form by
    MyApps or its agent. Upon payment of the agreed value, the shareholder will cease to have any
    interest in such shares.

    Shareholder Refusal of MyApps Offer

    §§607.1326 and 607.1330 of the FBCA address what occurs if the shareholder fails to accept
    MyApps' offer to pay the value of the shares as estimated by MyApps and MyApps fails to
    comply with the shareholder's demand to pay the value of the shares as estimated by the
    shareholder, plus interest.

    If the shareholder refuses to accept MyApps' offer to pay the value of the shares as estimated by
    MyApps and MyApps fails to comply with the shareholder's demand to pay the value of the
    shares as estimated by the shareholder, plus interest, then within 60 clays after receipt of a written
    demand from any dissenting shareholder, MyApps shall file an action requesting that the fair
    value of such shares be determined by the court.

   If MyApps fails to institute a proceeding within the above-prescribed period, any shareholder
   that has made a demand under §607.1326 may do so in the name ofMyApps. A copy of the
   initial pleading will be served on each shareholder who has made such a demand. MyApps is
   required to pay each shareholder the amount found to be due within IO days after final
   determination of the proceedings, which amount may, in the discretion of the court, include a fair
   rate of interest, which will also be detem1ined by the court. Upon payment of the judgment, the
   shareholder will cease to have any interest in such shares.

   §607 .1331 provides that the costs of a court appraisal proceeding, including reasonable
   compensation for, and expenses of, appraisers appointed by the court, shall be determined by the
   court and assessed against MyApps, except that the court may assess costs against all or some of
   the shareholders demanding appraisal, in amounts the court fmds equitable, to the extent that the
   court finds such shareholders acted arbitrarily, vexatiously or not in good faith with respect to
   their appraisal rights. The court also may assess the fees and expenses of counsel and experts for
   the respective parties, in amounts the court finds equitable, against (1) MyApps and in favor of
   any or all shareholders if the court finds MyApps did not substantially comply with the
   notification provisions set forth in §§607.1320 and 607. I 322, or (2) either MyApps or the
   shareholder, in favor of any other party, if the court finds that the party against whom the fees
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    and expenses are assessed acted arbitrarily, vexatiously, or not in good faith with respect to the
    appraisal rights. If the court in an appraisal proceeding finds that the services of counsel for any
    shareholder were of substantial benefit to other shareholders, and that the fees for those services
    should not be assessed against MyApps, the court may award to such counsel reasonable fees to
    be paid out of the amounts awarded the shareholders who were benefited. To the extent that
    MyApps fails to make a required payment when a shareholder accepts MyApps' offer to pay the
    value of the shares as estimated by MyApps, the shareholder may sue directly for the amount
    owed and, to the extent successful, shall be entitled to recover from MyApps all costs and
    expenses of the suit, including counsel fees.
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                                              Schedule B
                                          Telecure Resolution

                       RESOLUTIONS OF THE SOLE SHAREHOLDER OF

                                           1278859 B.C. Ltd.
                                           (the "Company")

    The undersigned, being the sole shareholder of the Company, hereby consents to the foregoing
    resolutions under the provisions of the Business Co171oratio11s Act (British Columbia) with effect
    as of _ _ _ _ _ _ , 2020.

    WHEREAS:

    A.     the Company proposes to complete a court-approved plan of an-angement (the "Plan of
           Arrangement") under Division 5 of Part 9 of the Business C01poratio11s Act (British
           Columbia) (the "Act") with its sole Shareholder Telecure Technologies Inc. ("Telecure")
           and MyApps Corp. ("MyApps");

    B.     the Company, Telecure, and MyApps entered into an an-angement agreement dated
           December 15, 2020 (the "Arrangement Agreement", and together with the Plan of
           Arrangement, the "Arrangement"); and

    C.     the terms and conditions of the An-angement are to be set out in the Plan of Arrangement,
           as contemplated by the An-angement Agreement.

    NOW THEREFORE BE IT RESOLVED, AS A UNANIMOUS RESOLUTION, THAT:

    1.     The performance of the Company's obligations under the Arrangement Agreement,
           including but not limited to, the An-angement, are hereby consented to and approved.

   2.      The Plan of An-angement, as may be amended, modified or supplemented in accordance
           with the Arrangement Agreement, is hereby authorized, approved and adopted.

   3.     The directors of the Company are hereby authorized, approved, and directed to proceed
          with the Arrangement under the Act as set out in the Arrangement Agreement and to take
          such further steps and actions as may be necessary or desirable to give effect to the
          Arrangement or as contemplated by the Arrangement Agreement.

   4.     The Company is hereby authorized to apply for a final order from the Supreme Court of
          British Columbia to approve the Arrangement on the tenns set forth in the Arrangement
          Agreement and the Plan of Arrangement, as they may be amended, modified or
          supplemented.

   5.     Any one director or officer of the Company is hereby authorized and directed to execute
          all documents and to do all acts necessary or desirable in connection with the transactions
          contemplated by the Arrangement Agreement as such director or officer may determine to
          be in the best interests of the Company and to file all other necessary documents and
          supporting materials in relation thereto.




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    6.    Any one director or officer of the Company is hereby authorized and directed to execute
          all documents and to do all acts necessary or desirable in connection with these resolutions.

    IN WITNESS WHEREOF the foregoing unanimous resolutions are authorized by the undersigned
    shareholder as of the date first written above.



                                                        TELEClJRE TECHNOLOGIES INC.


                                                        By:
                                                              ----------------
                                                              Name: J-larwindcr Pannar
                                                              Title:    Director, President and
                                                                        Corporate Secretary




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                                            Schedule C
                          Representations and Warranties of the Company

    (a)    Organization and Qualification. The Company and each of its Subsidiaries is a
          corporation incorporated, validly existing under the laws of the jurisdiction of its
          incorporation, and has the power and capacity to own, lease and operate its assets and
          properties and conduct its business as now owned and conducted. The Company and each
          of its Subsidiaries is duly qualified, licensed or registered to carry on business in each
          jurisdiction in which its assets are located or it conducts business, except where the failure
          to be so qualified, licensed or registered would not be reasonably expected to have,
          individually or in the aggregate, a Material Adverse Effect. No steps or Proceedings have
          been taken by any Person, voluntary or otherwise, requiring or authorizing the dissolution
          or winding up of the Company and each of its Subsidiaries.
    (b)   Corporate Authorization. The Company has the corporate power and capacity to enter
          into and perfonn its obligations under this Agreement. The execution, delivery and
          performance by the Company of its obligations under this Agreement have been duly
          authorized by all necessary corporate action on the part of the Company and no other
          corporate proceedings on the part of the Company are necessary to authorize this
          Agreement or the consummation of the Arrangement and the other transactions
          contemplated hereby other than: (i) approval by the Company Board of this Agreement,
          the Arrangement, the Merger and the other transactions contemplated by this Agreement;
          and (ii) the Company Consent approving this Agreement, the Arrangement, the Merger
          and the other transactions contemplated by this Agreement from the Company
          Shareholders, and, if applicable, in accordance with the Interim Order and applicable Law.
    (c)   Directors' Approvals. The Company Board has approved the entering into of this
          Agreement.
    (d)   Execution and Binding Obligation. This Agreement has been duly executed and
          delivered by the Company and constitutes a legal, valid and binding agreement of the
          Company enforceable against it in accordance with its tem1s subject only to any limitation
          on bankruptcy, insolvency or other Laws affecting the enforcement of creditors' rights
          generally and the discretion that a court may exercise in the !,'Tanting of equitable remedies
          such as specific performance and injunction.
    (e)   Governmental Authorization. The execution, delivery and perfomrnnce by the Company
          of its obligations under this Agreement and the consummation of the Arrangement do not
          require any other Authorization or other action by or in respect of, or filing with, or
          notification to, any Governmental Entity other than: (i) the Interim Order; (ii) the Final
          Order; (iii) filings with the Registrar of Companies under the BCBCA and the Florida
          Department of State pursuant to all applicable provisions of the Florida Act; (iv) any
          required actions or filings with any an applicable securities regulatory authority; (v)
          consents and waivers regarding the Company Shareholders from the United States tax
          authorities to the satisfaction of counsel to the Company; and (vi) any consents, waivers,
          approvals or actions or filings or notifications, the absence of which would not reasonably
          be expected to have, individually or in the aggregate, a Material Adverse Effect.



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    (f)    Non-Contravention. The execution, delivery and performance by the Company of its
           obligations under this Agreement and the consummation of the Arrangement do not and
           will not (or would not with the giving of notice, the lapse of time or the happening of any
           other event or condition):
           (i)    contravene, conflict with, or result in any violation or breach of the articles, by-
                  laws or other constating documents of the Company or any of its Subsidiaries;
           (ii)   assuming compliance with the matters referred to in this subsection (f) contravene,
                  conflict with or result in a violation or breach of any applicable Laws;
          (iii)   allow any Person to exercise any right, require any consent or notice under or other
                  action by any Person, or constitute a default under, or cause or permit the
                  termination, cancellation, acceleration or other change of any right or obligation or
                  the loss of any benefit to which the Company or any of its Subsidiaries is entitled
                  (including by triggering any rights of first refusal or first offer, change in control
                  provisions or other restrictions or limitations) under any Contract or any
                  Authorization to which the Company or any of its Subsidiaries is a party or by
                  which the Company or any of its Subsidiaries is bound; or
          (iv)    result in the creation or imposition of any lien upon any of the properties or assets
                  of the Company or any of its Subsidiaries;

          with such exceptions, in the case of clauses (ii) and (iii) as would not be reasonably
          expected to have, individually or in the aggregate, a Material Adverse Effect.

    (g)   Third Party Consents. Except as contemplated in this Agreement, no consent, waiver or
          approval from other parties to the Material Contracts is (i) required to be obtained by the
          Company or its Subsidiaries in connection with the execution, delivery and performance
          by the Company of this Agreement or the consummation of the Arrangement, or (ii)
          required in order to maintain the Material Contracts in full force and effect immediately
          upon the consummation of the Arrangement, except for such consents, the absence of
          which would not be reasonably expected to have, individually or in the aggregate, a
          Material Adverse Effect.
    (h)   Capitalization.

          (i)     The authorized capital of the Company consists of 5,800,000 Class A Company
                  Shares and of 2,600,000 Class B Company Shares. As of the date of this
                  Agreement, there were 5,800,000 Class A Company Shares and 2,600,000 Class B
                  Company Shares issued and outstanding.
          (ii)    As of the elate of this Agreement, there were US$340,208.24 in SAFEs issued by
                  the Company.

          (iii)   There are no issued and outstanding or authorized options, equity-based awards,
                  warrants, calls, conversion, pre-emptive, redemption, repurchase, stock
                  appreciation or other rights, or any other agreements, arrangements, instruments or
                  commitments of any kind that obligate the Company or any of its Subsidiaries to,
                  directly or indirectly, issue or sell any securities of the Company or any of its


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                   Subsidiaries, or give any Person a right to subscribe for or acquire any securities of
                   the Company or any of its Subsidiaries.

           (iv)    Other than the Class A Company Shares, there are no securities or other instruments
                   or obligations of the Company or any of its Subsidiaries that carry (or which is
                   convertible into, or exchangeable for, securities having) the right to vote generally
                   with the Company Shareholders on any matter.

           (v)    All dividends or distributions on the securities of the Company or any of its
                  Subsidiaries that have been declared or authorized have been paid in full.

           (vi)   All outstanding securities of the Company or any of its Subsidiaries have been
                  issued in material compliance with all applicable Laws.

    (i)   Shareholders and Similar Agreements. None of the Company or any of its Subsidiaries
          is a party to any unanimous shareholders agreement, shareholder agreement, pooling,
          voting or other similar arrangement or agreement relating to the ownership or voting of
          any securities of the Company or any of its Subsidiaries, or pursuant to which any Person
          may have any right or claim in connection with any existing or past equity interest in the
          Company. To the knowledge of the Company or any of its Subsidiaries, there are no
          irrevocable proxies or voting Contracts with respect to any securities issued by the
          Company or any of its Subsidiaries, other than the Support Agreements.
    (j)   Subsidiaries.

          (i)     The Company is, directly or indirectly, the registered and beneficial owner of all of
                  the outstanding shares or other equity interests of its sole Subsidiary, CARE BY
                  CALLINGDR, LLC, free and clear of any Liens (other than Pem1itted Liens), and
                  all such shares or other equity interests so owned by the Company have been duly
                  authorized and validly issued as fully paid and non-assessable, as the case may be,
                  in material compliance with all applicable Laws, and no such shares or other equity
                  interests have been issued in violation of any pre-emptive or similar rights.

          (ii)    Neither the Company nor its Subsidiaries, beneficially or of record, owns any
                  equity interest of any kind in any other Person.

    (k)   Auditors. The Company's current auditors are independent with respect to the Company
          within the meaning of the rules of professional conduct applicable to auditors in the United
          States of American and there has never been a "reportable event" within the meaning of
          the Public Company Accounting Oversight Board ("PCAOB") with the current auditors of
          the Company.

    (I)   Financial Statements.

          (i)     The Company's audited annual consolidated financial statements (including any of
                  the notes or schedules thereto, the auditor's report thereon and the related
                  management's discussion and analysis) for the year ended December 31, 2019 and
                  20 I 8, and the Company's interim unaudited consolidated financial statements
                  (including any of the notes or Schedules thereto) for the nine month period ended
                  September 30, 2020, were prepared in accordance with generally accepted auditing


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                    standards ("GAAS") created by The Auditing Standarcls Board of the American
                    Institute of Certified Public Accountants and applicable Laws and fairly present, in
                    all material respects, the consolidated financial position of the Company and its
                    Subsidiaries at the respective dates thereof and the consolidated results of the
                    Company's operations and cash flows for the periods indicated therein (except as
                    may be expressly indicated in the notes to such financial statements). The Company
                    does not intend to correct or restate, nor, to the knowledge of the Company, is there
                    any basis for any correction or restatement of, any aspect of the Company's
                    financial statements. There are no, nor are there any commitments to become party
                    to, any off-balance sheet transaction, arrangement, obligation (including contingent
                    obligations) or other similar relationships of the Company or any of its Subsidiaries
                    with unconsolidated entities or other Persons.

            (ii)    The financial books, records and accounts of the Company and each of its
                    Subsidiaries: (a) have been maintained in accordance with commercially
                    reasonable business practices in all material respects; (b) are stated in reasonable
                    detail; (c) accurately and fairly reflect all the material transactions, acquisitions and
                    dispositions of the Company and its Subsidiaries; and (d) accurately and fairly
                    reflect the basis of the Company's financial statements.

    (111)    Internal Controls and Financial Reporting. The Company has (i) designed disclosure
            controls and procedures to provide reasonable assurance that material information relating
            to the Company and its Subsidiaries is made known to the Chief Executive Officer and
            Chief Financial Officer of Company on a timely basis, particularly during the periods in
            which the annual or interim filings are being prepared; (ii) designed internal controls over
            financial reporting to provide reasonable assurance regarding the reliability of financial
            reporting and the preparation of financial statements for external purposes in accordance
            with IFRS and U.S. PCAOB GAAS; (iii) has evaluated the effectiveness of the Company's
            disclosure controls and procedures and has disclosed to Telecure its conclusions about the
            effectiveness of its disclosure controls and procedures; and (iv) has evaluated the
            effectiveness of the Company's internal control over financial reporting and has disclosed
            to Telecure its conclusions about the effectiveness of internal control over financial
            reporting and, if applicable, the necessary disclosure relating to any material weaknesses.
            To the knowledge of the Company, as of the date of this Agreement:

            (i)    there are no material weaknesses in, the internal controls over financial reporting
                   of the Company that could reasonably be expected to adversely affect the
                   Company's ability to record, process, summarize and report financial information;
                   and

            (ii)   there is and has been no fraud, whether or not material, involving management or
                   any other employees who have a significant role in the internal control over
                   financial reporting of the Company. Since December 3 I, 2019, the Company has
                   received no: (A) complaints from any source regarding accounting, internal
                   accounting controls or auditing matters; or (B) expressions of concern from
                   employees of the Company regarding questionable accounting or auditing matters.




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     (n)   Absence of Undisclosed Liabilities. Except as disclosed Section (n) of the Company
           Disclosure Letter, there are no liabilities or obligations of the Company or any of its
           Subsidiaries of any kind whatsoever, whether accrued, contingent, absolute, detem1ined,
           determinable or otherwise, other than liabilities or obligations: (i) disclosed in the
           Company's unaudited consolidated financial statements as at September 30, 2020; (ii)
           incurred in the ordinary course of business since September 30, 2020; (iii) incurred in
           connection with this Agreement; or (iv) that would not be reasonably expected to have,
           individually or in the aggregate, a Material Adverse Effect.
    (o)    Absence of Certain Changes or Events. Since December 31, 2019, other than the
           transactions contemplated in this Agreement, the business of the Company and its
           Subsidiaries has been conducted only in the ordinary course of business and there has not
           been any event, occurrence, fact, effect or circumstance that has had or would reasonably
           be expected to have, individually or in the aggregate, a Material Adverse Effect.
    (p)    Books and Records. All accounting and financial books and records of the Company and
           its Subsidiaries have been maintained in accordance with sound business practices.
    (q)    Compliance with Laws. The Company and its Subsidiaries is and has been in compliance
           with applicable Laws and, to the knowledge of the Company, none of the Company or any
           of its Subsidiaries is not under any investigation with respect to, has been charged or
           threatened to be charged with, or has received notice of, any violation or potential violation
           of any applicable Laws, except for failures to comply or violations that have not had or
           would not be reasonably expected to have, individually or in the aggregate, a Material
           Adverse Effect.
    (r)    Licences and Authorizations. Except as would not be reasonably expected to have,
           individually or in the aggregate, a Material Adverse Effect: (i) all Authorizations which are
           necessary for the Company and its Subsidiaries to own its assets or conduct its business as
           presently owned or conducted have been obtained and are in full force and effect in
           accordance with their terms; (ii) the Company and its Subsidiaries has complied with all
           such Authorizations and are not in breach or default under any such Authorizations; (iii)
           the Company and its Subsidiaries has not received written, or to the knowledge of the
           Company, other notice, of any alleged breach of or alleged default under any such
           Authorization or of any intention of any Governmental Entity to revoke or not renew any
           such Authorizations; and (iv) no Proceedings are pending or, to the knowledge of the
           Company, threatened which could reasonably be expected to result in the revocation of
           such Authorizations.
    (s)    Material Contracts. Except as would not be reasonably expected to have, individually or
           in the aggregate, a Material Adverse Effect: (i) each Material Contract is legal, valid and
           binding and in full force and effect and is enforceable by the Company or a Subsidiary, as
           applicable. in accordance with its tem1s subject only to any limitation under bankruptcy,
           insolvency or other Laws affecting the enforcement of creditors' rights generally and the
           discretion that a court may exercise in the granting of equitable remedies such as specific
           perfonnance and injunction; (ii) the Company and its Subsidiaries, as applicable, has
           perfonned the obligations required to be perforrned by the Company or its Subsidiaries, as
           applicable, under each Material Contract (iii) none of the Company is not in breach or



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          default under any Material Contract nor does the Company have knowledge of any
          condition that with the passage of time or the giving of notice or both would result in such
          a breach or default; and (iv) as of the elate of this Agreement, none of the Company or any
          of its Subsidiaries does not know of, or has received any notice (whether written or oral)
          of, any breach, default, cancellation, termination or non-renewal under any Material
          Contract by any party to a Material Contract. Section (s) of the Company Disclosure Letter
          sets out a complete and accurate list of all Material Contracts as of the date of this
          Agreement. Except as prohibited, true and complete copies of the Material Contracts have
          been disclosed in the Data Room and no Material Contract has, since such disclosure, been
          modified, rescinded or tem1inatecl.

    (t)   Litigation. There are no claims, actions, suits, arbitrations, inquiries, investigations or
          Proceedings pending or, to the knowledge of the Company, threatened against or relating
          to the Company or any of its Subsidiaries, the business of the Company or any of its
          Subsidiaries or affecting any of their respective current or former properties or assets by or
          before any Governmental Entity that, if determined adverse to the interests of the Company
          or its Subsidiaries would have, or be reasonably expected to have, a Material Adverse
          Effect or would restrain, enjoin or otherwise prohibit or delay or otherwise adversely affect
          the consummation of the Arrangement, nor, to the knowledge of the Company, are there
          any events or circumstances which could reasonably be expected to give rise to any such
          claim, action, suit, arbitration, inquiry, investigation or Proceeding.

    (u)   United States Securities Law Matters.

          (i)     The Company does not have, nor is it required to have, any class of securities
                  registered under the U.S. Exchange A ct, nor is the Company subject to any reporting
                  obligation (whether active or suspended) pursuant to Section 15(d) of the U.S.
                  EYchange Act.

          (ii)    The Company is not, and has never been, subject to any requirement to register any
                  class of its equity securities pursuant to Section l 2(g) of the U.S. Exchange Act,
                  and is not an investment company registered or required to be registered under the
                  United States Investment Company Act of 1940.

          (iii)   The Company is in compliance, in all material respects, with all applicable
                  securities laws and there are no current, pending or, to the knowledge of the
                  Company, threatened Proceedings before any securities regulatory authorities or
                  other Governmental Entity relating to any alleged noncompliance with any
                  securities laws.

          (iv)    The Company has filed all documents required to be filed by it in accordance with
                  securities laws with the applicable securities regulatory authorities. The Company
                  has timely filed or furnished all filings required to be filed or furnished by the
                  Company with any Governmental Entity. Each of the Company's filing complied
                  as filed in all material respects with securities laws and did not, as of the date filed
                  (or, if amended or superseded by a subsequent filing prior to the date of this
                  Agreement, on the date of such filing), contain any Misrepresentation. The
                  Company has not filed any confidential material change report which at the date of
                  this Agreement remains confidential.


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     (v)   Related Party Transactions. Neither the Company nor any of its Subsidiaries is not
           indebted to any director, officer, employee or agent of, or independent contractor to, the
           Company or any of its Subsidiaries or any of their respective affiliates or associates (except
           for amounts due in the ordi1rnry course of business as salaries, bonuses, directors' fees or
           the reimbursement of ordinary course expenses). There are no Contracts (other than
           employment arrangements, including grants of security-based compensation
           arrangements) with, or advances, loans, guarantees, liabilities or other obligations to, on
           behalf or for the benefit of, any shareholder, officer or director of the Company or any of
           its Subsidiaries, or any of their respective affiliates or associates.

    (w)    Money Laundering Laws. The operations of the Company and its Subsidiaries are and
           have been conducted at all times in material compliance with applicable financial
           recordkeeping and reporting requirements of all applicable money laundering statutes of
           all applicable jurisdictions, the rules and regulations thereunder and any related or similar
           rules, regulations or guidelines, issued, administered or enforced by any applicable
           Governmental Entity (collectively, "Money Laundering Laws") and no action, suit or
           Proceeding by or before any regulatory authority involving the Company or any of its
           Subsidiaries with respect to the Money Laundering Laws is pending or, to the knowledge
           of the Company, threatened.
    (x)    Real Property.

           (i)     The Company and its Subsidiaries do not own, nor have they ever owned, any real
                   property.

           (ii)    The Data Room contains complete and accurate copies of all Company Leases,
                   including all amendments, modifications, supplements.

           (iii)   With respect to all Company leased real property:

                   (A)    each Company Lease in respect thereof is in good standing, legal, valid,
                          binding and in full force and effect and is a legal, valid, binding obligation
                          of, and is enforceable against, each other party thereto in accordance with
                          its tenns subject to any limitation under bankruptcy, insolvency or other
                          Law affecting the enforcement of creditors' rights generally and the
                          discretion that a court may exercise in the granting of equitable remedies,
                          such as specific performance and injunction;

                   (B)    there is no event of breach or default, or any event which, with the giving
                          of notice, the lapse of time or both, would become an event of default, under
                          any such Company Lease and, to the knowledge of the Company, none of
                          the Company or any of its Subsidiaries has received or delivered any notice
                          of any material breach of, or default under, any such Company Lease; and

                   (C)    to the knowledge of the Company, there is no breach of or default under,
                          any such Company Lease by any other party thereto.
    (y)    Intellectual Property.




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          (i)      Except as would not be reasonably expected to have, individually or in the
                  aggregate, a Material Adverse Effect: (i) the Company and its Subsidiaries, as
                  applicable, owns or possesses, or has a licence to or otherwise has the right to use,
                  all Intellectual Property that is material and necessary for the conduct of its business
                  as presently conducted (collectively, the "Intellectual Property Rights"); (ii) all
                  such Intellectual Property Rights that are owned by the Company and its
                  Subsidiaries ("Owned Intellectual Property Rights") are valid and enforceable
                  subject only to any limitation under bankruptcy, insolvency or other Law affecting
                  the enforcement of creditors' rights generally and the discretion that a court may
                  exercise in the granting of equitable remedies, such as specific perfonnance and
                  injunction, and to the knowledge of the Company, do not infringe in any material
                  way upon the rights of others; (iii) to the knowledge of the Company, no third party
                  is infringing upon or has misappropriated the Intellectual Property Rights owned or
                  licensed by the Company or its Subsidiaries; and (iv) no person has challenged the
                  Company's ownership of the Owned Intellectual Property Rights.

          (ii)    Section (y)(ii) of the Company Disclosure Letter contains a complete and accurate
                  list of all Intellectual Property that is registered, umegistered but material to the
                  conduct of the business of the Company as presently conducted, or for which an
                  application has been made, and that is owned, licensed or used by the Company for
                  the carrying on of the business of the Company as presently conducted by it.

          (iii)   The Company is exclusively entitled to possess, use ( other than license rights
                  f,>Tanted in the ordinary course), transfer, license and exploit the Owned Intellectual
                  Property Rights without the consent or permission of or payment to any Person, in
                  any jurisdiction. The Company is not bound by, and none of the Owned Intellectual
                  Property Rights are subject to, any Contract that in any way limits or restricts the
                  ability of the Company to use, exploit, assert, or enforce any such Owned
                  Intellectual Property Rights anywhere in the world.

          (iv)    The Company has taken all reasonable measures, in accordance with sound industry
                  practices, to protect and maintain the confidential information and the trade secrets
                  of the Company, and to protect the confidential information and trade secrets of
                  others who have provided same to the Company in confidence. Without limiting
                  the generality of the foregoing, all developers of h1tellectual Property have
                  executed written Contracts with the Company which: (A) protect the confidentiality
                  of the confidential information and trade secrets of the Company, (B) effect the full
                  and irrevocable assignment without additional consideration to the Company, of all
                  Intellectual Property conceived or reduced to practice by them for the Company,
                  and (C) provide that such developments of Intellectual Property have waived all
                  their moral rights in such Intellectual Property Rights in favour of the Company.

         (v)      No Governmental Authority has the right to prohibit or restrict the transfer of the
                  Owned Intellectual Property Rights.

         (vi)     The Company has all rights necessary to use all copies of all software currently
                  used by the Company (the "Software"). None of the Software that forms part of
                  the Owned Intellectual Property Rights contains Open Source Software, Third-



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                   Party Intellectual Property, or any disabling code or malicious code or is in the
                   public domain. All Software that forms part of the Owned Intellectual Property
                   Rights: (i) is in the possession, custody and control of the Company, along with all
                   hardware and Software tools, documentation, and other materials necessary to
                   exploit such Software in the ordinary course, and such Software and related tools
                   and materials will remain so immediately after the Effective Date; (ii) has been
                   catalogued and documented as reasonably necessary to enable competently skilled
                  programmers and engineers to use, update and enhance such items by readily using
                  the existing source code, engineering drawings, machine settings and
                   documentation; and (iii) is stored in electronic form, with up-to-date appropriately
                  catalogued versions, in at least two separate geographical locations for effective
                  disaster recovery, (iv) is free of material defects and errors, and functions in
                  conformity with the documentation therefor. No Software that forms part of the
                  Owned Intellectual Property Rights has been presented or disclosed in source code
                  fom1 to any Person (including current and former employees, directors or officers
                  of the Company) except under a written confidentiality agreement or employment
                  agreement containing confidentiality obligations. There has been no material
                  security breach relating to, no material violation of any security policy regarding,
                  and no unauthorized access to, any of the Software that fonns part of the Intellectual
                  Property Rights. The source code for any Software forming part of the Owned
                  Intellectual Property Rights has not been placed into escrow with third parties and
                  there have been no releases of the source code to such Software. Except for support
                  services provided pursuant to Contracts entered into in the ordinary course, the
                  Company is not obligated to support or maintain any Software. The Company does
                  not use or rely on any Person to provide outsourcing, software-as-a-service,
                  hosting, data management or cloud computing services that are material to the
                  Business as presently conducted by it.
          (vii)    The Company has adopted, maintained and enforced commercially reasonable
                  policies regarding use, security and integrity of the computer systems by its
                   employees and contractors of the Company (the "Computer Systems"). The
                  Computer Systems are free from disabling code and malicious code, and the
                  Company has taken all commercially reasonable steps and implemented all
                  procedures necessary to ensure, so far as commercially reasonably possible, that on
                  the Effective Date such systems are free from disabling code and malicious code.
                  The Company has in place appropriate back-up systems and disaster recovery
                  plans, procedures, strategies and facilities necessary to ensure the continuing
                  availability of the functionalities provided by the Computer Systems in all material
                  respects and continued services to the Company's customers in accordance with
                  their customer agreements, in the event of any malfonction, security incident or
                  other form of disaster affecting the Computer Systems, and have taken
                  commercially reasonable steps and implemented commercially reasonable
                  procedures appropriate to safeguard the Computer Systems and prevent
                  unauthorized access thereto. The Company acts and has acted in material
                  compliance with all systems, plans, procedures, strategies and facilities and has
                  taken commercially reasonable steps to test such systems, plans, procedures,
                  strategies and facilities on a periodic basis, and such systems, plans, procedures,


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                  strategies and facilities have been proven effective upon such testing in all material
                  respects. The Company is the lawful owner or licensee of all Software or systems
                  required to operate the Computer Systems.
    (z)   Employees.

          (i)     Section (z)(i) of the Company Disclosure Letter contains a list of all Persons who
                  are employees, independent contractors or consultants of the Company and its
                  Subsidiaries as of the date hereof, including any employee who is on a leave of
                  absence of any nature, paid or unpaid, authorized or unauthorized.

          (ii)    All written Contracts with the directors, Company Employees and independent
                  contractors or consultants of the Company and its Subsidiaries have been
                  administered in accordance with their tenns, in all material respects, and trne,
                  correct and complete copies of each such Contract bas been provided in the Data
                  Room.

          (iii)   All amounts due or accrued clue for all salary, wages, bonuses, incentive
                  compensation, deferred compensation, commissions, vacation with pay, sick days
                  and benefits under Employee Plans and other similar accruals have either been paid
                  or are accrued and accurately reflected in all material respects in the books and
                  records of the Company and its Subsidiaries.

          (iv)    The Company and its Subsidiaries are in compliance in all material respects with
                  applicable terms and conditions of employment and all Law respecting labour and
                  employment, including pay equity, employment standards, labour, human rights,
                  accessibility, privacy, workers' compensation and occupational health and safety,
                  and there are no material Proceedings with respect to any such Law relating to the
                  Company or any of its Subsidiaries in progress or pending or, to the knowledge of
                  the Company, threatened.

          (v)     No Company Employee has any agreement in relation to any employee's
                  termination, length ofnotice, pay in lieu ofnotice, severance,job security or similar
                  provisions ( other than such as results by Law from the employment of an employee
                  without an agreement as to notice or severance) nor are there any change of control
                  payments, golden parachutes, severance payments, retention payments, Contracts
                  or other agreements with current or fonner Company Employees providing for cash
                  or other compensation or benefits upon the consummation of, or relating to, the
                  Arrangement or any other transaction contemplated by this Agreement, including a
                  change of control of the Company or any of its Subsidiaries.

          (vi)    There are no material outstanding assessments, penalties, fines, Liens, charges,
                  surcharges or other amounts clue or owing pursuant to any workers' compensation
                  Laws owing by the Company or any of its Subsidiaries, and none of the Company
                  or any of its Subsidiaries have been assessed or reassessed in any material respect
                  under such Laws during the past three years. No material Proceedings involving the
                  Company or any of its Subsidiaries is currently in progress or pending, or, to the
                  knowledge of Company, threatened pursuant to any workers' compensation Laws.
                  There are no Proceedings currently in progress or pending, or, to the knowledge of


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                    the Company, threatened that may materially adversely affect the accident cost
                    experience in respect of the Company and its Subsidiaries.
            (vii)   There are no material charges pending with respect to the Company or any of its
                    Subsidiaries under applicable occupational health and safety Laws ("OHSA"), and
                    there are no appeals of any Orders applicable to the Company or any of its
                    Subsidiaries currently outstanding under OHSA. The Company and each of its
                    Subsidiaries have complied in all material respects with the terms and conditions
                    of any Orders issued under OHSA and have developed and implemented policies
                    and training for Company Employees, including with respect to harassment, OHSA
                    and accessibility for people with disabilities requirements.
           (viii)   All individuals who provide services to the Company or, to the knowledge of the
                    Company, any of its Subsidiaries, have at all times been accurately classified by
                    the Company and its Subsidiaries with respect to such services as an employee or
                    a non-employee for all purposes, including wages, payroll taxes and participation,
                    and benefit accrual under each Employee Plan.
           (ix)     No union has bargaining rights in respect of the Company Employees or any Person
                    providing on-site services in respect of the business of the Company or its
                    Subsidiaries. None of the Company or any of its Subsidiaries is a party to or bound
                    by, either directly or indirectly, voluntarily or by operation of Law, any collective
                    bargaining agreement. There are no outstanding or, to the knowledge of the
                    Company, threatened, unfair labour practices, complaints or applications relating
                    to any union, including any Proceedings that could result in the certification of a
                    union as a bargaining agent for any Company Employees, and there have been no
                    such Proceedings within the last five (5) years. To the knowledge of the Company,
                    there are no threatened or apparent union organizing activities involving any
                    Company Employees.
           (x)      To the Company's knowledge, in the last five (5) years: (a) no allegations of sexual
                    harassment or sexual misconduct have been made involving any current or former
                    director or Company Employee or independent contractor of the Company or any
                    of its Subsidiaries and (b) none of the Company or any of its Subsidiaries has not
                    entered into any settlement agreements related to allegations of sexual harassment
                    or sexual misconduct by any current or former director or Company Employee or
                    independent contractor of the Company.
    (aa)   Employee Plans.

           (i)      The Data Room contains complete and accurate copies of all Employee Plans and,
                    to the extent applicable, (a) each trust agreement, Contract, insurance or group
                    annuity Contract, letter of credit or other funding Contract relating to any Employee
                    Plan and (b) all material correspondence to or from any Governmental Entity in the
                    last five (5) years relating to any Employee Plan.
           (ii)     Only Company Employees and directors of the Company and its Subsidiaries
                    participate in the Employee Plans, and no Persons other than the Company or its
                    Subsidiaries is a participating employer under any Employee Plan.


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            (iii)   Except as required by the operation of the Plan of Arrangement, neither the
                    execution of this Agreement nor the consummation of the Arrangement or any of
                    the other transactions contemplated under this Agreement will increase the amount
                    payable under, result in a default under or result in any other material obligation
                    pursuant to any Employee Plan or individual Contract with any Company
                    Employee.
            (iv)    Each Employee Plan is and has been, in all material respects, established, registered
                    (to the extent required), qualified (to the extent required), funded and administered
                    in accordance with Law and in accordance with their terms. To the knowledge of
                    the Company, no fact or circumstance exists that could adversely affect the
                    registered or qualified status of any such Employee Plan.
           (v)      No event has occurred and no condition or circumstance exists that has resulted in,
                    or could reasonably be expected to result in, any Employee Plan being ordered, or
                    required to be, terminated or wound up in whole or in part, having its registration
                    under Law refused or revoked, being placed under the administration of any trustee,
                    receiver or Governmental Entity, or the Company or any of its Subsidiaries being
                    required to pay any Taxes, penalties, payments or levies under Law that are material
                    in the aggregate.
           (vi)     All contributions or premiums required to be made or paid by the Company or any
                    of its Subsidiaries, as the case may be, under the terms of each Employee Plan or
                    by Law have been duly made in accordance with the tenns of such Employee Plan
                    and in accordance with Law.
           (vii)    None of the Company nor any of its Subsidiaries have any material liability or
                    obligation for any assessment, excise or penalty Taxes with respect to any
                    Employee Plan and, to the knowledge of the Company, no condition or
                    circumstances exist that would give rise to any such liability or obligation.
           (viii)   To the knowledge of the Company:
                    (A)    no Employee Plan is subject to any Proceeding initiated by any
                           Governmental Entity, or by any other Person and
                    (B)    there exists no state of facts which, after notice or lapse of time or both,
                           would reasonably be expected to give rise to any Proceeding to affect the
                           registration or qualification of any Employee Plan required to be registered
                           or qualified.
    (bb)   Taxes.

           (i)      The Company and each of its Subsidiaries have duly and timely filed with the
                    appropriate Governmental Entity all material Tax Returns required by Law to be
                    filed by them prior to the date hereof, and all such Tax Returns are complete and
                    correct in all material respects.
           (ii)     The Company and each of its Subsidiaries has paid as required by Law on a timely
                    basis all material Taxes that are due and payable (including instalments required by


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                   Law on account of Taxes for the current year) and all assessments and
                  reassessments of material Taxes due and payable by them, other than Taxes that are
                  being or have been contested in good faith and in respect of which adequate
                  reserves have been provided in the most recently published consolidated financial
                  statements of the Company (where required in accordance with applicable
                  accounting standards). The Company and its Subsidiaries have provided adequate
                  accruals in accordance with their books and records and in the most recently
                  published consolidated financial statements of the Company for any Taxes of the
                  Company and each of its Subsidiaries for the period covered by such financial
                  statements that have not been paid whether or not shown as being due in any Tax
                  Returns. Since the date of publication of the most recent consolidated financial
                  statements of the Company, no liability in respect of material Taxes not reflected
                  in such financial statements or otherwise provided for has been assessed, proposed
                  to be assessed, incurred or accrued.
          (iii)   The Company and each of its Subsidiaries has withheld or collected all amounts
                  required by Law to be withheld or collected by them on account of Taxes (including
                  Taxes and other amounts required to be withheld by them in respect of any amount
                  paid or credited or deemed to be paid or credited by them to or for the benefit of
                  any Person, and all amounts on account of any sales, use or transfer Taxes,
                  including goods and services, harmonized sales, provincial and territorial Taxes,
                  and state and local Taxes required by Law to be collected by them) and have
                  remitted all s11ch amounts to the appropriate Governmental Entity when required
                  by Law to do so.

          (iv)    No claims, suits, audits, assessments, reassessments, deficiencies, litigation,
                  proposed adjustments or other matters in controversy exist or have been asserted or
                  threatened with respect to material Taxes of the Company or any of its Subsidiaries
                  and none of the Company nor any of its Subsidiaries is not a party to any material
                  action or Proceeding for assessment or collection of Taxes, and no such event has
                  been asserted or threatened against the Company nor any of its Subsidiaries or any
                  of their respective assets.
          (v)     No claim has been made by any Governmental Entity in a jurisdiction where the
                  Company or any of its Subsidiaries do not file Tax Returns that the Company or
                  any of its Subsidiaries is or may be subject to Tax by that jurisdiction.
          (vi)    There are no Liens with respect to Taxes upon any of the assets of the Company or
                  any of its Subsidiaries.

          (vii)   The Company or any of its Subsidiaries are not bound by, is party to or has any
                  obligation under any Tax sharing, allocation, indemnification, or similar agreement
                  with respect to Taxes that could give rise to a payment or indemnification obligation
                  (other than agreements among the Company and its Subsidiaries).
         (viii)   There are no outstanding agreements, waivers or objections extending the statutory
                  period or providing for any extension of time with respect to the assessment or
                  reassessment of any material Taxes or of the payment or remittance of material
                  Taxes by the Company or any of its Subsidiaries.


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    (cc)    Anti-Terrorism Laws. None of the Company, its Subsidiaries, or, to the knowledge of the
            Company, any Representative of the Company or any of its Subsidiaries, has not been and
            is not currently subject to any economic or financial sanctions or trade embargoes imposed,
            authorized, administered or enforced by any Governmental Entity (including the
            Government of Canada, the Office of Foreign Assets Control of the U.S. Treasury
            Department (including, but not limited to, the designation as a "specially designated
            national or blocked person" thereunder) or any other applicable sanctions authority) or
            other similar Laws (collectively "Sanctions"). The Company or any of its Subsidiaries
            have not received any notice alleging that the Company, any of its Subsidiaries or any
            representative of the Company or any of its Subsidiaries has violated any Sanctions and, to
            the knowledge of the Company, no condition or circumstances exist (including any
            ongoing Proceeding) that would form the basis for any such allegations.
    ( dd)   Corrupt Practices Legislation. None of the Company, its Subsidiaries, or, to the
            knowledge of the Company, any Representative of the Company, or any of its Subsidiaries,
            has taken, committed to take or been alleged to have taken any action that would cause the
            Company or any of its Subsidiaries to be in violation of the Foreign Corrupt Practices Act
            of 1977 (United States) or similar Laws (the "Corrupt Practices Legislation"). None of
            the Company or any of its Subsidiaries has received any notice alleging that the Company,
            any of its Subsidiaries or any representative of the Company or any of its Subsidiaries has
            violated any Corrupt Practices Legislation and, to the knowledge of the Company, no
            condition or circumstances exist (including any ongoing Proceeding) that would fonn the
            basis for any such allegations.
    ( ee)   Privacy.

            (i)     The Company and its Subsidiaries has always complied with all applicable Privacy
                    Laws;

            (ii)    the Company has a written policy that governs the collection, use and disclosure of
                    Personal Infom1ation, and the Company and its Subsidiaries are in compliance with
                    such policy;

            (iii)   there have not been, to the lmowledge of the Company, any:

                    (A)    losses or thefts of, or security breaches relating to, Personal Infom1ation in
                           the possession, custody or control of the Company or any of its Subsidiaries;

                    (B)    unauthorized access or unauthorized use of any Personal Infom1ation in the
                           possession, custody or control of the Company or any of its Subsidiaries;
                           and

                    (C)    improper disclosure of any Personal Information in the possession, custody
                           or control of the Company or any Subsidiary or any Person acting on their
                           behalf; and

            (iv)    to the knowledge of the Company, the Company or any of its Subsidiaries is not
                    under investigation for any violation of applicable Privacy Laws.




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           (v)     in the case of each of (i) through (iv) above, to the extent it would not result in a
                   Material Adverse Effect for the Company.
    (ff)   Anti-Spam. The Company and each of its Subsidiaries has, in all material respects,
           conducted its business in compliance with all applicable anti-spam legislation, including
           provisions relating to the sending of commercial electronic messages only with express or
           implied consent, within the meaning of such legislation, and with the prescribed contact
           information and unsubscribe mechanism, and retains records sufficient to demonstrate such
           compliance.
    (gg)    Insolvency. No act or Proceeding has been taken by or against the Company or any of its
            Subsidiaries in connection with the dissolution, liquidation, winding up, bankruptcy or
           reorganization of the Company or any of its Subsidiaries or for the appointment ofa trustee,
           receiver, manager or other administrator of the Company or any of its Subsidiaries or any
           of its properties or assets nor, to the knowledge of the Company, is any such act or
           Proceeding threatened. The Company (nor any of its Subsidiaries) has sought protection
           under the United States Bankruptcy Code (11 U.S.C. I 01 et al) or similar legislation
           applicable to the Company or its Subsidiaries. Neither the Company nor any of its
           Subsidiaries nor any of their respective properties or assets are subject to any outstanding
           judgment, Order, writ, injunction or decree that involves or may involve, or restricts or
           may restrict, the right or ability of the Company or any of its Subsidiaries to conduct its
           business in all material respects as it has been carried on prior to the date hereof, or that
           would reasonably be expected to prevent or significantly impede or materially delay the
           completion of the Arrangement.
    (hh)   Restrictions on Business Activities. There is no agreement, judgment, injunction, order
           or decree binding upon the Company or any of its Subsidiaries that has or would reasonably
           be expected to have the effect of prohibiting, restricting or materially impairing any
           business practice of the Company or its Subsidiaries or the conduct of business by the
           Company or any of its Subsidiaries as currently conducted other than such agreements,
           judgments, injunction, Orders or decrees as would not be reasonably expected to have,
           individually or in the aggregate, a Material Adverse Effect.




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                                          Schedule D
                    Representations and Warranties of Telecure and Acquireco

    (a)   Organization and Qualification. Each ofTelecure, Acquireco and each of their respective
          Subsidiaries is a corporation or entity incorporated or organized, as applicable, validly
          existing under the Laws of the jurisdiction of its incorvoration, organization or formation,
          as applicable, and has the power and capacity to own, lease and operate its assets and
          properties and conduct its business as now owned and conducted. Each of Telecure,
          Acquireco and each of their respective Subsidiaries is duly qualified, licensed or registered
          to carry on business in each jurisdiction in which its assets are located or it conducts
          business, except where the failure to be so qualified, licensed or registered would not be
          reasonably expected to have, individually or in the aggregate, a Material Adverse Effect.
          No steps or Proceedings have been taken by any Person, voluntary or otherwise, requiring
          or authorizing the dissolution or winding up of Telecure, Acquireco or any of their
          Subsidiaries.
    (b)   Corporate Authorization. Each ofTelecure and Acquireco has the corporate power and
          capacity to enter into and perfonn its obligations under this Agreement. The execution,
          delivery and perfonnance by each ofTelecure and Acquireco of its obligations under this
          Agreement have been duly authorized by all necessary corporate action on the part of each
          of Telecure and Acquireco and no other corporate proceedings on the part of such Parties
          are necessary to authorize this Agreement or the consummation of the Arrangement and
          the other transactions contemplated hereby.
    (c)   Directors' Approvals. Telecure Board has approved the entering into of this Agreement.

    (d)   Execution and Binding Obligation. This Agreement has been duly executed and
          delivered by each of Telecure and Acquireco and constitutes a legal, valid and binding
          agreement of each ofTelecure and Acquireco enforceable against it in accordance with its
          tem1s subject only to any limitation on bankruptcy, insolvency or other Laws affecting the
          enforcement of creditors' rights generally and the discretion that a court may exercise in
          the granting of equitable remedies such as specific performance and injunction.
    (e)   Governmental Authorization. The execution, delivery and perfomrnnce by each of
          Telecure and Acquireco of their obligations under this Agreement and the consummation
          of the Arrangement do not require any other Authorization or other action by or in respect
          of, or filing with, or notification to, any Governmental Entity other than: (i) the Interim
          Order; (ii) the Final Order; (iii) filings with the Registrar of Companies under the BCBCA;
          (iv) any required actions or filings with the Exchange and any applicable securities
          regulatory authority; and (v) any consents, waivers, approvals or actions or filings or
          notifications, the absence of which would not reasonably be expected to have, individually
          or in the aggregate, a Material Adverse Effect.
    (f)   Non-contravention. The execution, delivery and performance by each of Telecure and
          Acquireco of its obligations under this Agreement and the consummation of the
          Arrangement do not and will not (or would not with the giving of notice, the lapse of time
          or the happening of any other event or condition):



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           (i)    contravene, conflict with, or result in any violation or breach of any of the articles,
                  by-laws or constating documents ofTelecure or Acquireco;

           (ii)   assuming compliance with all matters referred to in this subsection (f), contravene,
                  conflict with or result in a violation or breach of any Law applicable to Telecure or
                  Acquireco; or

          (iii)   allow any Person to exercise any rights, require any consent ornotice under or other
                  action by any Person, or constitute a default under, or cause or permit the
                  termination, cancellation, acceleration or other change of any right or obligation or
                  the loss of any benefit to which Telecure or any of its Subsidiaries is entitled
                  (including by triggering any rights of first refusal or first offer or other restrictions
                  or limitations) under any Contract or any Authorization to which Telecure,
                  Acquireco, or any of their Subsidiaries is a party or by which Telecure, Acguireco,
                  or any of its Subsidiaries is bound;

          with such exceptions in the case of clauses (ii) and (iii) as would not be reasonably expected
          to have, individually or in the aggregate, a Material Adverse Effect.

    (g)   Third Party Consents. Except as contemplated in this Agreement, no consent, waiver or
          approval from other parties to the Material Contracts is (i) required to be obtained by
          Telecure, Acquireco, or their Subsidiaries in connection with the execution, delivery and
          performance by Telecure of this Agreement or the consummation of the Arrangement, or
          (ii) required in order to maintain the Material Contracts in full force and effect immediately
          upon the consummation of the Arrangement, except for such consents, the absence of
          which would not be reasonably expected to have, individually or in the aggregate, a
          Material Adverse Effect.
    (h)   Capitalization.

          (i)     The authorized capital of Telecure consists of an unlimited number of Telecure
                  Shares and an unlimited number of Class B Non-Voting shares. As of the date of
                  this Agreement, there were 1,015,444.45 Telecure Shares, no Class B Non-Voting
                  shares issued and outstanding, 25,000,000 special warrants, each ultimately
                  exchangeable for one Telecure Share, and an aggregate of 535,644 warrants, each
                  ultimately exercisable to acquire a Telecure Share.

          (ii)    Except as set forth in the Telecure Disclosure Letter, there are no issued and
                  outstanding or authorized options, equity-based awards, warrants, calls,
                  conversion, pre-emptive, redemption, repurchase, stock appreciation or other
                  rights, or any other agreements, arrangements, instruments or commitments of any
                  kind that obligate Telecure or any of its Subsidiaries to, directly or indirectly, issue
                  or sell any securities of Telecure or any of its Subsidiaries, or give any Person a
                  right to subscribe for or acquire any securities ofTelecure or any of its Subsidiaries.

          (iii)   All outstanding securities ofTelecure have been issued in material compliance with
                  all applicable Laws, including Securities Laws.




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          (iv)    The authorized capital of Acquireco consists ofan unlimited number of Acquireco
                  Shares. As of the date of this Agreement, there is one (1) Acquireco Shares issued
                  and outstanding.
          (v)     All outstanding Acquireco Shares have been issued in material compliance with all
                  applicable Laws, including Securities Laws.
          (vi)    The Consideration Shares to be issued pursuant to the Arrangement, upon issuance,
                  will be validly issued and outstanding as fully paid and non-assessable securities in
                  the capital ofTelecure.
    (i)   Telecure Assets. Except as set forth in the Telecure Disclosure Letter, the assets of
          Telecure consist of: (i) C$100,000 in cash; (ii) US$J00,000 promissory note receivable
          from MyApps Corp.; and (iii) and 1,500,000 common shares in CloudMD Software and
          Services (TSXV: DOC) (OTC: DOCRF).
    (j)   Business Conduct and Operations.
          (i)     Telecure does not conduct any business operations.
          (ii)    Acquireco was incorporated on December I 0, 2020 for the sole purpose of
                  completing the transactions contemplated by this Agreement and has not at any
                  time conducted any business operations.
    (k)   Su~sidiaries.
          (i)     Telecure is, directly or indirectly, the registered and beneficial owner of all of the
                  outstanding shares or other equity interests of each of its Subsidiaries (including
                  Acquireco), as set forth in the Telecure Disclosure Letter, free and clear of any
                  Liens (other than Permitted Liens), and all such shares or other equity interests so
                  owned by Telecure have been duly authorized and validly issued as fully paid and
                  non-assessable, as the case may be, in material compliance with all applicable
                  Laws, and no such shares or other equity interests have been issued in violation of
                  any pre-emptive or similar rights.
          (ii)    Neither Telecure nor its Subsidiaries, beneficially or of record, owns any equity
                  interest of any kind in any other Person.
          (iii)   Acquireco has no Subsidiaries.
    (])   Auditors. Telecure's current auditors are independent with respect to Telecure within the
          meaning of the rules of professional conduct applicable to auditors in Canada and there has
          never been a "reportable event" (within the meaning of NI 51-102) with the current auditors
          ofTelecure.
    (m)   Reporting Issuer Status and Securities Law Matters.
          (i)     Telecure is not a "reporting issuer" in any jurisdiction in Canada.
          (ii)    Telecure is in compliance, in all material respects, with all applicable Securities
                  Laws and there are no current, pending or, to the knowledge ofTelecure, threatened



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                  Proceedings before any securities regulatory authorities or other Governmental
                  Entity relating to any alleged noncompliance with any Securities Laws.
          (iii)   Telecure has filed all documents required to be filed by it in accordance with
                  Securities Laws with the applicable securities regulatory authorities. Telecure has
                  timely filed or furnished all filings required to be filed or furnished by Telecure
                  with any Governmental Entity. Each ofTelecure's filings complied as filed in all
                  material respects with Securities Laws and did not, as of the date filed (or, if
                  amended or superseded by a subsequent filing prior to the date of this Agreement,
                  on the date of such filing), contain any Misrepresentation. Telecure has not filed
                  any confidential material change report which at the date of this Agreement remains
                  confidential.
    (n)   Financial Statements.

          (i)     Telecure's audited annual financial statements (including any of the notes or
                  schedules thereto, the auditor's report thereon and the related management's
                  discussion and analysis) for the period ended December 31, 2019 and the period
                  from incorporation to December 31, 20 I 8 and the unaudited financial statements
                  (including any of the notes or Schedules thereto) for the nine month period ended
                  September 30, 2020, were prepared in accordance with IFRS and applicable Laws
                  and fairly present, in all material respects, the financial position ofTelecure and its
                  Subsidiaries at the respective dates thereof and the results ofTelecure's operations
                  and cash flows for the periods indicated therein (except as may be expressly
                  indicated in the notes to such financial statements). Telecure does not intend to
                  correct or restate, nor, to the knowledge of Telecure, is there any basis for any
                  correction or restatement of, any aspect of Telecure's financial statements. There
                  are no, nor are there any commitments to become party to, any off-balance sheet
                  transaction, arrangement, obligation (including contingent obligations) or other
                  similar relationships of Telecure or any of its Subsidiaries with unconsolidated
                  entities or other Persons.
          (ii)    The financial books, records and accounts of Telecure and each of its Subsidiaries:
                  (a) have been maintained in accordance with commercially reasonable business
                  practices in all material respects; (b) are stated in reasonable detail; (c) accurately
                  and fairly reflect all the material transactions, acquisitions and dispositions of
                  Telecure and its Subsidiaries; and (d) accurately and fairly reflect the basis of
                  Telecure's financial statements.
    (o)   Internal Controls and Financial Reporting. Telecure has (i) designed disclosure controls
          and procedures to provide reasonable assurance that material information relating to
          Telecure and its Subsidiaries is made known to the Chief Executive Officer and Chief
          Financial Officer of Telecure on a timely basis, particularly during the periods in which
          the annual or interim filings are being prepared; (ii) designed internal controls over
          financial reporting to provide reasonable assurance regarding the reliability of financial
          reporting and the preparation of financial statements for external purposes in accordance
          with IFRS; (iii) has evaluated the effectiveness of Telecure's disclosure controls and
          procedures; and (iv) has evaluated the effectiveness of Telecure's internal control over


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          financial reporting and, if applicable, the necessary disclosure relating to any material
          weaknesses. To the knowledge ofTelecure, as of the date of this Agreement:
          (i)     there are no material weaknesses in, the internal controls over financial reporting
                  ofTelecure that could reasonably be expected to adversely affect Telecure's ability
                  to record, process, summarize and report financial information; and

          (ii)    there is and has been no fraud, whether or not material, involving management or
                  any other employees who have a significant role in the internal control over
                  financial reporting of Telecure. Since December 31, 2019, Telecure has received
                  no: (x) complaints from any source regarding accounting, internal accounting
                  controls or auditing matters; or (y) expressions of concern from employees of
                  Telecure regarding questionable accounting or auditing matters.
    (p)   Absence of Undisclosed Liabilities. There are no liabilities or obligations ofTelecure or
          any of its Subsidiaries of any kind whatsoever, whether accrned, contingent, absolute,
          determined, detenninable or otherwise, other than liabilities or obligations: (i) disclosed in
          Telecure's unaudited financial statements as at September 30, 2020; (ii) incurred in the
          ordinary course of business since September 30, 2020; (iii) incurred in connection with this
          Agreement; or (iv) that would not be reasonably expected to have, individually or in the
          aggregate, a Material Adverse Effect.
    (q)   Absence of Certain Changes or Events. Since December 31, 2019, other than the
          transactions contemplated in this Agreement, the business ofTelecure and its Subsidiaries
          has been conducted only in the ordinary course of business and there has not been any
          event, occurrence, fact, effect or circumstance that bas had or would reasonably be
          expected to have, individually or in the aggregate, a Material Adverse Effect.
    (r)   Compliance with Laws. Telecure and each of its Subsidiaries is and has been in
          compliance with applicable Laws and, to the knowledge of Telecure, none of Telecure or
          any of its Subsidiaries is under any investigation with respect to, bas been charged or
          threatened to be charged with, or bas received notice of, any violation or potential violation
          of any applicable Laws, except for failures to comply or violations that have not had or
          would not be reasonably expected to have, individually or in the aggregate, a Material
          Adverse Effect.
    (s)   Licences and Authorizations. Except as would not be reasonably expected to have,
          individually orin the aggregate, a Material Adverse Effect: (i) all Authorizations which are
          necessary for Telecure and its Subsidiaries to own its assets or conduct its business as
          presently owned or conducted have been obtained and are in full force and effect in
          accordance with their tenns; (ii) Telecure and its Subsidiaries have complied with all such
          Authorizations and are not in breach or default under any such Authorizations; (iii)
          Telecure and its Subsidiaries have not received written, or to the knowledge of Telecure,
          other notice, of any alleged breach of or alleged default under any such Authorization or
          of any intention of any Governmental Entity to revoke or not renew any such
          Authorizations; and (iv) no Proceedings are pending or, to the knowledge of Telecure,
          threatened which could reasonably be expected to result in the revocation of such
          Authorizations.



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    (t)   Material Contracts. Except as would not be reasonably expected to have, individually or
          in the aggregate, a Material Adverse Effect: (i) each Material Contract is legal, valid and
          binding and in full force and effect and is enforceable by Telecure or a Subsidiary, as
          applicable, in accordance with its tem1s subject only to any limitation under bankruptcy,
          insolvency or other Laws affecting the enforcement of creditors' rights generally and the
          discretion that a court may exercise in the granting of equitable remedies such as specific
          perfomrnnce and injunction; (ii) Telecure and its Subsidiaries, as applicable, have
          perfom1ed the obligations required to be perfom1ed by Telecure or a Subsidiary, as
          applicable, under each Material Contract (iii) none ofTelecure or any of its Subsidiaries is
          in breach or default under any Material Contract nor does Telecure have knowledge of any
          condition that with the passage of time or the giving of notice or both would result in such
          a breach or default; and (iv) as of the date of this Agreement, none ofTelecure or any of
          its Subsidiaries knows of, or has received any notice (whether written or oral) of, any
          breach, default, cancellation, termination or non-renewal under any Material Contract by
          any party to a Material Contract. The Telecure Disclosure Letter sets out a complete and
          accurate list of all Material Contracts as of the date of this Agreement.
    (u)   Litigation. There are no claims, actions, suits, arbitrations, inquiries, investigations or
          Proceedings pending or, to the knowledge of Telecure, threatened against or relating to
          Telecure or any of its Subsidiaries, the business of Telecure of any of its Subsidiaries or
          affecting any of their respective current or former properties or assets by or before any
          Governmental Entity that, if detennined adverse to the interests of Telecure or its
          Subsidiaries would have, or be reasonably expected to have, a Material Adverse Effect or
          would restrain, enjoin or otherwise prohibit or delay or otherwise adversely affect the
          consummation of the Arrangement, nor, to the knowledge ofTelecure, are there any events
          or circumstances which could reasonably be expected to give rise to any such claim, action,
          suit, arbitration, inquiry, investigation or Proceeding.
    (v)   Related Party Transactions. Except as disclosed in the Telecure Disclosure Letter,
          neither Telecure nor any of its Subsidiaries is indebted to any director, officer, employee
          or agent of, or independent contractor to, Telecure or any of its Subsidiaries or any of their
          respective affiliates or associates (except for amounts due in the ordinary course of business
          as salaries, bonuses, directors' fees or the reimbursement of ordinary course expenses).
          There are no Contracts (other than employment arrangements) with, or advances, loans,
          guarantees, liabilities or other obligations to, on behalf or for the benefit of, any
          shareholder, officer or director of Telecure or any of its Subsidiaries, or any of their
          respective affiliates or associates.
    (w)   Restrictions on Business Activities. There is no agreement, jud;,=ent, injunction, order
          or decree binding upon Telecure or any of its Subsidiaries that has or would reasonably be
          expected to have the effect of prohibiting, restricting or materially impairing any business
          practice ofTelecure or its Subsidiaries or the conduct of business by Telecure or any of its
          Subsidiaries as currently conducted other than such agreements, judgments, injunctions
          orders or decrees as would not be reasonably expected to have, individually or in the
          aggregate, a Material Adverse Effect.
    (x)   Real Property. None of Telecure, Acquireco, or their Subsidiaries currently owns or
          leases, nor has it at any time owned or leased, any real property.


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    (y)   Insolvency. No act or Proceeding has been taken by or against Telecure or any of its
          Subsidiaries in connection with the dissolution, liquidation, winding up, bankruptcy or
          reorganization of Telecure or any of its Subsidiaries or for the appointment of a trustee,
          receiver, manager or other administrator ofTelecure or any of its Subsidiaries or any of its
          properties or assets nor, to the knowledge of Telecure, is any such act or Proceeding
          threatened. Telecure (nor any of its Subsidiaries) has not sought protection under the
          Bankruptcy and Insolvency Act (Canada), the Companies' Creditors Arrangement Act
          (Canada) or similar legislation. Neither Telecure nor any of its Subsidiaries nor any of their
          respective properties or assets are subject to any outstanding judgment, Order, writ,
          injunction or decree that involves or may involve, or restricts or may restrict, the right or
          ability ofTelecure or any of its Subsidiaries to conduct its business in all material respects
          as it has been carried on prior to the date hereof, or that would reasonably be expected to
          prevent or significantly impede or materially delay the completion of the Arrangement.

    (z)   Money Laundering Laws. The operations of Telecure and its Subsidiaries are and have
          been conducted at all times in material compliance with applicable financial recordkeeping
          and reporting requirements of the Money Laundering Laws and no action, suit or
          Proceeding by or before any regulatory authority involving Telecure or any of its
          Subsidiaries with respect to the Money Laundering Laws is pending or, to the knowledge
          ofTelecure, threatened.




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           EXHIBITB
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                       FIRST AMENDMENT TO ARRANGEMENT AGREEMENT

                       THIS AMENDMENT is made as of February 9, 2021

    AMONG:

                       TELECURE TECHNOLOGIES INC., a corporation incorporated under the laws
                       of the Province of British Columbia ('Telecure")

                       - and -

                       1278859 B.C. Ltd., a corporation incorporated under the laws of the Province of
                       British Columbia ("Acquireco")

                       - and -

                       MY APPS CORP., a corporation incorporated under the laws of the State of Florida
                       (the "Company")

    RECITALS:

    A.      Telecure, Acquireco and the Company are parties to an arrangement agreement (the
            "Arrangement Agreement") dated December 15, 2020; and

    Fl.     Telecure, Acquireco and the Company wish to amend certain terms of the Arrangement
            Agreement in accordance with Section 8.0 I of the Arrangement Agreement as provided in
            this Amendment.

    THEREFORE, in consideration of the mutual covenants contained herein (the receipt and
    sufficiency of which are hereby acknowledged), the Parties agree as follows:

                                               ARTICLE I
                                            INTERPRETATION

    I.I     Definitions

    Capitalized terms used but not defined in this Amendment have the meanings given to them in the
    Arrangement Agreement.

    1.2     Interpretation not Affected by Headings

    The division of this Amendment into Articles, Sections, subsections and paragraphs and the
    insertion of headings are for convenience of reference only and shall not affect in any way the
    meaning or interpretation of this Amendment. Unless the contrary intention appears, references in
    this Amendment to an Article, Section, subsection or paragraph or both refer to the Article,
    Section, subsection or paragraph, respectively, bearing that designation in this Amendment.




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    1.3     Number and Gender

    In this Amendment, unless the contrary intention appears, words importing the singular include
    the plural and vice versa, and words importing gender shall include all genders.

    1.4     Governing Law

    This Amendment shall be governed by and construed in accordance with the laws of the Province
    of British Columbia and the federal laws of Canada applicable therein.

                                              ARTICLE2
                                             AMENDMENTS

    2.1     Amendments to the Arrangement Agreement

    (I)     The definition of"Outside Date" at Section 1.0 I of the Arrangement Agreement is deleted
            in its entirety, and replaced with the following:

            ""Outside Date" means April 26, 2021."

    (2)     Section 5.02(b)(v) of the Arrangement Agreement is deleted in its entirety, and replaced
            with the following:

            "issue, grant, deliver, sell, pledge or otherwise encumber, or authorize the issuance, grant,
            delivery, sale, pledge or other encumbrance of, any shares or other securities, or any
            options, warrants or similar rights exercisable or exchangeable for or convertible into
            shares or other securities, of Telecure or of any Subsidiary, except (A) the Performance
            Warrants, (B) securities issuable pursuant to the terms of the Concurrent Financing or the
            Arrangement, (C) as disclosed in the Telecure Disclosure Letter, (D) restricted share rights
            issued pursuant to Telecure's equity incentive plan dated November 23, 2020;"

    (3)     Section 5.08 of the Arrangement Agreement is deleted in its entirety, and replaced with the
            following:

            "Following the Effective Date, two equal payments of US$75,000 are to be made to each
            of: (i) Adnan Malik; (ii) Muhammad Kashif Akram; and (iii) Dr. Muhammad Shaukat,
            with the first of such payments taking place immediately following the Effective Date and
            the second of such payments to occur one month following the Effective Date."

    (4)     Section 6.0 I(i) of the Arrangement Agreement is deleted in its entirety, and replaced with
            the following:

            "(i)       the Telecure Board shall consist of: (i) Adnan Malik; (ii) Muhammad Kashif
                       Akram; (iii) Dr. Muhammad Shaukat; (iv) Harwinder Parmar; and (v) Josh
                       Rosenberg."


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                                          ARTJCLE3
                                      GENERAL PROVISIONS

    3.1     Ratification and Confirmation

    The Arrangement Agreement, as amended hereby, remains in full force and effect, and as amended
    hereby is hereby ratified and confirmed. Provisions of the Arrangement Agreement that have not
    been amended or terminated by this Amendment remain in full force and effect, unamended. All
    rights and liabilities that have accrued to any Party under the Arrangement Agreement up to the
    date of this Amendment remain unaffected by this Amendment.

    3.2     Arrangement Agreement Provisions

    The provisions of Article 8 of the Arrangement Agreement shall apply, mu/a/is mutandis, to this
    Amendment.

    3.3     Counterparts

    This Amendment may be executed by facsimile or other electronic signature and in counterparts,
    each of which shall be deemed an original, and all of which together constitute one and the same
    instrument.

                                       [signature page follows]




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    LEGAL.52276143.4
Case 6:22-cv-00364-WWB-EJK Document 1-1 Filed 02/18/22 Page 127 of 138 PageID 133




                                          -4-

    IN WITNESS WHEREOF, the Parties have executed this Amendment as of the date first


                                                                       V
    written above.

                                           MYAPPS CORP.

                                           By:
                                                           ~'
                                                           ~
                                                                   . ~ \\Y
                                                  Name: Adnan Malik
                                                  Title: Chief Executive Officer


                                           TELECURE TECHNOLOGIES INC.


                                           By:
                                                 Name: Harwinder Parmar
                                                 Title: President


                                           1278859 B.C. Ltd.


                                           By:
                                                 Name: Eli Dusenbury
                                                 Title: Director




                                           4
Case 6:22-cv-00364-WWB-EJK Document 1-1 Filed 02/18/22 Page 128 of 138 PageID 134




    IN WITNESS WHEREOF, the Parties have executed this Amendment as ofthe date first written
    above.

                                               MY APPS CORP.


                                               By:
                                                      Name: Adnan Malik
                                                      Title: Chief Executive Officer


                                               TELECURE TECHNOLOGIES INC.


                                               By:        §Zi)-
                                                      Name: Harwinder Parmar
                                                      Title: President


                                               1278859 B.C. Ltd.


                                               By:
                                                     Name: Eli Dusenbury
                                                     Title: Director




                             Signature Page to Amending Agreement
    LEGAL'52276143.4
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           EXHIBIT C
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                         THIRD AMENDMENT TO ARRANGEMENT AGREEJVIBNT

                         THIS AMENDMENT is made as of April 22, 2021

      AMONG:

                         TELECURE TECHNOLOGIES INC., a corporation incorporated under the laws
                         of the Province of British Columbia ("Telecure")

                         - and-

                         1278859 B.C. Ltd., a corporation incorporated under the laws of the Province of
                         British Columbia ("Acquireco")

                         - and -

                         MYAPPS CORP., a corporation incorporated under the laws of the State of Florida
                         (the "Company")

      RECITALS:

      A.      Telecure, Acquireco and the Company are parties to an arrangement agreement (the
              "Arrangement Agreement") dated December 15, 2020, as amended pursuant to a first
              amendment dated February 9, 2021 and a second amendment dated February 19, 2021; and

      B.      Telecure, Acquireco and the Company wish to amend ce1iain terms of the Arrangement
              Agreement in accordance with Section 8.01 of the Arrangement Agreement as provided in
              this Amendment.

      THEREFORE, in consideration of the mutual covenants contained herein (the receipt and
      sufficiency of which are hereby acknowledged), the Parties agree as follows:

                                                 ARTICLE 1
                                              INTERPRETATION

      1.1     Definitions

      Capitalized terms used but not defined in this Amendment have the meanings given to them in the
      Arrangement Agreement.

      1.2     Interpretation not Affected by Headings

      The division of this Amendment into Articles, Sections, subsections and paragraphs and the
      insertion of headings are for convenience of reference only and shall not affect in any way the
      meaning or interpretation of this Amendment. Unless the contrary intention appears, references in
      this Amendment to an Article, Section, subsection or paragraph or both refer to the A1iicle,
      Section, subsection or paragraph, respectively, bearing that designation in this Amendment.




      LEGAL.52928961.1
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      1.3     Number and Gender

      In this Amendment, unless the contrary intention appears, words impo1iing the singular include
      the plural and vice versa, and words importing gender shall include all genders.

      1.4     Governing Law

      This Amendment shall be governed by and construed in accordance with the laws of the Province
      of British Columbia and the federal laws of Canada applicable therein.

                                              ARTICLE2
                                             AMENDMENTS

      2.1     Amendments to the Arrangement Agreement

      ( 1)    The definition of "Outside Date" at Section 1.01 of the Arrangement Agreement is deleted
              in its entirety, and replaced with the following:

              ""Outside Date" means May 26, 2021."

                                            ARTICLE3
                                        GENERAL PROVISIONS

      3.1     Ratification and Confirmation

      The Arrangement Agreement, as amended hereby, remains in full force and effect, and as amended
      hereby is hereby ratified and confirmed. Provisions of the Arrangement Agreement that have not
      been amended or terminated by this Amendment remain in full force and effect, unamended. All
      rights and liabilities that have accrued to any Party under the Arrangement Agreement up to the
      date of this Amendment remain unaffected by this Amendment.

      3.2     Arrangement Agreement Provisions

      The provisions of Article 8 of the Arrangement Agreement shall apply, mutatis mutandis, to this
      Amendment.

      3.3     Counterparts

      This Amendment may be executed by facsimile or other electronic signature and in counterparts,
      each of which shall be deemed an original, and all of which together constitute one and the same
      instrument.

                                          [signature page follows]




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      LEGAL*52928961.1
Case 6:22-cv-00364-WWB-EJK Document 1-1 Filed 02/18/22 Page 132 of 138 PageID 138




      IN WITNESS WIIEREOF, the Parties have executed this Amendment as of the date first written
      above.

                                                  MYAPPS CORP.

                                                              E-SIGNED by Adnan Malik
                                                  By:       on 2021-04-2212:16:15 GMT

                                                         Name: Adnan Malik
                                                         Title: Chief Executive Officer


                                                  TELECURE TECHNOLOGIES INC.

                                                           E-SIGNED by Harwinder Parmar
                                                  By:       on 2021-04-2215:51:35 GMT

                                                        Name: Harwinder Parmar
                                                        Title: President


                                                  1278859 B.C. Ltd.


                                                 By:
                                                        Name: Eli Dusenbury
                                                        Title: Director




                               Signature Page to Amending Agreement
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           EXHIBITD
Case 6:22-cv-00364-WWB-EJK Document 1-1 Filed 02/18/22 Page 134 of 138 PageID 140




                      FOURTH AMENDMENT TO ARRANGEMENT AGREEMENT

                          THIS AMENDlYillNT is made as of May 25, 2021

      AMONG:

                          TELECURE TECHNOLOGIES INC., a corporation incorporated under the laws
                          of the Province of British Columbia ("Telecure")

                          - and-

                          1278859 B.C. Ltd., a corporation incorporated under the laws of the Province of
                          British Columbia ("Acquireco")

                          - and -

                          MYAPPS CORP., a c01poration inc01porated under the laws of the State ofFlorida
                          (the "Company")

      RECITALS:

      A.       Telecure, Acquireco and the Company are parties to an arrangement agreement (the
               "Arrangement Agreement") dated December 15, 2020, as amended pursuant to a first
               amendment dated Februaiy 9, 2021, a second amendment dated Februmy 19, 2021 and a
               third amendment dated April 22, 2021; and

      B.       Telecure, Acquireco and the Company wish to amend certain terms of the Arrangement
               Agreement in accordance with Section 8.0 I of the Arrangement Agreement as provided in
               this Amendment.

      THEREFORE, in consideration of the mutual covenants contained herein (the receipt and
      sufficiency of which are hereby acknowledged), the Parties agree as follows:

                                                  ARTICLE 1
                                               INTERPRETATION

      1.1     Definitions

      Capitalized terms used but not defined in this Amendment have the meanings given to them in the
      Arrangement Agreement.

      1.2     Interpretation not Affected by Headings

      The division of this Amendment into Articles, Sections, subsections and paragraphs and the
      insertion of headings are for convenience of reference only and shall not affect in any way the
      meaning or interpretation of this Amendment. Unless the contrary intention appears, references in
      this Amendment to an Article, Section, subsection or paragraph or both refer to the Article,
      Section, subsection or paragraph, respectively, bearing that designation in this Amendment.


      LEGAL'"53192220.1
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      1.3     Number and Gender

      In this Amendment, unless the contrary intention appears, words importing the singular include
      the plural and vice versa, and words importing gender shall include all genders.

      1.4     Governing Law

      This Amendment shall be governed by and construed in accordance with the laws of the Province
      of British Columbia and the federal laws of Canada applicable therein.

                                               ARTICLE2
                                              AMENDMENTS

      2.1     Amendments to the Arrangement Agreement

      (1)     The definition of "Outside Date" at Section 1.0 I of the Arrangement Agreement is deleted
              in its entirety, and replaced with the following:

              ""Outside Date" means July 26, 2021."

                                            ARTICLE3
                                        GENERAL PROVISIONS

      3.1     Ratification and Confirmation

      The Anangement Agreement, as amended hereby, remains in full force and effect, and as amended
      hereby is hereby ratified and confinned. Provisions of the Anangement Agreement that have not
      been amended or terminated by this Amendment remain in full force and effect, unamended. All
      rights and liabilities that have accrued to any Party under the Anangement Agreement up to the
      date of this Amendment remain unaffected by this Amendment.

      3.2     Arrangement Agreement Provisions

      The provisions of Article 8 of the Arrangement Agreement shall apply, mutatis mutandis, to this
      Amendment.

      3.3     Counterparts

      This Amendment may be executed by facsimile or other electronic signature and in counterparts,
      each of which shall be deemed an original, and all of which together constitute one and the same
      instrument.

                                          [signature page follows]




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      IN WITNESS WHEREOF, the Parties have executed this Amendment as of the date first written
      above.

                                                 MYAPPS CORP.

                                                           E-SIGNED by Adnan Malik
                                                 By:     on 2021-05-25 19:38:32 GMT
                                                        Name: Adnan Malik
                                                        Title: Chief Executive Officer


                                                 TELECURE TECHNOLOGIES INC.

                                                          E-SIGNED by Harwinder Parmar
                                                 By:       on 2021-05-25 19:32:09 GMT
                                                        Name: Harwinder Parmar
                                                        Title: President


                                                 1278859 B.C. Ltd.

                                                          E-SIGNED by Eli Dusenbury
                                                 By:     on 2021-05-25 19:03:20 GMT
                                                        Name: Eli Dusenbury
                                                        Title: Director




                               Signature Page to Amending Agreement
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Filing# 141952727 E-Filed 01/13/2022 03:00:38 PM


                                                      IN   THE  CIRCUIT  COURT    OF THE
                                                      EIGHTEENTH WDICIAL CIRCUIT IN AND
                                                      FOR SEMINOLE COUNTY, FLORIDA




         MYAPPS CORP.,

                       Plaintiff,

         vs.

         TELECURE TECHNOLOGIES, INC.,

        ------=D-=-e=fe=n=d=an"'t-'-._ _ _ _ _ _/

                                                   SUMMONS

        THE STATE OF FLORIDA:

        To All and Singular the Sheriffs of said State:

              YOU ARE HEREBY COMMANDED to serve this Summons and a copy of the
        Complaint in this action on Defendant

               TELECURE TECHNOLOGIES, INC.
               c/o its president, vice president, or other head; or
               c/o cashier, treasurer, secretary or general manager; or
               c/o director; or
               c/o any officer or other business agent
               80 I International Parkway
               Suite 500
               Lake Mary, Florida 32746

                Defendant is hereby required to serve written defenses to the Complaint on Plaintiffs'
        attorneys, whose address is:

               RONALD D. EDWARDS, JR., ESQUIRE
               Lowndes, Drosdick, Doster, Kantor & Reed, P.A.
               215 North Eola Drive
               Post Office Box 2809
               Orlando, Florida 32802
               ronald.edwards@lowndes-law.com
               lit.control@lowndes-law.com
               tracy.kennison@lowndes-law.com




   *** E-FILED: GRANT MALOY, CLERK OF CIRCUIT COURT SEMINOLE COUNTY, FL 01/13/2022 04:44:45 PM.****
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      within twen\y (20) days after service of this Summons on that Defendant, exclusive of the day of
      service, and to file the ongmal of the defenses with the Clerk of this Court either before service
      on Plaintiffs' attorney or immediately thereafter. If a Defendant fails to do so, a default will be
      entered against that Defendant for the relief demanded in the Complaint.

                WITNESS my hand and seal of said Court on 14th      day of ranuary
                                                   Grant Maloy
                                                   CLERK OF THE CIRCUIT COURT And Comptroller

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                                                   As Deputy Clerk

     (COURT SEAL)


     If you are a person with a disability who needs any accommodation in order
     to participate in this proceeding, you are entitled, at no cost to you, to the
     provision of certain assistance. If you require assistance please contact:

     ADA Coordinator at Seminole Court Administration
     301 N. Park Avenue
     Suite N301
     Sanford, Florida, 32771-1292
     (407) 665-4227

     NOTE: You must contact coordinator at least 7 days before your scheduled
     court appearance, or immediately upon receiving this notification if the time
     before the scheduled appearance is less than 7 days; if you are hearing or
     voice impaired in Seminole County, call 711.
     0029763\196104\l 1688 l38v l
